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                         Exhibit A

                        Time Entries
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                                                            April 30, 2023



John Ray III
Chief Executive Officer
Unit #3B, Bryson's Commercial Complex
Friars Hill Road
St. John's Antigua

Matter #: 11807-00001
Invoice Number: 101-0000151264
Responsible Attorney: Sascha Rand



                                                             FTX Trading



For Professional Services through March 31, 2023 in connection with to serve as special litigation counsel at
the direction for FTX Trading Ltd. and its Affiliated Debtors.



                                                                  Fees                                                  $3,192,717.60
                                                            Expenses                                                         $3,031.19
                                                       Net Amount                                                       $3,195,748.79
                                          Total Due This Invoice                                                        $3,195,748.79

                    Balance Due from Previous Statement(s)                                                              $3,379,121.62
                                                Total Balance Due                                                       $6,574,870.41




Confidential – May include attorney-client privileged and work-product information

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                                                             Statement Detail

01 Asset Analysis and Recovery


03/01/23           JR8                  Review and revise memo re: claim                                                  1.80            1,887.30
                                        feasibility (1.6), emails with E. Kapur
                                        re: same (.2).

03/01/23           AR0                  Attention to venture book document                                                1.20            1,371.60
                                        review (1.2).

03/01/23           MS8                  Review documents to identify                                                      3.60            1,603.80
                                        documents related to FTX's
                                        investments for use in memorandum
                                        regarding same (3.6).

03/01/23           AK2                  Attend weekly update meeting of                                                   0.50                 607.50
                                        venture book analysis teams (.5).

03/01/23           KJS                  Exchange correspondence re venture                                                0.10                 191.70
                                        book analysis (0.1).

03/01/23           KJS                  Revise memo re venture book target                                                0.80            1,533.60
                                        analysis and exchange
                                        correspondence re same (0.8).

03/01/23           KJS                  Attend QE team call re venture book                                               0.50                 958.50
                                        analysis (0.5).

03/01/23           KJS                  Analyze draft report re exchange                                                  0.60            1,150.20
                                        assets (0.6).

03/01/23           AS2                  Review case background materials                                                  1.60            1,828.80
                                        (1.3); confer with A. Kutscher
                                        regarding case and strategy (0.3).

03/01/23           AM6                  Analyze and code documents                                                        8.20            3,653.10
                                        regarding fraudulent transfer
                                        analysis (8.2).

03/01/23           ZM                   Review documents for venture book                                                 2.20            1,989.90
                                        analysis (2.2).

03/01/23           SNR                  T/c re: Ventures book analysis call                                               7.60          12,106.80
                                        (0.5); review various memos and
                                        related materials re: venture book
                                        analysis (2.5); review and revise
                                        Grayscale pleadings and review
                                        materials (2.4); various t/c w/ team re:
                                        Grayscale strategy issues (1.2);
                                        address various 2004 issues re: banks
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                                        and professionals w/ team (1.0).

03/01/23           APA                  Teleconference with Venture book                                                  0.70            1,008.00
                                        partners regarding status and tasks
                                        (0.5); emails to and from M.
                                        Meadows regarding token
                                        investment (0.2).

03/01/23           JP                   Correspondence and coordination                                                   0.70                 800.10
                                        regarding negotiations with, and
                                        productions from, Rule 2004 targets
                                        (0.7).

03/01/23           EK                   Conference with team re: strategy on                                              0.50                 623.25
                                        venture book (0.5).

03/02/23           AR0                  Review venture book documents                                                     1.70            1,943.10
                                        (1.7).

03/02/23           ECS                  Call with T. Sharma concerning                                                    3.90            5,142.15
                                        necessary edits to target venture cap
                                        transaction (.4); analysis of
                                        subscription and partnership
                                        agreements and other internal
                                        documents related to target
                                        transaction (1.7); edits target venture
                                        cap memorandum related to asset
                                        loss (1.4); correspondence concerning
                                        memorandum concerning target
                                        transaction and asset recovery (.4).

03/02/23           KJS                  Revise venture claim analysis memo                                                1.00            1,917.00
                                        an prepare correspondence to E.
                                        Kapur & J. Reed re same (1.0).

03/02/23           KJS                  Analyze correspondence and articles                                               0.30                 575.10
                                        re Silvergate problems (0.3).

03/02/23           KJS                  Exchange correspondence with A.                                                   0.20                 383.40
                                        Alden re potential claims (0.2).

03/02/23           KJS                  Exchange correspondence with QE                                                   0.20                 383.40
                                        team re Silvergate (0.2).

03/02/23           KJS                  Exchange correspondence with QE                                                   0.20                 383.40
                                        team re venture memos (0.2).

03/02/23           KJS                  Research re venture investment;                                                   0.90            1,725.30
                                        revise memo and exchange
                                        correspondence with A. Alden and
                                        N. Huh re same (0.9).

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03/02/23           KJS                  Analyze correspondence re exchange                                                0.10                 191.70
                                        asset analysis (0.1).

03/02/23           AS2                  Confer with team regarding asset                                                  8.10            9,258.30
                                        recovery matter and venture book
                                        projects (0.6); review and revise asset
                                        recovery complaint (5.4); factual
                                        research regarding asset recovery
                                        targets (2.1).

03/02/23           AM6                  Analyze and code documents                                                        5.10            2,272.05
                                        regarding fraudulent transfer
                                        analysis (5.1).

03/02/23           SNR                  Review various memos and related                                                  7.50          11,947.50
                                        materials re: venture book analysis
                                        (1.2); review and revise Grayscale
                                        pleadings and reviews materials (2.5);
                                        various t/c w/ team re: Grayscale
                                        strategy issues (2.5); address various
                                        2004 issues re: banks and
                                        professionals w/ team (0.8); t/c w/
                                        UCC re: Grayscale and follow up re:
                                        same (0.5).

03/02/23           APA                  Teleconference with N. Huh                                                        0.30                 432.00
                                        regarding venture investment
                                        investigation (0.3).

03/02/23           TS4                  Call with E. Sutton to discuss                                                    2.10            1,767.15
                                        memorandum detailing possible
                                        asset recovery for target (0.4);
                                        correspond with A. Roytenberg
                                        regarding strategy for evaluation of
                                        target for possible recovery (0.1);
                                        updating memorandum analyzing
                                        target for possible asset recovery
                                        based on comments from E. Sutton
                                        (1.6).

03/02/23           JP                   Correspondence and coordination                                                   1.40            1,600.20
                                        internally, with the Committee, and
                                        with Rule 2004 targets regarding Rule
                                        2004 negotiations and productions
                                        (0.8); conference call and
                                        correspondence with A. Sutton to
                                        discuss venture book targets
                                        investigation (0.6).


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03/03/23           AR0                  Review venture book documents                                                     2.30            2,628.90
                                        (2.3).

03/03/23           ECS                  Edit analysis related to target                                                   2.30            3,032.55
                                        transactions for avoidance claim
                                        purposes (2.3).

03/03/23           KJS                  Exchange correspondence with I.                                                   0.20                 383.40
                                        Nesser and S. Rand re venture book
                                        memos (0.2).

03/03/23           KJS                  Research re venture book claim and                                                1.20            2,300.40
                                        analyze documents re same (1.2).

03/03/23           AM6                  Analyze and code documents                                                        6.30            2,806.65
                                        regarding fraudulent transfer
                                        analysis (6.3).

03/03/23           ZM                   Review and revise venture book                                                    2.40            2,170.80
                                        analysis memo (.8); review
                                        documents for venture book analysis
                                        (1.6).

03/03/23           SNR                  Review and revise Grayscale                                                       8.60          13,699.80
                                        complaint (2.3); review case law re:
                                        same (1.2); various t/c w/ team re:
                                        strategic issues (1.5); t/c re: press
                                        release and address same (0.8);
                                        address 2004 discovery issues re:
                                        certain banks and professional and
                                        M&Cs re: same (1.2); review venture
                                        book analysis memos and related
                                        materials and follow up re: same
                                        (1.6).

03/03/23           APA                  Emails to and from A. Kutscher                                                    0.10                 144.00
                                        regarding venture memos (0.1).

03/03/23           TS4                  Updating memorandum analyzing                                                     5.20            4,375.80
                                        target for possible asset recovery for
                                        target (4.8); correspond with M. Peng
                                        and C. Kim regarding changes to
                                        memorandum for possible asset
                                        recovery (0.3); correspond with Z.
                                        Muller regarding documents in
                                        memorandum detailing possible
                                        asset recovery (0.1).

03/03/23           AB9                  Review documents re: FTX                                                          4.70            2,389.95
                                        investments (4.7).

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03/03/23           AS2                  Review and revise asset recovery                                                  8.30            9,486.90
                                        complaint in preparation of filing
                                        (4.9); legal and factual research
                                        regarding SEC regulations as related
                                        to digital currencies (2.6); confer with
                                        team regarding asset recovery
                                        complaint and pending projects (0.8).

03/04/23           AR0                  Review venture book documents                                                     1.80            2,057.40
                                        (1.8).

03/04/23           KJS                  Revise Grayscale complaint;                                                       0.50                 958.50
                                        exchange correspondence re same
                                        (0.5).

03/04/23           AS2                  Review and revise asset recovery                                                  9.30          10,629.90
                                        complaint in light of team comments
                                        in preparation for filing (5.4); factual
                                        research regarding SEC regulatory
                                        approval processes (1.7); review
                                        factual materials in connection with
                                        revisions to asset recovery complaint
                                        (2.2).

03/04/23           SNR                  Review and revise Grayscale                                                       3.40            5,416.20
                                        complaint (2.2); various t/c w/ team
                                        re: strategic issues (1.2).

03/05/23           AR0                  Review venture book documents                                                     2.70            3,086.10
                                        (1.5); review venture book memo
                                        (1.2).

03/05/23           KJS                  Exchange correspondence with I.                                                   0.30                 575.10
                                        Nesser and S. Rand re venture
                                        analysis memos (0.3).

03/05/23           AS2                  Review and revise asset recovery                                                  7.60            8,686.80
                                        complaint in light of team and co-
                                        counsel comments (6.7); legal
                                        research regarding potential claims in
                                        connection with asset recovery
                                        complaint (0.9).

03/05/23           SNR                  Review and revise Grayscale                                                       4.30            6,849.90
                                        complaint (2.8); various t/c w/ team
                                        re: strategic issues and follow up re:
                                        same (1.5).

03/05/23           TS4                  Correspond with A&M team                                                          2.10            1,767.15
                                        regarding feedback on possible asset

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                                        recovery (0.5); updating
                                        memorandum regarding review of
                                        target for possible asset recovery
                                        (1.6).

03/05/23           JP                   Fact research regarding venture book                                              3.50            4,000.50
                                        target (3.5).

03/06/23           AR0                  Attend standing call (0.4); review                                                4.00            4,572.00
                                        venture book documents (0.5);
                                        prepare venture book memo (3.1).

03/06/23           MS8                  Review documents to identify                                                      1.80                 801.90
                                        documents related to FTX's
                                        investments for use in memorandum
                                        regarding same (1.8).

03/06/23           AK2                  Attend weekly team update meeting                                                 0.40                 486.00
                                        (.4).

03/06/23           KJS                  Analyze documents and exchange                                                    0.70            1,341.90
                                        correspondence with S&C re venture
                                        book target divestiture (0.7).

03/06/23           KJS                  Attend weekly QE team call (0.4).                                                 0.40                 766.80

03/06/23           KJS                  Revise venture analysis memos and                                                 1.00            1,917.00
                                        exchange correspondence re same
                                        (1.0).

03/06/23           JY1                  Weekly team call (.4).                                                            0.40                 473.40

03/06/23           AS2                  Review and revise and finalize asset                                              8.60            9,829.80
                                        recovery complaint (2.1); review
                                        documents in connection with
                                        investigation of Alameda
                                        investments for potential asset
                                        recovery (6.5).

03/06/23           AM6                  Analyze and code documents                                                        4.70            2,093.85
                                        regarding fraudulent transfer
                                        analysis (4.7).

03/06/23           NH2                  FTX Standing call (0.4).                                                          0.40                 361.80

03/06/23           SNR                  Team meeting re: asset recovery and                                               6.60          10,513.80
                                        follow up re: same (0.4); review and
                                        finalize Grayscale complaint and
                                        address filing issues (2.7); address
                                        2004 discovery issues re: banks and
                                        professional and address strategy re:
                                        same w/ team (1.7); review venture
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                                        book analysis memos and related
                                        materials and follow up re: same
                                        (1.8).

03/06/23           EDW                  Participate on QE team case strategy                                              0.40                 576.00
                                        call (.4).

03/06/23           EDW                  Participate on QE/FA call regarding                                               0.20                 288.00
                                        Ventures investments (.2).

03/06/23           APA                  Emails to and from J. Palmerson, J.                                               1.10            1,584.00
                                        Shaffer and S. Rand regarding
                                        discovery on service provider (0.2);
                                        attend weekly QE team call regarding
                                        status and tasks (0.4); teleconference
                                        with Alvarez & Marsal and M.
                                        Meadows regarding venture
                                        investment (0.5).

03/06/23           EK                   QE Team call re: case updates (0.4).                                              0.40                 498.60

03/06/23           OBY                  Team call regarding asset recovery                                                0.40                 361.80
                                        efforts. (.4).

03/06/23           JP                   Fact research regarding venture book                                              5.00            5,715.00
                                        target and internal correspondence
                                        regarding same (2.7); fact research
                                        into Rule 2004 target in preparation
                                        for meet and confer (0.7);
                                        correspondence and coordination
                                        regarding Rule 2004 negotiations and
                                        productions (1.0); team call to discuss
                                        case updates (0.4); conference call
                                        with A&M to discuss updates on
                                        investigation into venture book
                                        targets (0.2).

03/06/23           TS4                  Correspond with document                                                          1.10                 925.65
                                        reviewers regarding questions related
                                        to review of possible target for asset
                                        recovery (0.1); call with team to
                                        discuss case updates and workflow
                                        (0.4); updating memorandum
                                        regarding review of target for asset
                                        recovery (0.5); correspond with E.
                                        Sutton and I. Nesser regarding
                                        document review for asset recovery
                                        analysis (0.1).

03/06/23           MM2                  Attend QE team call re investigative                                              0.50                 553.50
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                                        and case status (0.4); avoidance team
                                        meeting (0.1).

03/06/23           SS6                  Conference with S. Rand, QE team re                                               0.40                 394.20
                                        status update call (.4).

03/06/23           TCM                  Standing weekly call (.4).                                                        0.40                 486.00

03/06/23           KL                   Weekly internal meeting (.4).                                                     0.40                 637.20

03/06/23           GC2                  Review documents for fraudulent                                                   0.80                 406.80
                                        transfer analysis. (0.80).

03/06/23           AB9                  Review documents re: FTX                                                          3.10            1,576.35
                                        investments (3.1).

03/07/23           JR8                  Fact research re: claim feasibility (2.1)                                         2.40            2,516.40
                                        and call with E. Kapur and O. Yeffet
                                        re: same (.3).

03/07/23           AR0                  Prepare venture book memo (4.4).                                                  4.40            5,029.20

03/07/23           AK2                  Confer with Creditors Committee                                                   0.30                 364.50
                                        counsel re: upcoming call (.1); confer
                                        with M. Smith and S. Turk re: same
                                        (.1); confer with I. Nesser re:
                                        upcoming call re: same (.1).

03/07/23           KJS                  Exchange correspondence with K.                                                   0.20                 383.40
                                        Pasquale re venture review (0.2).

03/07/23           KJS                  Analyze documents re venture book                                                 0.40                 766.80
                                        target (0.4).

03/07/23           KJS                  Exchange correspondence with M.                                                   0.20                 383.40
                                        Wu re potential venture sale (0.2).

03/07/23           KJS                  Confer with committee counsel re                                                  0.50                 958.50
                                        venture book target (0.5).

03/07/23           KJS                  Exchange correspondence with S&C                                                  0.70            1,341.90
                                        re venture book target transaction;
                                        analyze documents re same (0.7).

03/07/23           AS2                  Team meeting regarding Grayscale                                                  8.50            9,715.50
                                        matter (0.9); confer with P. Collins
                                        regarding discovery preparation
                                        tasks (0.2); prepare interrogatories
                                        and document requests in connection
                                        with Grayscale matter (2.7); review
                                        documents in connection with
                                        investigation of Alameda assets for

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                                        potential asset recovery (4.9).

03/07/23           AM6                  Analyze and code documents                                                        2.50            1,113.75
                                        regarding fraudulent transfer
                                        analysis (2.5).

03/07/23           SNR                  Address strategic issues re: Grayscale                                            3.00            4,779.00
                                        action w/ team and follow up re:
                                        same (1.2); address 2004 discovery
                                        issues re: banks and professional and
                                        address strategy re: same w/ team
                                        (1.0); review venture book analysis
                                        memos and related materials and
                                        follow up re: same (0.8).

03/07/23           ZM                   Review documents for venture book                                                 6.80            6,150.60
                                        analysis (5.2); prepare memorandum
                                        outline (1.4).

03/07/23           SS6                  Correspond with J. Lee (A&M), A&M                                                 0.50                 492.75
                                        team, QE team re diligence request
                                        (.2); correspond with M. Scheck re
                                        same (.1); correspond with JPM re
                                        same (.2).

03/07/23           APA                  Emails to and from J. Palmerson and                                               0.40                 576.00
                                        S. Rand regarding discovery requests
                                        (0.2); teleconference with S. Rand
                                        regarding same(0.2).

03/07/23           JP                   Finalize examination notice for                                                   3.60            4,114.80
                                        Prager Metis (0.2); preparation for
                                        meet and confer with Rule 2004
                                        target (0.3); meet and confer with
                                        Rule 2004 target (0.3);
                                        correspondence and coordination
                                        internally, with Committee, and with
                                        Rule 2004 targets regarding Rule 2004
                                        negotiations and productions (2.8).

03/07/23           TS4                  Review of documents to determine if                                               2.10            1,767.15
                                        assets can be recovered from possible
                                        target (2.1).

03/07/23           AB9                  Review documents re: FTX                                                          3.20            1,627.20
                                        investments (3.2).

03/08/23           JR8                  Prepare memo re: claim feasibility                                                3.10            3,250.35
                                        (2.3), fact research re: same (.8).

03/08/23           JR8                  Review, revise, and finalize memo re:                                             2.80            2,935.80
       los angeles | new york | san francisco | silicon valley | chicago | dc | london | mannheim | tokyo| hamburg | paris | munich
     sydney | hong kong | houston | brussels | seattle | zurich | shanghai | stuttgart | perth | boston | salt lake city | riyadh | berlin |
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                                        claim feasibility (2.4), emails with
                                        team re: same (.4).

03/08/23           KJS                  Analyze venture book target motion                                                0.30                 575.10
                                        (0.3).

03/08/23           KJS                  Analyze correspondence and                                                        0.30                 575.10
                                        documents re Silvergate wind down
                                        (0.3).

03/08/23           KJS                  Revise venture claim memo and                                                     1.00            1,917.00
                                        prepare correspondence to I. Nesser
                                        re same (1.0).

03/08/23           KJS                  Analyze correspondence from A.                                                    0.20                 383.40
                                        Alden re venture investment memo
                                        (0.2).

03/08/23           KJS                  Exchange correspondence with S.                                                   0.30                 575.10
                                        Seneczko re JPMorgan account (0.3).

03/08/23           KJS                  Analyze correspondence re venture                                                 0.20                 383.40
                                        book analysis (0.2).

03/08/23           AS2                  Prepare interrogatories and                                                       8.60            9,829.80
                                        document requests in connection
                                        with Grayscale matter (4.1); prepare
                                        memorandum assessing potential
                                        asset recovery matter (1.6); review
                                        documents in connection with
                                        investigation of potential asset
                                        recovery targets (2.9).

03/08/23           SNR                  Address strategic issues re: Grayscale                                            1.60            2,548.80
                                        action w/ team and follow up re:
                                        same (0.7); address 2004 discovery
                                        issues re: banks and professional and
                                        address strategy re: same w/ team
                                        (0.4); review venture investment
                                        analysis and follow up re: same (0.5).

03/08/23           ZM                   Draft venture book memo (4.6);                                                    8.80            7,959.60
                                        review documents re: same (4.2).

03/08/23           SS6                  Correspond with R. Schutt (S&C),                                                  0.70                 689.85
                                        A&M team, QE team re account
                                        diligence (.2); correspond with M.
                                        Scheck, QE team re same (.2); analyze
                                        diligence materials re same (.3).

03/08/23           APA                  Emails to and from consultant and                                                 0.20                 288.00

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     sydney | hong kong | houston | brussels | seattle | zurich | shanghai | stuttgart | perth | boston | salt lake city | riyadh | berlin |
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                                        attention to email from M. Meadows
                                        regarding venture investigation (0.2).

03/08/23           MM6                  Review news articles over past                                                    5.00            5,715.00
                                        several months discussing badges of
                                        fraud/fraudulent transactions with
                                        FTX and update excel news tracker
                                        (4.70); speak with A. Kutscher via
                                        zoom about fraudulent transactions
                                        (.3).

03/08/23           JP                   Correspondence and coordination                                                   1.30            1,485.90
                                        internally, with Committee, and with
                                        Rule 2004 targets regarding Rule 2004
                                        negotiations and productions and
                                        update Rule 2004 tracker regarding
                                        same (1.3).

03/09/23           JR8                  Prepare memo re: claim feasibility                                                3.60            3,774.60
                                        (2.4); legal and fact research re: same
                                        (1.2).

03/09/23           TS4                  Review of documents to determine if                                               1.60            1,346.40
                                        assets can be recovered from possible
                                        target (1.6).

03/09/23           KJS                  Revise memo re potential venture                                                  0.80            1,533.60
                                        recovery and prepare correspondence
                                        to A. Alden re same (0.8).

03/09/23           KJS                  Analyze documents and exchange                                                    0.30                 575.10
                                        correspondence re JPMorgan account
                                        (0.3).

03/09/23           SNR                  Address strategic issues re: Grayscale                                            1.40            2,230.20
                                        action w/ team and follow up re:
                                        same (.6); address 2004 discovery
                                        issues re: banks and professional and
                                        address strategy re: same w/ team
                                        (0.8).

03/09/23           SS6                  Correspond with J. Lee (A&M), A&M                                                 0.60                 591.30
                                        team, S&C team, QE team re
                                        diligence, account information (.2);
                                        correspond with M. Scheck, J. Shaffer,
                                        S. Rand re same (.4).

03/09/23           JP                   Draft legal memorandum analyzing                                                  5.00            5,715.00
                                        transactions with venture book target
                                        and fact research and correspondence

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     sydney | hong kong | houston | brussels | seattle | zurich | shanghai | stuttgart | perth | boston | salt lake city | riyadh | berlin |
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                                        with A&M regarding same (4.7);
                                        internal correspondence and
                                        coordination regarding Rule 2004
                                        negotiations and correspondence
                                        with Rule 2004 target regarding
                                        document production (0.3).

03/09/23           AS2                  Confer with P. Collins regarding                                                  0.70                 800.10
                                        Grayscale discovery issues (0.7).

03/09/23           AB9                  Review documents re: FTX                                                          2.50            1,271.25
                                        investments (2.5).

03/10/23           JR8                  Prepare memo re: claim feasibility                                                1.50            1,572.75
                                        (1.5).

03/10/23           TS4                  Review of documents to determine if                                               0.40                 336.60
                                        assets can be recovered from possible
                                        target (0.4).

03/10/23           SNR                  Address strategic issues re: Grayscale                                            2.80            4,460.40
                                        w/ J. Pickhardt and client and follow
                                        up re: same (0.7); address 2004
                                        discovery issues re: banks and
                                        professional and address strategy re:
                                        same w/ team (0.5); review venture
                                        investment analysis and follow up re:
                                        same (1.6).

03/10/23           KJS                  Research re venture investment                                                    0.40                 766.80
                                        claims (0.4).

03/10/23           JP                   Draft legal memorandum on venture                                                 7.50            8,572.50
                                        book target and fact research
                                        regarding same (6.7); correspondence
                                        and coordination internally, with
                                        Committee, and with Rule 2004
                                        targets regarding Rule 2004 requests
                                        and productions (0.8).

03/10/23           KJS                  Exchange correspondence re inquiry                                                0.30                 575.10
                                        re certain tokens and analyze
                                        documents re same (0.3).

03/10/23           KJS                  Review proposed revisions to NDAs                                                 0.50                 958.50
                                        and exchange correspondence with
                                        Jeffrey MacDonald re same (0.5).

03/10/23           AS2                  Review and revise interrogatories                                                 4.50            5,143.50
                                        and RFPs related to Grayscale matter
                                        (1.7); review documents in
       los angeles | new york | san francisco | silicon valley | chicago | dc | london | mannheim | tokyo| hamburg | paris | munich
     sydney | hong kong | houston | brussels | seattle | zurich | shanghai | stuttgart | perth | boston | salt lake city | riyadh | berlin |
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                                        connection with potential asset
                                        recovery matter (2.8).

03/10/23           SS6                  Correspond with M. Scheck re                                                      0.20                 197.10
                                        account information, diligence
                                        requests (.2).

03/10/23           EDW                  Review draft memos regarding                                                      0.60                 864.00
                                        Ventures investments analysis (.6).

03/11/23           TS4                  Review of documents to determine if                                               3.70            3,113.55
                                        assets can be recovered from possible
                                        target (3.7).

03/11/23           JP                   Draft legal memorandum on venture                                                 1.70            1,943.10
                                        book target and correspondence with
                                        Alvarez & Marsal regarding same
                                        (1.7).

03/11/23           KJS                  Revise memo re venture analysis and                                               0.60            1,150.20
                                        prepare correspondence re same
                                        (0.6).

03/12/23           TS4                  Preparing memorandum assessing                                                    2.10            1,767.15
                                        asset recovery claims against target
                                        (2.1).

03/12/23           JP                   Collect documentary support for                                                   1.40            1,600.20
                                        legal memorandum on venture book
                                        target (0.5); internal correspondence
                                        and coordination regarding Rule 2004
                                        negotiations and productions (0.2);
                                        draft subpoena and notice of
                                        subpoena for Prager Metis and
                                        internal correspondence regarding
                                        same (0.7).

03/12/23           EDW                  Exchange e-mails with J. Palmerson,                                               0.20                 288.00
                                        A. Nelson regarding memos (.2).

03/13/23           JR8                  Prepare memo re: claim feasibility                                                2.40            2,516.40
                                        (2.2) and call with team re: same (.2).

03/13/23           EK                   Conference with QE team re case                                                   0.60                 747.90
                                        strategy [0.6].

03/13/23           OBY                  Team call regarding case strategy.                                                0.60                 542.70
                                        (.6).

03/13/23           SNR                  Team strategy call (0.6); address                                                 3.00            4,779.00
                                        strategic issues re: Grayscale and
                                        follow up re: same (0.4); address 2004
       los angeles | new york | san francisco | silicon valley | chicago | dc | london | mannheim | tokyo| hamburg | paris | munich
     sydney | hong kong | houston | brussels | seattle | zurich | shanghai | stuttgart | perth | boston | salt lake city | riyadh | berlin |
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                                        discovery issues re: banks and
                                        professional and address strategy re:
                                        same w/ team (0.6); review venture
                                        investment analysis and follow up re:
                                        same (1.4).

03/13/23           ECS                  Call with T. Sharma and A.                                                        1.30            1,714.05
                                        Roytenberg concerning analysis of
                                        venture cap targets (.2); team update
                                        call concerning venture cap target
                                        analysis (.6); correspondence
                                        concerning analysis of venture cap
                                        target transactions (.5).

03/13/23           KL                   Attend internal QE meeting (.6).                                                  0.60                 955.80

03/13/23           JP                   Partial attendance on team call to                                                1.40            1,600.20
                                        discuss case updates (0.3);
                                        correspondence and coordination
                                        regarding Rule 2004 negotiations and
                                        productions (1.1).

03/13/23           MM2                  Attend QE team call re investigative                                              0.60                 664.20
                                        and case status (0.6).

03/13/23           JY1                  Weekly team meeting (.6).                                                         0.60                 710.10

03/13/23           NH2                  Weekly standing call (0.6).                                                       0.60                 542.70

03/13/23           KJS                  Attend QE team call (0.6).                                                        0.60            1,150.20

03/13/23           AS2                  Review and revise interrogatories                                                 7.10            8,115.30
                                        and requests for production in
                                        connection with Grayscale Matter in
                                        response to team comments (3.4);
                                        review documents in connection with
                                        asset recovery investigation (2.0);
                                        review and revise memorandum
                                        regarding potential asset recovery
                                        matter (1.1); team meeting regarding
                                        case strategy (0.6).

03/13/23           SS6                  Conference with S. Rand, QE team re                                               0.60                 591.30
                                        status call (.6).

03/13/23           SH6                  Weekly QE team leadership meeting                                                 0.60                 504.90
                                        (0.6).

03/13/23           APA                  Attend weekly QE team call                                                        0.60                 864.00
                                        regarding status and tasks (0.6).

03/13/23           TS4                  Call with E. Sutton and A.                                                        1.10                 925.65
       los angeles | new york | san francisco | silicon valley | chicago | dc | london | mannheim | tokyo| hamburg | paris | munich
     sydney | hong kong | houston | brussels | seattle | zurich | shanghai | stuttgart | perth | boston | salt lake city | riyadh | berlin |
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                                        Roytenberg to discuss analysis of
                                        possible targets (0.2); call with QE
                                        team to discuss case updates and
                                        workflow (0.6); review of documents
                                        to determine if assets can be
                                        recovered from possible target (0.3).

03/13/23           AR0                  Collect update on venture review                                                  2.70            3,086.10
                                        memos (0.4); call with E. Sutton and
                                        T. Sharma re venture review memos
                                        (0.2); supervise venture review
                                        document review (0.7); weekly team
                                        call (0.6); revise venture review
                                        memo (0.8).

03/13/23           EDW                  Review Venture book memos (1.1);                                                  2.40            3,456.00
                                        review Venture book memo draft
                                        (0.7); participate on team call (0.6).

03/13/23           AB9                  Review documents re: FTX                                                          1.30                 661.05
                                        investments (1.3).

03/14/23           MM6                  Doc review regarding fraudulent                                                   3.20            3,657.60
                                        transactions (3.2).

03/14/23           JR8                  Prepare memo re: claim feasibility                                                3.40            3,564.90
                                        (2.6), fact research re: same (.8).

03/14/23           GC2                  Review documents for fraudulent                                                   2.80            1,423.80
                                        transfer analysis. (2.8).

03/14/23           JP                   Correspondence and coordination                                                   3.40            3,886.20
                                        regarding Rule 2004 negotiations and
                                        productions (0.8); meet and confer
                                        with Rule 2004 target (0.7);
                                        conference call with Rule 2004
                                        discovery team to discuss tracking
                                        negotiations and forthcoming Rule
                                        2004 requests (0.4); meet and confer
                                        with Rule 2004 target (0.4); prepare
                                        subpoena for Prager Metis and notice
                                        of subpoena (0.5); prepare for meet
                                        and confers and correspondence with
                                        A. Alden regarding same (0.6).

03/14/23           MS8                  Review documents to identify                                                      3.40            1,514.70
                                        documents related to FTX's
                                        investments for use in memorandum
                                        regarding same (3.4).

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03/14/23           SNR                  Address 2004 discovery issues re:                                                 1.10            1,752.30
                                        banks and professional and address
                                        strategy re: same w/ team (0.3);
                                        review venture investment analysis
                                        and follow up re: same (0.8).

03/14/23           AM6                  Analyze and code documents                                                        3.90            1,737.45
                                        regarding fraudulent transfer
                                        analysis (3.9).

03/14/23           KJS                  Revise venture memo; research and                                                 0.80            1,533.60
                                        exchange correspondence re same
                                        (0.8).

03/14/23           KJS                  Research re potential avoidance                                                   0.70            1,341.90
                                        claims (0.7).

03/14/23           APA                  Emails to and from J. Palmerson and                                               3.70            5,328.00
                                        UCC counsel regarding discovery
                                        (0.2); emails to and from O. Yeffet
                                        regarding meet and confer (0.2);
                                        prepare for meet and confers with
                                        discovery targets (1.6);attention to
                                        emails from Landis Rath & Cobb LLP
                                        regarding subpoena (0.1);
                                        teleconferences with J. Palmerson,
                                        UCC counsel and discovery targets
                                        regarding discovery requests (1.1);
                                        teleconference with O. Yeffet, UCC
                                        counsel and discovery target
                                        regarding document production (0.2);
                                        review and revise document requests
                                        (0.4).

03/14/23           TS4                  Preparing memorandum analyzing                                                    6.30            5,301.45
                                        possible asset recovery from target
                                        (3.1); Review of documents related to
                                        target to determine if possible
                                        avoidance claim can be made against
                                        target (3.2).

03/14/23           AR0                  Supervise venture review document                                                 0.80                 914.40
                                        review (0.8).

03/14/23           AS2                  Review and revise interrogatories in                                              4.00            4,572.00
                                        connection with Grayscale matter in
                                        response to team comments (2.9);
                                        review and revise asset recovery
                                        memorandum (1.1).

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     sydney | hong kong | houston | brussels | seattle | zurich | shanghai | stuttgart | perth | boston | salt lake city | riyadh | berlin |
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03/14/23           EDW                  Review and revise Ventures                                                        1.10            1,584.00
                                        investment memo (1.1).

03/14/23           AB9                  Review documents re: FTX                                                          1.60                 813.60
                                        investments (1.6).

03/15/23           JP                   Internal correspondence regarding                                                 3.20            3,657.60
                                        transactions with venture book target
                                        and potential legal claims and fact
                                        research regarding same (2.2);
                                        correspondence and coordination
                                        regarding Rule 2004 negotiations and
                                        productions (1.0).

03/15/23           MM6                  Analyzed documents produced                                                       0.90            1,028.70
                                        through discovery (.9).

03/15/23           SNR                  Review venture investment analysis                                                3.40            5,416.20
                                        memos and related materials (3.4).

03/15/23           AM6                  Analyze and code documents                                                        3.70            1,648.35
                                        regarding fraudulent transfer
                                        analysis (3.7).

03/15/23           KJS                  Exchange correspondence with A.                                                   0.20                 383.40
                                        Alden re fiduciary duty claims (0.2).

03/15/23           ZM                   Revise venture book memorandum                                                    1.80            1,628.10
                                        (1.2); emails with first-level review
                                        team re: document analysis (.6).

03/15/23           APA                  Emails to and from discovery target                                               0.40                 576.00
                                        (0.2); emails to and from J. Palmerson
                                        regarding discovery (0.1); email to K.
                                        Lemire regarding document review
                                        (0.1).

03/15/23           TS4                  Preparing memorandum analyzing                                                    2.70            2,272.05
                                        possible asset recovery from target
                                        (2.7).

03/15/23           AR0                  Supervise venture book document                                                   0.40                 457.20
                                        review (0.4).

03/15/23           EDW                  Review two Ventures book memos                                                    1.30            1,872.00
                                        (1.1); e-mail A. Nelson regarding
                                        same (0.2).

03/15/23           AB9                  Review documents re: FTX                                                          2.20            1,118.70
                                        investments (2.2).

03/15/23           AS2                  Review and revise Grayscale                                                       3.80            4,343.40
       los angeles | new york | san francisco | silicon valley | chicago | dc | london | mannheim | tokyo| hamburg | paris | munich
     sydney | hong kong | houston | brussels | seattle | zurich | shanghai | stuttgart | perth | boston | salt lake city | riyadh | berlin |
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                                        interrogatories and requests for
                                        production in light of team comments
                                        (3.8).

03/16/23           JR8                  Review and revise memo re: claim                                                  1.40            1,467.90
                                        feasibility (1) and review documents
                                        re: same (.4).

03/16/23           AR0                  Revise venture book review memo                                                   0.80                 914.40
                                        (0.8).

03/16/23           ECS                  Analyze and revise written memos                                                  4.40            5,801.40
                                        concerning two different target
                                        transactions for purposes of assessing
                                        avoidance claims (4.4).

03/16/23           ZM                   Review A&M comments to venture                                                    2.10            1,899.45
                                        book memorandum and revise
                                        accordingly (.6); review and analyze
                                        documents for second venture book
                                        memorandum (1.5).

03/16/23           JP                   Coordinate document review for                                                    2.30            2,628.90
                                        venture book target (0.3); finalize and
                                        serve subpoena on Prager Metis and
                                        internal correspondence regarding
                                        same (0.4); fact research on Silvergate
                                        Bank to propose custodians and
                                        search terms for Rule 2004
                                        production (1.3); correspondence and
                                        coordination internally and with
                                        committee regarding Rule 2004
                                        negotiations and productions (0.3).

03/16/23           KJS                  Exchange correspondence with S&C                                                  0.20                 383.40
                                        re BlockFi proof of claim (0.2).

03/16/23           KJS                  Research re venture analysis and                                                  0.70            1,341.90
                                        revise memos re same (0.7).

03/16/23           KJS                  Exchange correspondence re                                                        0.20                 383.40
                                        JPMorgan account information (0.2).

03/16/23           SS6                  Correspond with M. Scheck, J.                                                     0.80                 788.40
                                        Shaffer, QE team re requested
                                        diligence, account information (.4);
                                        correspond with J. Lee (A&M) re
                                        same (.1); correspond with JPMorgan
                                        re same (.2); correspond with M.
                                        Scheck re same (.1).

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     sydney | hong kong | houston | brussels | seattle | zurich | shanghai | stuttgart | perth | boston | salt lake city | riyadh | berlin |
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03/16/23           APA                  Emails to and from J. Palmerson                                                   0.10                 144.00
                                        regarding Prager Metis subpoena
                                        (0.1).

03/16/23           TS4                  Preparing memorandum analyzing                                                    8.60            7,236.90
                                        possible asset recovery from target
                                        (7.4); Updating memorandum
                                        regarding asset recovery from target
                                        based on comments from E. Sutton
                                        (1.1); Correspond with A&M
                                        regarding recovery of assets from
                                        target (0.1).

03/16/23           EDW                  Review Ventures book memo (.4).                                                   0.40                 576.00

03/17/23           AR0                  Revise venture book review memo                                                   0.50                 571.50
                                        (0.5).

03/17/23           SNR                  Review venture investment analysis                                                1.00            1,593.00
                                        memos and related materials (1.0).

03/17/23           ECS                  Analysis of documents related to                                                  3.90            5,142.15
                                        target venture capital transaction for
                                        purposes of assessing avoidance
                                        claims (1.1); address comment in
                                        draft memorandum concerning target
                                        venture capital transaction (.2);
                                        analyze documents related to second
                                        venture capital transaction (.8); revise
                                        memo concerning target two's
                                        transaction for purposes of
                                        determining avoidance claims and
                                        request additional information
                                        concerning same, including from
                                        financial advisors (1.8).

03/17/23           KJS                  Exchange correspondence re                                                        0.30                 575.10
                                        JPMorgan account information (0.3).

03/17/23           JP                   Fact research on Silvergate Bank to                                               5.90            6,743.70
                                        propose custodians and search terms
                                        for Rule 2004 production and to
                                        clarify document requests in response
                                        to meet and confer (4.9);
                                        correspondence and coordination
                                        internally, with committee, and with
                                        Rule 2004 targets regarding Rule 2004
                                        negotiations and productions (1.0).

03/17/23           ZM                   Revise venture book memorandum                                                    3.40            3,075.30
       los angeles | new york | san francisco | silicon valley | chicago | dc | london | mannheim | tokyo| hamburg | paris | munich
     sydney | hong kong | houston | brussels | seattle | zurich | shanghai | stuttgart | perth | boston | salt lake city | riyadh | berlin |
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                                        (.8); emails re: same (.3); review
                                        documents for second venture book
                                        analysis (2.3).

03/17/23           SS6                  Correspond with JPMorgan re                                                       0.60                 591.30
                                        account information (.2); correspond
                                        with J. Shaffer, QE team re same (.4).

03/17/23           APA                  Review letter from auditor (0.1);                                                 0.30                 432.00
                                        emails to and from J. Palmerson
                                        regarding discovery (0.1); emails to
                                        and from K. Lemire regarding
                                        document review (0.1).

03/17/23           TS4                  Updating memorandum regarding                                                     0.40                 336.60
                                        asset recovery from target (0.3);
                                        correspond with E. Sutton regarding
                                        the same (0.1).

03/17/23           AS2                  Review and revise Grayscale                                                       3.90            4,457.70
                                        interrogatories and document
                                        requests in light of team and co-
                                        counsel comments (2.1); review and
                                        revise asset recovery memorandum
                                        (1.8).

03/18/23           AS2                  Review and revise Grayscale                                                       3.90            4,457.70
                                        interrogatories and document
                                        requests (3.9).

03/19/23           KL                   Call with A. Alden re review of bank                                              0.50                 796.50
                                        documents (.4); emails re review of
                                        bank documents (.1).

03/19/23           ZM                   Revise venture book memorandum                                                    0.80                 723.60
                                        (.6); emails with A&M re: same (.2).

03/19/23           JP                   Fact research on Rule 2004 targets to                                             2.30            2,628.90
                                        propose custodians and search terms
                                        for Rule 2004 productions (2.3).

03/19/23           JP                   Internal correspondence and                                                       0.30                 342.90
                                        coordination regarding Rule 2004
                                        productions (0.3).

03/19/23           APA                  Emails to and from J. Palmerson and                                               0.70            1,008.00
                                        O. Yeffet regarding third party
                                        productions (0.2); teleconference with
                                        K. Lemire regarding document
                                        review (0.4); email to J. Shaffer and S.
                                        Rand regarding same (0.1).
       los angeles | new york | san francisco | silicon valley | chicago | dc | london | mannheim | tokyo| hamburg | paris | munich
     sydney | hong kong | houston | brussels | seattle | zurich | shanghai | stuttgart | perth | boston | salt lake city | riyadh | berlin |
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03/19/23           TS4                  Updating memorandum regarding                                                     0.20                 168.30
                                        asset recovery from target (0.2).

03/20/23           AK2                  Attend weekly team status meeting                                                 0.40                 486.00
                                        (.4).

03/20/23           AR0                  Call with E. Sutton, Z. Muller and T.                                             1.60            1,828.80
                                        Sharma (0.3); weekly team call (0.4);
                                        review venture book review memo
                                        (0.9).

03/20/23           MM2                  Attend QE team call re investigative                                              0.40                 442.80
                                        and case status (0.4).

03/20/23           ECS                  Call with Z. Muller, T. Sharma, and                                               3.20            4,219.20
                                        A. Roytenberg re venture cap
                                        transaction analysis (.1); team call re
                                        venture cap transaction analysis,
                                        related lawsuits, and case updates
                                        (.4); edit and revise draft memo re
                                        venture cap transaction for purposes
                                        of assessing avoidance claim (1.0);
                                        provide comments on draft analysis
                                        of venture cap transaction for
                                        purposes of assessing avoidance
                                        claim (1.7).

03/20/23           OBY                  Team call. (.4).                                                                  0.40                 361.80

03/20/23           JY1                  Weekly team call (.4).                                                            0.40                 473.40

03/20/23           MS1                  Weekly team meeting (.4).                                                         0.40                 298.80

03/20/23           KL                   TCs QE team re review of 2004                                                     0.90            1,433.70
                                        documents produced (.7); review
                                        email re 2004 requests (.2).

03/20/23           AN4                  Weekly team call (.4).                                                            0.40                 298.80

03/20/23           EK                   QE team call re: case strategy (0.4).                                             0.40                 498.60

03/20/23           ZM                   Call with E. Sutton, A. Roytenberg, T.                                            2.40            2,170.80
                                        Sharma to discuss progress on
                                        venture book memoranda (.3); team
                                        standing call (.4); emails with first-
                                        level review team re: document
                                        issues (.4); revise venture book
                                        memorandum (.7); emails re: same
                                        (.6).

03/20/23           JP                   Review, revise, and finalize notice of                                            3.70            4,229.10
                                        service of subpoena on Prager Metis
       los angeles | new york | san francisco | silicon valley | chicago | dc | london | mannheim | tokyo| hamburg | paris | munich
     sydney | hong kong | houston | brussels | seattle | zurich | shanghai | stuttgart | perth | boston | salt lake city | riyadh | berlin |
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                                        (0.2); team call to discuss case
                                        updates (0.4); internal
                                        correspondence and coordination
                                        regarding document productions
                                        from Rule 2004 targets and work flow
                                        to review such document
                                        productions (1.0); correspondence
                                        and coordination internally, with
                                        committee, and with Rule 2004
                                        targets regarding Rule 2004
                                        negotiations and update tracker
                                        regarding same (2.1).

03/20/23           NH2                  Weekly team call - discussed venture                                              0.40                 361.80
                                        deals, investigation, and other issues
                                        (0.4).

03/20/23           KJS                  Analyze memo re PWP monetization                                                  0.30                 575.10
                                        efforts (0.3).

03/20/23           KJS                  Analyze venture investment claims                                                 0.70            1,341.90
                                        and revise memoranda re same (0.7).

03/20/23           KJS                  Attend weekly internal QE call (0.4).                                             0.40                 766.80

03/20/23           KJS                  Exchange correspondence re venture                                                0.20                 383.40
                                        memoranda (0.2).

03/20/23           TCM                  Standing weekly strategy call (.4).                                               0.40                 486.00

03/20/23           SS6                  Conference with A. Kutscher, QE                                                   0.40                 394.20
                                        team re status update call (.4).

03/20/23           TS4                  Call with E. Sutton and team to                                                   0.50                 420.75
                                        discuss updates regarding review of
                                        targets (joined in progress) (0.1); All
                                        hands call regarding case updates
                                        and workflow (0.4).

03/20/23           EDW                  Participate on QE team call regarding                                             0.40                 576.00
                                        Ventures and other matters (.4).

03/20/23           AS2                  Team meeting regarding case                                                       3.50            4,000.50
                                        strategy (0.4); review public
                                        documents and internal FTX
                                        documents in connection with asset
                                        recovery investigation (3.1).

03/20/23           APA                  Attend weekly QE team call to                                                     0.40                 576.00
                                        discuss tasks (0.4).

03/21/23           ECS                  Review and analysis of Bahamian                                                   1.70            2,241.45
       los angeles | new york | san francisco | silicon valley | chicago | dc | london | mannheim | tokyo| hamburg | paris | munich
     sydney | hong kong | houston | brussels | seattle | zurich | shanghai | stuttgart | perth | boston | salt lake city | riyadh | berlin |
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                                        filing for purposes of assessing
                                        information related to venture
                                        capture transactions and solvency
                                        (.5); review of memo related to
                                        avoidance claim for venture cap
                                        transaction (.7); provide comments on
                                        draft venture cap transaction
                                        memorandum related to avoidance
                                        claims (.5).

03/21/23           JP                   Conference call with D. Medway                                                    5.70            6,515.10
                                        (A&M) regarding Rule 2004
                                        document requests (0.1); conference
                                        call with A. Alden and A&M
                                        regarding document productions
                                        from banks in response to Rule 2004
                                        requests (0.5); internal
                                        correspondence and coordination
                                        regarding Rule 2004 negotiations and
                                        document productions (0.9); review
                                        and revise legal memorandum on
                                        venture book target to incorporate
                                        comments from E. Winston (1.0);
                                        preparation for meet and confer with
                                        Prager Metis regarding Rule 2004
                                        requests and search parameters (0.6);
                                        fact research on Prager Metis to
                                        facilitate drafting proposed search
                                        terms and custodians and draft
                                        proposed search terms and
                                        custodians (2.6).

03/21/23           KJS                  Research re venture investment                                                    0.50                 958.50
                                        analysis (0.5).

03/21/23           KJS                  Exchange correspondence with Ken                                                  0.10                 191.70
                                        Pasquale re venture analysis (0.1).

03/21/23           KJS                  Revise various venture investment                                                 1.80            3,450.60
                                        claim memoranda and prepare
                                        correspondence re same (1.8).

03/21/23           AS2                  Grayscale team meeting regarding                                                  7.60            8,686.80
                                        discovery strategy (1.4); confer with
                                        E. Kapur regarding discovery
                                        requests (0.3); review and revise
                                        Grayscale discovery requests in light
                                        of team and co-counsel comments

       los angeles | new york | san francisco | silicon valley | chicago | dc | london | mannheim | tokyo| hamburg | paris | munich
     sydney | hong kong | houston | brussels | seattle | zurich | shanghai | stuttgart | perth | boston | salt lake city | riyadh | berlin |
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                                        (3.9); review public and internal FTX
                                        documents in connection with asset
                                        recovery investigation (2.0).

03/21/23           APA                  Email to S&C regarding discovery                                                  0.10                 144.00
                                        coordination (0.1).

03/22/23           JP                   Internal correspondence and                                                       1.40            1,600.20
                                        coordination regarding Silicon Valley
                                        Accountants document production
                                        (0.4); preparation for meet and confer
                                        with Prager Metis and internal
                                        correspondence regarding same (0.3);
                                        meet and confer with Prager Metis
                                        (0.2); draft proposed search terms for
                                        Prager Metis (0.3); internal
                                        correspondence and coordination
                                        regarding Rule 2004 negotiations and
                                        productions (0.2).

03/22/23           JR8                  Prepare memo re: claim feasibility                                                2.00            2,097.00
                                        (.4), legal and fact research re: same
                                        (1.6).

03/22/23           JR8                  Review and revise memo re: claim                                                  2.20            2,306.70
                                        feasibility (1.2), fact research re: same
                                        (1).

03/22/23           SNR                  Address Grayscale complaint                                                       0.90            1,433.70
                                        strategy issues w/ team (0.4); review
                                        venture book analysis memos and
                                        address strategy re: same (0.5).

03/22/23           KJS                  Analyze pleadings re Mysten sale                                                  0.30                 575.10
                                        (0.3).

03/22/23           KJS                  Analyze pleadings re Modulo                                                       0.30                 575.10
                                        settlement (0.3).

03/22/23           KJS                  Exchange correspondence with                                                      0.10                 191.70
                                        committee counsel re venture
                                        analysis (0.1).

03/22/23           KJS                  Research re venture analysis issues                                               0.50                 958.50
                                        and exchange correspondence re
                                        same (0.5).

03/22/23           KJS                  Exchange correspondence with S&C                                                  0.20                 383.40
                                        re BVI counsel for venture
                                        investment analysis (0.2).

       los angeles | new york | san francisco | silicon valley | chicago | dc | london | mannheim | tokyo| hamburg | paris | munich
     sydney | hong kong | houston | brussels | seattle | zurich | shanghai | stuttgart | perth | boston | salt lake city | riyadh | berlin |
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03/22/23           KJS                  Confer with E. Kapur, A. Alden and                                                0.30                 575.10
                                        A. Kutscher re venture book target
                                        (0.3).

03/22/23           APA                  Teleconference with I. Nesser                                                     0.40                 576.00
                                        regarding token purchase (0.1);
                                        teleconference with E. Kapur, J.
                                        Shaffer and A. Kutscher regarding
                                        same (0.3).

03/23/23           ECS                  Correspondence concerning three                                                   0.60                 791.10
                                        draft memorandums concerning
                                        venture cap transactions for purposes
                                        of analyzing avoidance claims (.6).

03/23/23           JR8                  Review and revise memo re: claim                                                  1.50            1,572.75
                                        feasibility (1.5).

03/23/23           SNR                  Address 2004 discovery issues re:                                                 2.60            4,141.80
                                        banks and professional and address
                                        strategy re: same w/ team (1.2);
                                        review venture investment analysis
                                        and follow up re: same (1.2); review
                                        and revise draft complaint re:
                                        avoidance action (.2).

03/23/23           AR0                  Revise venture book review memo                                                   0.40                 457.20
                                        (0.4).

03/23/23           ZM                   Update venture book memo to match                                                 2.20            1,989.90
                                        exemplar (.4); background research
                                        re: venture book target (1.8).

03/23/23           JP                   Internal correspondence and                                                       8.50            9,715.50
                                        coordination regarding Rule 2004
                                        negotiations and productions (0.3);
                                        fact research regarding transaction
                                        with venture book target (2.8); draft
                                        proposed search terms and custodian
                                        list for Silvergate Bank and draft e-
                                        mail regarding same and following
                                        up from meet and confer (3.4); draft
                                        search terms and custodian list for
                                        Prager Metis document production
                                        and draft e-mail regarding same (2.0).

03/23/23           KJS                  Revise venture memo and exchange                                                  0.60            1,150.20
                                        correspondence re same (0.6).

03/23/23           KJS                  Exchange correspondence re                                                        0.20                 383.40

       los angeles | new york | san francisco | silicon valley | chicago | dc | london | mannheim | tokyo| hamburg | paris | munich
     sydney | hong kong | houston | brussels | seattle | zurich | shanghai | stuttgart | perth | boston | salt lake city | riyadh | berlin |
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                                        marketing of venture investments
                                        (0.2).

03/23/23           KJS                  Analyze documents re venture                                                      0.50                 958.50
                                        analysis and exchange
                                        correspondence re same (0.5).

03/23/23           KJS                  Attend call with committee counsel                                                0.30                 575.10
                                        re venture analysis (0.3).

03/23/23           APA                  Teleconference with S&C, Alvarez                                                  0.40                 576.00
                                        and Marsal and PWP regarding
                                        coordination (0.4).

03/24/23           SNR                  Review and revise avoidance                                                       2.20            3,504.60
                                        complaint shell (1.0); review venture
                                        investment analysis and follow up re:
                                        same (1.2).

03/24/23           JR8                  Prepare memo re: claim feasibility                                                3.80            3,984.30
                                        (2.8) and review documents re: same
                                        (1).

03/24/23           KL                   Review status, send emails, and                                                   0.80            1,274.40
                                        schedule meetings re 2004 requests
                                        (.8).

03/24/23           ZM                   Revise venture book memorandum                                                    1.80            1,628.10
                                        (1.8).

03/24/23           TS4                  Updating memorandum analyzing                                                     0.90                 757.35
                                        target to discuss possible asset
                                        recovery avenues from target (0.9).

03/24/23           JP                   Internal correspondence and                                                       7.00            8,001.00
                                        coordination regarding Rule 2004
                                        negotiations and productions (0.5);
                                        review and revise legal
                                        memorandum on transactions with
                                        venture book target and internal
                                        correspondence regarding same (0.4);
                                        draft e-mail to Silvergate with
                                        proposed search terms and
                                        custodians and internal
                                        correspondence with A. Alden
                                        regarding same (0.3); fact research
                                        regarding transition with venture
                                        book target and draft legal
                                        memorandum regarding same (5.8).

03/24/23           KJS                  Exchange correspondence re venture                                                0.30                 575.10
       los angeles | new york | san francisco | silicon valley | chicago | dc | london | mannheim | tokyo| hamburg | paris | munich
     sydney | hong kong | houston | brussels | seattle | zurich | shanghai | stuttgart | perth | boston | salt lake city | riyadh | berlin |
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                                        analysis (0.3).

03/24/23           EDW                  Revise Ventures memo (1.1);                                                       1.20            1,728.00
                                        exchange e-mails with team
                                        regarding Ventures memo (0.1).

03/24/23           AS2                  Review documents in connection                                                    2.80            3,200.40
                                        with asset recovery investigation
                                        (2.1); review and revise asset
                                        recovery memorandum (0.6); prepare
                                        FOIA request in connection with
                                        Grayscale matter (1.0).

03/24/23           SS6                  Correspond with J. Lee (A&M), A&M                                                 0.40                 394.20
                                        team re account information,
                                        diligence (.2); correspond with J.
                                        Shaffer, M. Scheck re same (.1);
                                        correspond with JPM, QE team re
                                        same (.1).

03/25/23           TS4                  Updating memorandum regarding                                                     0.70                 589.05
                                        asset recovery from target (0.7).

03/25/23           KJS                  Research re venture claims and revise                                             1.30            2,492.10
                                        memos re same (1.3).

03/25/23           KJS                  Exchange correspondence with S&C                                                  0.50                 958.50
                                        re NDAs; review same (0.5).

03/26/23           SNR                  Review and revise avoidance                                                       3.80            6,053.40
                                        complaint shell (2.2); review venture
                                        investment analysis and follow up re:
                                        same (1.6).

03/26/23           TS4                  Updating memorandum regarding                                                     3.70            3,113.55
                                        asset recovery from target based on
                                        comments from A&M (3.7).

03/26/23           JP                   Fact research regarding transition                                                7.40            8,458.20
                                        with venture book target and draft
                                        legal memorandum regarding same
                                        (7.4).

03/27/23           AK2                  Attend weekly team update meting                                                  0.20                 243.00
                                        (.2).

03/27/23           SNR                  Address 2004 discovery issues re:                                                 2.80            4,460.40
                                        banks and professional and address
                                        strategy re: same w/ team (1.2);
                                        review venture investment analysis
                                        and follow up re: same (1.6).

       los angeles | new york | san francisco | silicon valley | chicago | dc | london | mannheim | tokyo| hamburg | paris | munich
     sydney | hong kong | houston | brussels | seattle | zurich | shanghai | stuttgart | perth | boston | salt lake city | riyadh | berlin |
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03/27/23           MM2                  Attend QE team call re investigative                                              0.20                 221.40
                                        and case status (0.2).

03/27/23           SH6                  Weekly QE team leadership meeting                                                 0.20                 168.30
                                        regarding status updates (0.2).

03/27/23           NH2                  Analyzed a token purchase contract                                                3.50            3,165.75
                                        related to a venture deal and
                                        circulated a summary (2.1), legal
                                        research on the bankruptcy code
                                        relating to a section in the memo
                                        (1.4).

03/27/23           ECS                  Call with A. Roytenberg, T. Sharma,                                               0.60                 791.10
                                        Z. Muller re venture cap transactions
                                        (.1); team call re avoidance claims
                                        and investigations (.2); prepare for
                                        team call by reviewing status of
                                        memos (.3).

03/27/23           JY1                  Weekly team meeting (.2).                                                         0.20                 236.70

03/27/23           AR0                  Call with E. Sutton, T. Sharma, and Z.                                            0.30                 342.90
                                        Muller re venture book review (0.1);
                                        weekly team call (0.2).

03/27/23           ZM                   Team standing call (.2); review                                                   0.60                 542.70
                                        venture book memo (.4).

03/27/23           EDW                  Participate on team call regarding                                                0.20                 288.00
                                        case updates (.2).

03/27/23           EK                   QE team call re: case strategy (0.2).                                             0.20                 249.30

03/27/23           JP                   Review and revise legal                                                           3.70            4,229.10
                                        memorandum on transaction with
                                        venture book target and internal
                                        correspondence regarding same (1.7);
                                        team call to discuss case updates
                                        (0.2); correspondence internally, with
                                        Committee, and with Rule 2004
                                        targets regarding Rule 2004
                                        negotiations and productions (1.8).

03/27/23           KL                   Internal QE calls re filing claims (1.0);                                         1.20            1,911.60
                                        internal weekly QE call (.2).

03/27/23           OBY                  Team call. (.2).                                                                  0.20                 180.90

03/27/23           TS4                  Correspond with M. Peng and A.                                                    2.10            1,767.15
                                        Allen regarding preparation of
                                        materials for memorandum
       los angeles | new york | san francisco | silicon valley | chicago | dc | london | mannheim | tokyo| hamburg | paris | munich
     sydney | hong kong | houston | brussels | seattle | zurich | shanghai | stuttgart | perth | boston | salt lake city | riyadh | berlin |
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                                        regarding possible asset recovery
                                        from target (0.3); updating
                                        memorandum providing analysis for
                                        asset recovery from target based on
                                        comments from colleagues (1.5); call
                                        with E. Sutton and venture review
                                        team to discuss workflow (0.1); all-
                                        hands call to discuss case updates
                                        and workflow (0.2).

03/27/23           AN4                  Weekly team call (.2).                                                            0.20                 149.40

03/27/23           KJS                  Research re assignability issues and                                              0.50                 958.50
                                        exchange correspondence re same
                                        (0.5).

03/27/23           KJS                  Analyze correspondence from Linda                                                 0.10                 191.70
                                        Yao Chen re NDA (0.1).

03/27/23           AS2                  Team meeting regarding case                                                       2.20            2,514.60
                                        strategy (0.2); review documents in
                                        connection with asset recovery
                                        investigation (2.0).

03/27/23           SS6                  Conference with A. Kutscher, QE                                                   0.20                 197.10
                                        team re status call (.2).

03/27/23           TCM                  Standing weekly call (.2).                                                        0.20                 243.00

03/28/23           JP                   Correspondence and coordination                                                   1.50            1,714.50
                                        internally, with Committee, and with
                                        Rule 2004 targets regarding Rule 2004
                                        negotiations and productions (0.4);
                                        conference call with QE and A&M
                                        team regarding Rule 2004 requests
                                        and documents requested and
                                        received from banks (0.5); internal
                                        conference call with Rule 2004 team
                                        regarding progress to date with Rule
                                        2004 targets and next steps for
                                        sending out additional Rule 2004
                                        requests (0.6).

03/28/23           KL                   Emails and calls re 2004 requests                                                 2.60            4,141.80
                                        (2.2); review status of 2004 requests
                                        (.4).

03/28/23           TS4                  Updating memorandum regarding                                                     0.40                 336.60
                                        asset recovery from target (0.4).

03/28/23           KJS                  Analyze correspondence re approval                                                0.10                 191.70
       los angeles | new york | san francisco | silicon valley | chicago | dc | london | mannheim | tokyo| hamburg | paris | munich
     sydney | hong kong | houston | brussels | seattle | zurich | shanghai | stuttgart | perth | boston | salt lake city | riyadh | berlin |
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                                        of third party sale (0.1).

03/28/23           KJS                  Analyze Reorg article re debtor assets                                            0.20                 383.40
                                        (0.2).

03/29/23           ECS                  Edits to two venture capital                                                      4.30            5,669.55
                                        transaction memos (2.5); analysis of
                                        underlying contracts for two venture
                                        capital transaction memos (1.4);
                                        review of correspondence with A&M
                                        concerning questions related to
                                        venture capital transactions (.4).

03/29/23           AR0                  Revise venture book review memo                                                   0.60                 685.80
                                        (0.6).

03/29/23           ZM                   Implement comments in venture                                                     1.50            1,356.75
                                        book memo (.8); emails re: same (.7).

03/29/23           TS4                  Updating memorandum regarding                                                     1.40            1,178.10
                                        asset recovery from target (1.4).

03/29/23           JP                   Fact research regarding Silicon Valley                                            3.10            3,543.30
                                        Accountants to draft list of proposed
                                        custodians (2.7); conference call with
                                        S. Hill, O. Yeffet, and J. Young
                                        regarding outgoing Rule 2004
                                        document requests (0.2); internal
                                        correspondence and coordination
                                        regarding Rule 2004 negotiations and
                                        productions (0.2).

03/29/23           KJS                  Analyze venture tear sheets and                                                   0.40                 766.80
                                        exchange correspondence re same
                                        (0.4).

03/29/23           KJS                  Review and revise venture memos                                                   1.50            2,875.50
                                        and exchange correspondence re
                                        same (1.5).

03/29/23           KJS                  Exchange correspondence re                                                        0.10                 191.70
                                        JPMorgan account (0.1).

03/29/23           KJS                  Review proposed NDAs and                                                          0.50                 958.50
                                        exchange correspondence with S&C
                                        re same (0.5).

03/29/23           EDW                  Review and revise Ventures memo                                                   0.60                 864.00
                                        (.6).

03/29/23           AS2                  Prepare FOIA request in connection                                                3.30            3,771.90
                                        with Grayscale matter (0.4); review
       los angeles | new york | san francisco | silicon valley | chicago | dc | london | mannheim | tokyo| hamburg | paris | munich
     sydney | hong kong | houston | brussels | seattle | zurich | shanghai | stuttgart | perth | boston | salt lake city | riyadh | berlin |
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                                        documents in connection with asset
                                        recovery investigation (2.9).

03/29/23           SS6                  Correspond with JPM re account                                                    0.20                 197.10
                                        information (.1); correspond with J.
                                        Lee (A&M) re same (.1).

03/29/23           SS6                  Analyze diligence, 2004 records re                                                3.80            3,744.90
                                        investigation (3.8).

03/30/23           KJS                  Exchange correspondence re venture                                                0.40                 766.80
                                        analysis (0.4).

03/30/23           AR0                  Revise venture book review memo                                                   1.10            1,257.30
                                        (1.1).

03/30/23           ECS                  Analysis of underlying contracts                                                  4.40            5,801.40
                                        related to venture capital analysis
                                        (1.3); correspondence concerning
                                        edits to venture capital memos (.6);
                                        revise and edit venture capital
                                        memos (2.5).

03/30/23           ZM                   Review and verify contents of tear                                                7.40            6,693.30
                                        sheets for venture book analyses (.6);
                                        review and analyze documents for
                                        venture book memo (6.8).

03/30/23           JP                   Fact research to propose custodians                                               5.80            6,629.40
                                        and search terms to Silicon Valley
                                        Accountants and preparation for
                                        meet and confer regarding search
                                        parameters (2.8); fact research to
                                        determine proper custodians for Rule
                                        2004 target Armanino (1.8);
                                        correspondence and coordination
                                        internally, with committee, and with
                                        Rule 2004 targets regarding Rule 2004
                                        negotiations and productions (0.7);
                                        meet and confer with Silicon Valley
                                        Accountants and debrief with A.
                                        Alden regarding same (0.5).

03/30/23           KL                   Edit draft memo re 2004 reviews (.3);                                             1.30            2,070.90
                                        tc S. Hill and J. Young re 2004 review
                                        protocols memo (.7); QE internal call
                                        re 2004s (.3).

03/30/23           TS4                  Correspond with E. Turner regarding                                               3.20            2,692.80
                                        documents referred to Investigations

       los angeles | new york | san francisco | silicon valley | chicago | dc | london | mannheim | tokyo| hamburg | paris | munich
     sydney | hong kong | houston | brussels | seattle | zurich | shanghai | stuttgart | perth | boston | salt lake city | riyadh | berlin |
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                                        team (0.3); Review of documents
                                        related to target to determine details
                                        regarding certain investors other than
                                        Debtors (0.5); Correspond with A&M
                                        re same (0.2); Reviewing tear sheets
                                        to ensure compliance with analysis
                                        regarding target (0.5); Correspond
                                        with A&M regarding tear sheets (0.3);
                                        Updating memorandum regarding
                                        asset recovery from target based on
                                        comments from E. Sutton (1.4).

03/30/23           AS2                  Review and revise FOIA request in                                                 1.30            1,485.90
                                        light of team comments (0.4); review
                                        and revise asset recovery
                                        memorandum (0.9).

03/31/23           SNR                  Review venture book memos and                                                     4.30            6,849.90
                                        summary (1.6); t/c w/ team and
                                        follow up re: same (0.7); review
                                        avoidance presentation and address
                                        strategy w/ team (0.5); address
                                        insider preference and fraudulent
                                        transfer issues (1.5).

03/31/23           KJS                  Confer with B. Burck, A. Kutscher, S.                                             0.70            1,341.90
                                        Rand, and K. Lemire re Rule 2004
                                        targets and ventures (0.7).

03/31/23           KJS                  Exchange correspondence and                                                       0.80            1,533.60
                                        analyze documents re venture
                                        analysis (0.8).

03/31/23           ZM                   Draft venture book analysis                                                       5.90            5,336.55
                                        memorandum (5.9).

03/31/23           ECS                  Revise and edit venture capital                                                   1.20            1,582.20
                                        memos (.4); review and analyze
                                        information provided by A&M (.4);
                                        correspondence concerning edits to
                                        venture capital memos (.4).

03/31/23           JP                   Draft list of proposed custodians and                                             6.30            7,200.90
                                        search terms for Silicon Valley
                                        Accountants and fact research
                                        regarding same (2.7); conference call
                                        with K. Lemire, J. Young, and R.
                                        Izakelian regarding document review
                                        protocol (0.2); review and revise slide

       los angeles | new york | san francisco | silicon valley | chicago | dc | london | mannheim | tokyo| hamburg | paris | munich
     sydney | hong kong | houston | brussels | seattle | zurich | shanghai | stuttgart | perth | boston | salt lake city | riyadh | berlin |
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                                        deck for client on venture book
                                        targets and internal correspondence
                                        regarding same (0.4); correspondence
                                        and coordination internally, with
                                        Committee, and with Rule 2004
                                        targets regarding Rule 2004
                                        negotiations and productions (1.0);
                                        fact research on Armanino to
                                        determine appropriate list of
                                        custodians (2.0).

03/31/23           KL                   Edit draft memo re 2004 reviews and                                               1.30            2,070.90
                                        calls re same (.3); review 2004
                                        materials (.3); QE internal meeting re
                                        litigation and rule 2004 discovery
                                        recommendations (.7).

03/31/23           TS4                  Updating memorandum regarding                                                     2.50            2,103.75
                                        asset recovery from target based on
                                        comments from I. Nesser (0.4);
                                        Correspond with A&M regarding
                                        details of investment in target to aid
                                        in analysis of possible asset recovery
                                        (0.4); Updating memorandum
                                        regarding asset recovery from target
                                        based on comments from A&M (1.7).

                                                                         SUBTOTAL                                      645.00          733,000.05

02 Avoidance Action Analysis


03/01/23           AK2                  Confer with S. Rand, J. Shaffer, and I.                                           5.80            7,047.00
                                        Nesser re: draft memoranda on
                                        potential avoidance action targets
                                        and status of same, determine next
                                        steps re: same, and confer with
                                        drafting teams re: same (.5); confer
                                        with S. Turk and M. Smith re:
                                        revisions to memoranda on potential
                                        avoidance action targets and revise
                                        same (3.7); confer with A. Sutton re:
                                        upcoming call re: potential avoidance
                                        action and research into same, host
                                        same (.7); confer with I. Nesser re:
                                        upcoming venture book coordination
                                        and update call, prepare for same,
                                        and attend same (.7); review and
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     sydney | hong kong | houston | brussels | seattle | zurich | shanghai | stuttgart | perth | boston | salt lake city | riyadh | berlin |
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                                        analyze status of potential avoidance
                                        action re: token acquisition (.2).

03/01/23           KJS                  Research re potential avoidance                                                   0.50                 958.50
                                        claims and prepare correspondence
                                        to A. Alden re same (0.5).

03/01/23           NH2                  Document review for drafting a                                                    2.20            1,989.90
                                        venture review memo on a target
                                        (2.2).

03/01/23           NH2                  Drafted a memo for a target - finalize                                            1.20            1,085.40
                                        and circulate for internal review (1.2).

03/01/23           APA                  Review and revise memo regarding                                                  2.10            3,024.00
                                        venture investment and circulate to
                                        QE team (0.4); emails to and from J.
                                        Palmerson and S. Rand regarding
                                        meeting with professional counsel
                                        (0.1); review and revise memo on
                                        venture investment and email to J.
                                        Shaffer regarding same (1.6).

03/01/23           MM2                  Review materials to assess potential                                              2.00            2,214.00
                                        avoidance claims re: ventures (1.6);
                                        prepare memo re potential avoidance
                                        claims (0.4).

03/01/23           MS1                  Memo in connection with Venture                                                   3.10            2,315.70
                                        Book materials (3.1).

03/01/23           OBY                  Correspondence with K. Lemire, S.                                                 0.20                 180.90
                                        Williamson, and D. Grable regarding
                                        2004 requests. (.2).

03/01/23           OBY                  Legal research on fraudulent transfer                                             1.00                 904.50
                                        actions and reasonably equivalent
                                        value. (1.0).

03/01/23           ST4                  Review and revise memo for strategic                                              0.80                 723.60
                                        assessment of claims and
                                        involvement of third-party vendors
                                        (0.8).

03/01/23           SS6                  Analyze diligence re avoidance                                                    6.10            6,011.55
                                        transaction (1.1); correspond with A.
                                        Canale, A&M team re same (.3); draft
                                        diligence memorandum (3.9);
                                        research case law re same (.8).

03/01/23           EK                   Correspondence with J. Reed and O.                                                2.00            2,493.00

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     sydney | hong kong | houston | brussels | seattle | zurich | shanghai | stuttgart | perth | boston | salt lake city | riyadh | berlin |
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                                        Yeffet re: venture book analyses (0.5);
                                        review and revise draft
                                        memorandum re: venture target (1.5).

03/01/23           AN4                  Document review for avoidance                                                     4.30            3,212.10
                                        action analysis (4.3).

03/02/23           AK2                  Analyze status of avoidance action                                                0.70                 850.50
                                        analysis memoranda and next steps
                                        re: same (.2); confer with J. Palmerson
                                        re: venture book analyses of potential
                                        avoidance actions and next steps re:
                                        same and confer with A. Sutton re:
                                        same (.3); review and analyze update
                                        from Perella Weinberg re: Venture
                                        book monetization and assess impact
                                        on prioritization for evaluating
                                        potential avoidance actions in
                                        Venture book (.2).

03/02/23           NH2                  Drafted a memo for a target,                                                      2.40            2,170.80
                                        document search, and summarize
                                        (2.1); call with A. Alden to address a
                                        search's firms comments on a memo
                                        (0.3).

03/02/23           NH2                  Drafted a memo on a target: legal                                                 2.50            2,261.25
                                        research, collect facts, and write
                                        sections (2.5).

03/02/23           APA                  Emails to and from J. Shaffer                                                     2.40            3,456.00
                                        regarding venture investment memo
                                        and legal question (0.2); emails to and
                                        from Alvarez & Marsal and N. Huh
                                        regarding draft memo (0.4); review
                                        and revise memo regarding venture
                                        investment (1.8).

03/02/23           EK                   Review and revise memorandum re                                                   0.70                 872.55
                                        venture book (0.2); conference with
                                        O. Yeffet re venture book analysis
                                        (0.2); correspond with O. Yeffet and J.
                                        Reed re venture book memoranda
                                        (0.3).

03/02/23           OBY                  Analyze legal claims for venture                                                  3.70            3,346.65
                                        book target; revise memo for same.
                                        (3.7).

03/02/23           OBY                  Call with E. Kapur regarding venture                                              0.20                 180.90
       los angeles | new york | san francisco | silicon valley | chicago | dc | london | mannheim | tokyo| hamburg | paris | munich
     sydney | hong kong | houston | brussels | seattle | zurich | shanghai | stuttgart | perth | boston | salt lake city | riyadh | berlin |
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                                        book target. (.2).

03/02/23           AN4                  Document review regarding                                                         2.90            2,166.30
                                        avoidance action analysis (2.9).

03/02/23           SS6                  Correspond with S. Mimms, A&M                                                     6.40            6,307.20
                                        team re avoidance diligence (.2);
                                        analyze transaction documents re
                                        same (2.1); draft memorandum re
                                        avoidance action (4.1).

03/03/23           AK2                  Confer with S. Turk and M. Smith re:                                              0.70                 850.50
                                        draft memorandum on potential
                                        avoidance action (.1); confer with I.
                                        Nesser re: status of memoranda on
                                        potential avoidance actions and next
                                        steps re: same and confer with E.
                                        Sutton, A. Alden, E. Kapur, and E.
                                        Winston re: same (.6).

03/03/23           NH2                  Drafted a memo for target: research,                                              3.10            2,803.95
                                        factual search and write relevant
                                        sections (3.1).

03/03/23           NH2                  Call with A&M, A. Alden for fact-                                                 0.50                 452.25
                                        checking related to a memo on a
                                        target (0.5).

03/03/23           APA                  Review and revise memo regarding                                                  1.50            2,160.00
                                        venture investment (0.6); emails to
                                        and from Alvarez & Marsal
                                        regarding token investment (0.2);
                                        teleconference with N. Huh and
                                        Alvarez & Marsal regarding same
                                        (0.5); emails to and from M.
                                        Meadows and review summary
                                        regarding venture investment (0.2).

03/03/23           MM2                  Preparing memoranda with analysis                                                 1.90            2,103.30
                                        re potential avoidance claims re:
                                        ventures (1.9).

03/03/23           EK                   Review and revise venture book                                                    0.40                 498.60
                                        memoranda (0.4).

03/03/23           SS6                  Correspond with A. Alden re                                                       6.70            6,602.85
                                        diligence memorandum (.1);
                                        correspond with A&M team re same
                                        (.1); analyze diligence re potential
                                        avoidance transaction (1.3);

       los angeles | new york | san francisco | silicon valley | chicago | dc | london | mannheim | tokyo| hamburg | paris | munich
     sydney | hong kong | houston | brussels | seattle | zurich | shanghai | stuttgart | perth | boston | salt lake city | riyadh | berlin |
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                                        correspond with S. Mimms (A&M) re
                                        same (.2); research case law re same
                                        (1.1); draft avoidance action
                                        memorandum re same (3.9).

03/03/23           AN4                  Document review for avoidance                                                     4.80            3,585.60
                                        action analysis (4.8).

03/03/23           OBY                  Research on 2004 target. (.8).                                                    0.80                 723.60

03/03/23           ST4                  Review and revise memo for strategic                                              3.50            3,165.75
                                        assessment of claims and
                                        involvement of third-party vendors
                                        (3.5).

03/04/23           AK2                  Confer with E. Winston re: draft                                                  0.10                 121.50
                                        memorandum on potential avoidance
                                        action target (.1).

03/04/23           NH2                  Fact checking and finalized a memo                                                1.40            1,266.30
                                        on a target (1.4).

03/04/23           MM2                  Review materials to assess potential                                              2.00            2,214.00
                                        avoidance claims re: ventures (2.0).

03/04/23           AN4                  Confer with A&M regarding                                                         0.30                 224.10
                                        avoidance action analysis and
                                        circulate updated memo re: same (.3).

03/05/23           AK2                  Confer with I. Nesser, E. Sutton, and                                             0.60                 729.00
                                        A. Alden re: status and next steps of
                                        memoranda on potential avoidance
                                        actions and conduct research re: same
                                        (.6).

03/05/23           NH2                  Addressed A. Alden's comment on a                                                 2.70            2,442.15
                                        memo for a target and additional
                                        legal research (2.7).

03/05/23           APA                  Review and revise memos on                                                        3.20            4,608.00
                                        Venture investments and emails to
                                        and from A. Kutscher regarding same
                                        (2.8); emails to and from Alvarez &
                                        Marsal regarding same (0.1);
                                        attention to email from Alvarez &
                                        Marsal regarding same (0.2); emails
                                        to N. Huh regarding same (0.1).

03/05/23           MM2                  Review materials to assess potential                                              1.00            1,107.00
                                        avoidance claims re: ventures (1.0).

03/06/23           APA                  Emails to and from A. Kutscher                                                    1.90            2,736.00
       los angeles | new york | san francisco | silicon valley | chicago | dc | london | mannheim | tokyo| hamburg | paris | munich
     sydney | hong kong | houston | brussels | seattle | zurich | shanghai | stuttgart | perth | boston | salt lake city | riyadh | berlin |
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                                        regarding venture investment memos
                                        (0.2); review and revise memo
                                        regarding token purchase and emails
                                        to and from N. Huh regarding same
                                        (1.4); attend weekly venture team
                                        meeting (0.1); teleconference with N.
                                        Huh regarding venture investment
                                        (0.2).

03/06/23           AK2                  Confer with I. Nesser, A. Alden, E.                                               3.80            4,617.00
                                        Kapur, J. Shaffer, and S. Rand re:
                                        status and next steps of memoranda
                                        on potential avoidance actions and
                                        conduct research re: same (1.4);
                                        confer with Alvarez and Marsal, O.
                                        Yeffet, and J. Reed re: same (.3);
                                        analyze potential avoidance actions
                                        and merits of same (.8); confer with J.
                                        Shaffer, S. Rand, A. Alden, T.
                                        Sharma, S. Seneczko, and N. Huh re:
                                        revisions to avoidance action
                                        memorandums (.7); confer with M.
                                        Meadows re: avoidance actions on
                                        token investments and conduct
                                        research re: same (.4); confer with I.
                                        Nesser re: avoidance action
                                        document review (.1); confer with J.
                                        Shaffer re: proposed release (.1).

03/06/23           NH2                  Legal research, update sections, and                                              4.20            3,798.90
                                        document review for a memo on a
                                        target (4.2).

03/06/23           NH2                  Weekly call for venture book update                                               0.10                  90.45
                                        with A. Alden, S. Seneczko, and M.
                                        Meadows (0.1).

03/06/23           AN4                  Revise avoidance action analysis                                                  6.20            4,631.40
                                        memo (.5); conference with E.
                                        Winston, J. Palmerson and A&M
                                        team re: avoidance action analysis
                                        (.2); document review re: same (5.5).

03/06/23           OBY                  Correspondence with J. Palmerson on                                               0.10                  90.45
                                        2004 targets; correspondence with J.
                                        Shaffer, S. Rand on same. (.1).

03/06/23           MM2                  Teleconference with A&M re venture                                                0.50                 553.50
                                        analysis target asset movement (0.5).
       los angeles | new york | san francisco | silicon valley | chicago | dc | london | mannheim | tokyo| hamburg | paris | munich
     sydney | hong kong | houston | brussels | seattle | zurich | shanghai | stuttgart | perth | boston | salt lake city | riyadh | berlin |
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03/06/23           MM2                  Reviewing A&M avoidance target                                                    2.30            2,546.10
                                        analysis and correspondence re same
                                        (0.7); preparing memoranda re
                                        avoidance action venture target (0.6);
                                        research regarding avoidance action
                                        claims against potential target (1).

03/06/23           SS6                  Review, revise avoidance action                                                   2.10            2,069.55
                                        memorandum (.9); correspond with
                                        A. Alden re same (.1); revise
                                        avoidance diligence memorandum
                                        (.9); correspond with A. Kutscher, QE
                                        team re same (.1); conference with A.
                                        Alden, N. Huh, M. Meadows re
                                        avoidance action update (.1).

03/06/23           ST4                  Conference call regarding approach                                                0.40                 361.80
                                        to avoidance analysis (.4).

03/07/23           OBY                  Legal analysis on claims for venture                                              0.40                 361.80
                                        book target. (.4).

03/07/23           AK2                  Confer with S. Rand and I. Nesser re:                                             1.90            2,308.50
                                        potential avoidance action target (.2);
                                        confer with Alvarez and Marsal re:
                                        same (.2); confer with M. Smith and
                                        S. Turk re: same (.4); confer with I.
                                        Nesser re: avoidance action target
                                        status and next steps (.3); analyze
                                        status of potential avoidance actions
                                        re: token purchases (.2); attend call
                                        with Creditors Committee Counsel
                                        re: coordination on potential
                                        avoidance action (.3); conduct
                                        research re: results of same and
                                        confer with I. Nesser re: same (.3).

03/07/23           NH2                  Drafted a memo on a target/venture                                                4.50            4,070.25
                                        deal: document review, legal
                                        research, and added relevant sections
                                        (4.5).

03/07/23           NH2                  Finalized a memo on a target: legal                                               2.60            2,351.70
                                        research, call with A. Alden and
                                        follow up (2.6).

03/07/23           SS6                  Review diligence re potential                                                     4.50            4,434.75
                                        avoidance actions (1.3); draft
                                        memorandum re potential avoidance

       los angeles | new york | san francisco | silicon valley | chicago | dc | london | mannheim | tokyo| hamburg | paris | munich
     sydney | hong kong | houston | brussels | seattle | zurich | shanghai | stuttgart | perth | boston | salt lake city | riyadh | berlin |
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                                        claims (3.1); correspond with A.
                                        Alden re same (.1).

03/07/23           APA                  Emails to and from Alvarez & Marsal                                               3.00            4,320.00
                                        and N. Huh regarding venture
                                        interest memo (0.5); teleconference
                                        with N. Huh regarding legal research
                                        (0.2); review documents regarding
                                        investigations of professionals (0.4);
                                        review and revise memo regarding
                                        venture investment (1.9).

03/07/23           EK                   Conference with O. Yeffet and J. Reed                                             0.90            1,121.85
                                        re: venture book analysis (0.3);
                                        correspond with A&M re: venture
                                        book analysis (0.3); correspond with
                                        QE team re: venture book analysis
                                        (0.3).

03/07/23           OBY                  Legal analysis pertaining to venture                                              2.90            2,623.05
                                        book target. (2.9).

03/07/23           OBY                  Call with E. Kapur, JR on venture                                                 0.30                 271.35
                                        book analysis. (.3).

03/07/23           MM2                  Preparing memoranda re avoidance                                                  3.60            3,985.20
                                        action target and claims and
                                        analyzing documents re same (3.6).

03/07/23           AN4                  Document review for avoidance                                                     7.10            5,303.70
                                        action analysis and preparing memo
                                        re: same (7.10).

03/07/23           MS1                  Review in connection with Venture                                                 5.10            3,809.70
                                        Book Materials (5.1).

03/07/23           ST4                  Conference call regarding approach                                                0.30                 271.35
                                        to avoidance analysis (.3).

03/08/23           OBY                  Legal analysis on venture book                                                    7.20            6,512.40
                                        claims. (7.2).

03/08/23           OBY                  Correspondence with A. Alden and J,                                               0.20                 180.90
                                        Palmerson related to 2004 requests.
                                        (.2).

03/08/23           AK2                  Review and revise draft                                                           8.10            9,841.50
                                        memorandum on potential avoidance
                                        action target and confer with S. Rand,
                                        J. Shaffer, E. Kapur, I. Nesser, and J.
                                        Reed re: same (.2); conduct research

       los angeles | new york | san francisco | silicon valley | chicago | dc | london | mannheim | tokyo| hamburg | paris | munich
     sydney | hong kong | houston | brussels | seattle | zurich | shanghai | stuttgart | perth | boston | salt lake city | riyadh | berlin |
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                                        re: status of venture book avoidance
                                        action analysis and memoranda on
                                        same and confer with I. Nesser re:
                                        same (.4); confer with K. Lemire re:
                                        potential avoidance action targets
                                        (.1); conduct research and review
                                        documents re: potential avoidance
                                        action targets and revise draft
                                        memoranda to reflect results of same
                                        (2.1); confer with M. Mandel re: use
                                        of public sources in avoidance action
                                        analysis and confer with I. Nesser re:
                                        results of same (.7); review draft
                                        memorandum on potential avoidance
                                        action and confer with O. Yeffet re:
                                        revisions to same (.3); confer with M.
                                        Smith re: potential avoidance target,
                                        review hot documents re: same, and
                                        determine next steps re: same (.6);
                                        draft memorandum re: potential
                                        avoidance action targets (3.8); confer
                                        with J. Palmerson re: Rule 2004
                                        discovery for use in evaluating
                                        potential avoidance action and
                                        conduct research re: same (.3).

03/08/23           NH2                  Document review and legal research                                                3.20            2,894.40
                                        to draft a memo on a target (3.2).

03/08/23           SS6                  Correspond with A. Alden re                                                       0.90                 886.95
                                        avoidance action memorandum (.1);
                                        revise avoidance action
                                        memorandum (.8).

03/08/23           APA                  Emails to and from N. Huh regarding                                               2.60            3,744.00
                                        legal research (0.1); review and revise
                                        memo regarding venture investment
                                        (1.5); review legal research regarding
                                        potential claims (1.0).

03/08/23           AN4                  Prepare memoranda re: avoidance                                                   1.70            1,269.90
                                        action analysis and circulate same
                                        (1.7).

03/08/23           MM2                  Reviewing and revising memoranda                                                  4.60            5,092.20
                                        re avoidance analysis target, and
                                        correspondence with A&M and
                                        investigator re same (4.6).

       los angeles | new york | san francisco | silicon valley | chicago | dc | london | mannheim | tokyo| hamburg | paris | munich
     sydney | hong kong | houston | brussels | seattle | zurich | shanghai | stuttgart | perth | boston | salt lake city | riyadh | berlin |
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03/08/23           MS1                  Review in connection with Venture                                                 9.40            7,021.80
                                        Book materials (9.4).

03/08/23           EK                   Correspond with QE team re: venture                                               0.40                 498.60
                                        book memoranda (0.4).

03/09/23           OBY                  Revise legal analysis on venture book                                             0.40                 361.80
                                        memo. (.4).

03/09/23           AK2                  Confer with M. Mandel re: venture                                                 7.80            9,477.00
                                        book avoidance action analysis, use
                                        of public reporting to support same,
                                        and determine next steps re: same
                                        (.2); confer with Alvarez and Marsal
                                        re: documents for use in supporting
                                        analysis of potential avoidance
                                        actions, conduct research re: same,
                                        and confer with S. Rand and A.
                                        Alden re: same (.4); revise draft
                                        memorandum on potential avoidance
                                        action and conduct research re: same
                                        (.3); draft memorandum on separate
                                        potential avoidance action, conduct
                                        factual research and review
                                        documents re: same (6.6); confer with
                                        FTI re: document review (.1); confer
                                        with O. Yeffet re: memorandum on
                                        potential avoidance action and
                                        determine next steps re: same (.2).

03/09/23           MM2                  Review and revise memo re potential                                               2.60            2,878.20
                                        avoidance claims (2.6).

03/09/23           NH2                  Call with A. Alden and A&M                                                        1.20            1,085.40
                                        regarding new information on a
                                        target (0.5), updated the memo based
                                        on the new information (0.7).

03/09/23           SS6                  Correspond with A. Alden re                                                       5.00            4,927.50
                                        avoidance diligence, memorandum
                                        (.1); revise memorandum re same
                                        (2.1); research issues re same (2.8).

03/09/23           APA                  Teleconference with Alvarez &                                                     1.10            1,584.00
                                        Marsal and N. Huh regarding token
                                        investment (0.5); emails to and from J.
                                        Shaffer and N. Huh regarding
                                        revisions to venture investment
                                        memo (0.1); revise venture

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     sydney | hong kong | houston | brussels | seattle | zurich | shanghai | stuttgart | perth | boston | salt lake city | riyadh | berlin |
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                                        investment memo (0.5).

03/09/23           AN4                  Document review regarding                                                         1.80            1,344.60
                                        avoidance action analysis (1.8).

03/09/23           MS1                  Review in connection with Venture                                                 4.70            3,510.90
                                        Book materials (4.7).

03/10/23           EK                   Review and revise memoranda re:                                                   4.50            5,609.25
                                        multiple venture book targets (2.6);
                                        correspond with team re: same (0.5);
                                        analyze documents and agreements
                                        relating to venture book targets (1.4).

03/10/23           MS1                  Review in connection with Venture                                                 1.40            1,045.80
                                        Book materials (1.4).

03/10/23           AK2                  Confer with I. Nesser re: status of                                               6.10            7,411.50
                                        memoranda on potential avoidance
                                        actions and conduct research re: same
                                        (.4); draft memorandum on potential
                                        avoidance action, conduct factual
                                        research and review documents re:
                                        same (4.9); confer with S. Rand re:
                                        potential avoidance actions (.1);
                                        confer with M. Smith re: avoidance
                                        action memorandum and next steps
                                        re: same (.1); confer with I. Nesser re:
                                        same (.1); conduct research re: token
                                        investment and next steps re: same
                                        and confer with S. Rand and J.
                                        Shaffer re: same (.4); confer with M.
                                        Smith re: avoidance action research
                                        and next steps re: same (.1).

03/10/23           MM2                  Review materials to assess potential                                              1.70            1,881.90
                                        avoidance claims re: ventures (0.7);
                                        prepare memo re potential avoidance
                                        claims (1.0).

03/10/23           NH2                  Discussion with S. Seneckzo with                                                  0.50                 452.25
                                        respect to a legal issue addressed on a
                                        memo on a target (0.5).

03/10/23           SS6                  Research issues re avoidance action,                                              5.40            5,321.70
                                        potential claims (1.9); correspond
                                        with M. Meadows, N. Huh re same
                                        (.3); revise memorandum re same
                                        (3.1); correspond with A. Alden re
                                        same (.1).
       los angeles | new york | san francisco | silicon valley | chicago | dc | london | mannheim | tokyo| hamburg | paris | munich
     sydney | hong kong | houston | brussels | seattle | zurich | shanghai | stuttgart | perth | boston | salt lake city | riyadh | berlin |
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03/10/23           APA                  Review and revise memo regarding                                                  1.70            2,448.00
                                        venture investment (0.6); review and
                                        revise memo regarding venture book
                                        target (1.1).

03/11/23           AK2                  Confer with M. Smith re: draft                                                    0.20                 243.00
                                        memorandum on potential avoidance
                                        action target (.2).

03/11/23           MS1                  Review in connection with Venture                                                 5.20            3,884.40
                                        Book materials (5.2).

03/12/23           EK                   Correspond with team re: A&M                                                      2.40            2,991.60
                                        analysis of venture book target (0.3);
                                        review and revise venture book
                                        memoranda (1.3); review and analyze
                                        documents and agreements relating
                                        to venture book analysis (0.8).

03/12/23           OBY                  Review edits to venture book analysis                                             0.20                 180.90
                                        claim. (.2).

03/12/23           MW2                  Draft memo re. Debtor investments                                                 1.50            1,120.50
                                        in VC fund (1.5).

03/12/23           MM2                  Preparing memo re potential                                                       2.10            2,324.70
                                        avoidance claims (2.1).

03/12/23           APA                  Review and revise memo regarding                                                  1.10            1,584.00
                                        venture book target (0.9); revise
                                        memo regarding token purchase per
                                        J. Shaffer edits (0.2).

03/13/23           AN4                  Document review for avoidance                                                     3.20            2,390.40
                                        action analysis (3.2).

03/13/23           EK                   Conference with QE team re: venture                                               1.30            1,620.45
                                        book analysis (0.2); correspond with
                                        team re: venture book analysis (0.5);
                                        review and revise memoranda re:
                                        venture book analysis (0.6).

03/13/23           OBY                  Call with venture book team                                                       0.40                 361.80
                                        regarding outstanding targets (.2);
                                        follow up call with M. Whittman
                                        regarding same (.2).

03/13/23           OBY                  Revise draft of venture book analysis;                                            2.00            1,809.00
                                        review documents relevant to claims.
                                        (2.0).

03/13/23           AK2                  Attend weekly team status meeting                                                 0.70                 850.50
       los angeles | new york | san francisco | silicon valley | chicago | dc | london | mannheim | tokyo| hamburg | paris | munich
     sydney | hong kong | houston | brussels | seattle | zurich | shanghai | stuttgart | perth | boston | salt lake city | riyadh | berlin |
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                                        (.6); confer with Sara Turk re: results
                                        of same (.1).

03/13/23           AK2                  Confer with Connie Kim re:                                                        3.90            4,738.50
                                        memoranda on potential avoidance
                                        actions and conduct research re: same
                                        (.2); confer with I. Nesser re: status of
                                        avoidance action analysis and
                                        conduct research re: same, confer
                                        with E. Kapur re: same (.6); confer
                                        with S. Turk re: avoidance action
                                        memorandum (.1); conduct research
                                        re: additional potential avoidance
                                        action targets (.3); confer with team
                                        re: final drafts of same (.1); draft and
                                        revise memoranda on potential
                                        avoidance actions (2.6).

03/13/23           MW2                  Draft memo re. Debtor investments                                                 6.00            4,482.00
                                        in venture fund (4.8); team call re.
                                        venture book investments (.2); call
                                        with O. Yeffet re. venture book and
                                        searches for documents (.2); analyze
                                        Debtors' total investments in Series B
                                        capital raise for outside venture (.8).

03/13/23           MS1                  Review in connection with Venture                                                 9.60            7,171.20
                                        Book materials (9.6).

03/13/23           MM2                  Preparing memoranda re avoidance                                                  0.70                 774.90
                                        action venture target (0.7).

03/13/23           SS6                  Correspond with A. Alden re                                                       3.80            3,744.90
                                        avoidance action, claims
                                        memorandum (.1); revise same (3.7).

03/13/23           CK                   Compile final venture book memos                                                  1.00                 432.00
                                        and prepare binders of same (1.0).

03/14/23           MW2                  Draft memo re. Debtor investment in                                               6.30            4,706.10
                                        venture fund (4.8); research
                                        valuations of investments by venture
                                        fund (1.5).

03/14/23           EK                   Correspond with J. Reed re: venture                                               0.70                 872.55
                                        book analysis (0.2); review and revise
                                        venture book memoranda and
                                        correspond with QE team re: same
                                        (0.5).

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     sydney | hong kong | houston | brussels | seattle | zurich | shanghai | stuttgart | perth | boston | salt lake city | riyadh | berlin |
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03/14/23           AN4                  Document review for avoidance                                                     3.30            2,465.10
                                        action analysis (3.3).

03/14/23           OBY                  Review and analyze documents for                                                  2.70            2,442.15
                                        venture book analysis. (2.7).

03/14/23           AK2                  Draft and revise memoranda on                                                     4.20            5,103.00
                                        potential avoidance actions, confer
                                        with I. Nesser re: same, and confer
                                        with M. Smith re: same (3.3); confer
                                        with O. Yeffet and I. Nesser re:
                                        revisions to avoidance action
                                        memorandum and conduct research
                                        re: same (.2); confer with I. Nesser re:
                                        status of avoidance action analysis
                                        and conduct research re: next steps
                                        re: same (.3); review and analyze
                                        updated data from Alvarez and
                                        Marsal on venture investments and
                                        assess need for additional avoidance
                                        action research (.2); review and revise
                                        draft memorandum on potential
                                        avoidance action (.2).

03/14/23           OBY                  Targeted document searches related                                                1.70            1,537.65
                                        to venture book target; incorporate
                                        edits on venture book analysis. (1.7).

03/14/23           MM2                  Preparing memoranda re avoidance                                                  5.50            6,088.50
                                        action venture target (4); analyzing
                                        documents re avoidance action
                                        venture target (1.5).

03/14/23           NH2                  Discussed individuals involved in                                                 0.70                 633.15
                                        venture deals with M. Meadow and
                                        collected related documents to share
                                        (0.7).

03/14/23           SS6                  Correspond with M. Meadows, N.                                                    3.40            3,350.70
                                        Huh re avoidance action issues (.3);
                                        review materials re same (.2); revise
                                        avoidance action memorandum (2.8);
                                        correspond with A. Alden re same
                                        (.1).

03/15/23           EK                   Review and revise memoranda re:                                                   1.80            2,243.70
                                        venture book targets (1.8).

03/15/23           MW2                  Draft and edit draft of memo re.                                                  6.50            4,855.50
                                        venture book (1.5); research case law
       los angeles | new york | san francisco | silicon valley | chicago | dc | london | mannheim | tokyo| hamburg | paris | munich
     sydney | hong kong | houston | brussels | seattle | zurich | shanghai | stuttgart | perth | boston | salt lake city | riyadh | berlin |
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                                        on fraudulent transfers and
                                        "reasonably equivalent value"; (2);
                                        analyze venture fund's financial
                                        statements and prepare spreadsheet
                                        analyzing valuations of investments
                                        (3).

03/15/23           AN4                  Document review for avoidance                                                     5.50            4,108.50
                                        action analysis (5.5).

03/15/23           AK2                  Confer with S. Rand re: bank records                                              4.60            5,589.00
                                        and assess potential use of same in
                                        avoidance action analysis (.2); confer
                                        with J. Bandes and J. Liao re: review
                                        of documents for evaluation of
                                        potential avoidance actions and next
                                        steps re: same, analyze next steps re:
                                        same, and confer with S. Rand and J.
                                        Shaffer re: same (.2); analyze impact
                                        of Rule 2004 discovery on venture
                                        book avoidance action analysis and
                                        determine next steps re: same (.3);
                                        revise draft memorandum on
                                        potential avoidance action, conduct
                                        research and review documents re:
                                        same, and confer with I. Nesser and
                                        FTI re: same (3.9).

03/15/23           OBY                  Analyze documents for venture book                                                2.00            1,809.00
                                        analysis. (2.0).

03/15/23           OBY                  Revise drafts of venture book                                                     1.10                 994.95
                                        analysis. (1.1).

03/15/23           MM2                  Reviewing and revising memoranda                                                  2.10            2,324.70
                                        re avoidance action venture target
                                        (2.1).

03/15/23           NH2                  Discussion with S. Seneckzo and M.                                                0.90                 814.05
                                        Meadows regrading a legal issue
                                        (0.4), located and shared documents
                                        relating to an investigation target
                                        (0.5).

03/15/23           SS6                  Correspond with A. Alden re                                                       3.20            3,153.60
                                        avoidance action claims (.3); revise
                                        memorandum re same (2.9).

03/15/23           APA                  Emails to and from S. Seneczko                                                    2.40            3,456.00
                                        regarding memo on venture
       los angeles | new york | san francisco | silicon valley | chicago | dc | london | mannheim | tokyo| hamburg | paris | munich
     sydney | hong kong | houston | brussels | seattle | zurich | shanghai | stuttgart | perth | boston | salt lake city | riyadh | berlin |
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                                        investment (0.1); review agreements
                                        regarding token purchase (1.0);
                                        review and revise memo regarding
                                        same (1.3).

03/16/23           EK                   Call with Alvarez and Marsal and                                                  1.90            2,368.35
                                        team re: analyzing valuation for
                                        venture fund (0.6); call with J. Shaffer
                                        and M. Wittmann re: preferential
                                        transfers and “reasonably equivalent
                                        value” analysis. (0.5); review and
                                        revise venture book memoranda
                                        (0.5); legal research in connection
                                        with venture book analysis (0.3).

03/16/23           MW2                  Call with J. Shaffer and E. Kapur re.                                             5.20            3,884.40
                                        preferential transfers and "reasonably
                                        equivalent value" analysis (.5); call
                                        with A&M and team re. analyzing
                                        valuation for venture fund (.6);
                                        analyze public data re. valuation of
                                        various tokens that were invested by
                                        venture fund (2); draft memo
                                        analyzing potential avoidance claim
                                        based on preference and/or
                                        fraudulent transfer (2.1).

03/16/23           AN4                  Document review for avoidance                                                     4.20            3,137.40
                                        action analysis (4.2).

03/16/23           AK2                  Draft communication to B. Burck, S.                                               3.40            4,131.00
                                        Rand, and K. Lemire re: former
                                        avoidance action targets (.3); confer
                                        with I. Nesser re: avoidance action
                                        memoranda (.1); confer with Sullivan
                                        and Cromwell and A. Alden re:
                                        Perella Weinberg analysis of
                                        monetization opportunities for
                                        potential avoidance actions, review
                                        and analyze presentations re: same,
                                        and assess next steps re: same (.4);
                                        revise draft memoranda on potential
                                        avoidance actions, conduct research,
                                        and review documents re: same (2.6).

03/16/23           OBY                  Revisions to venture book memo.                                                   0.50                 452.25
                                        (.5).

03/16/23           OBY                  Meeting with A&M and team re:                                                     0.60                 542.70
       los angeles | new york | san francisco | silicon valley | chicago | dc | london | mannheim | tokyo| hamburg | paris | munich
     sydney | hong kong | houston | brussels | seattle | zurich | shanghai | stuttgart | perth | boston | salt lake city | riyadh | berlin |
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                                        analyzing valuation for venture fund.
                                        (.6).

03/16/23           NH2                  Drafted a memo on a target,                                                       3.80            3,437.10
                                        addressed A. Alden's comments, and
                                        added facts and analysis (3.8).

03/16/23           KJS                  Research re fraudulent transfer                                                   0.40                 766.80
                                        claims and prepare correspondence
                                        re same (0.4).

03/16/23           KJS                  Call with E. Kapur and M. Wittmann                                                0.50                 958.50
                                        re. preferential transfers and
                                        “reasonably equivalent value”
                                        analysis. (0.5).

03/16/23           SS6                  Revise avoidance diligence                                                        2.90            2,857.95
                                        memorandum (2.8); correspond with
                                        A. Alden re same (.1).

03/16/23           APA                  Review and revise memo regarding                                                  2.10            3,024.00
                                        token purchase (1.8); research
                                        regarding purchase token (0.3).

03/17/23           AK2                  Analyze status of potential avoidance                                             5.80            7,047.00
                                        actions re: token investments (.3);
                                        review and analyze revised drafts of
                                        memoranda on potential avoidance
                                        actions (.4); revise draft memoranda
                                        on potential avoidance actions,
                                        conduct research re: same, and confer
                                        with I. Nesser re: same (5.1).

03/17/23           MW2                  Review and edit draft memo re                                                     1.00                 747.00
                                        potential avoidance action (.8);
                                        correspond with A&M re. document
                                        recovery from investor portal (.2).

03/17/23           AN4                  Document review for avoidance                                                     7.00            5,229.00
                                        action analysis (7.0).

03/17/23           EK                   Review factual analysis of venture                                                1.00            1,246.50
                                        target and correspond with M.
                                        Wittmann re: integration into legal
                                        analysis (0.4); review and revise
                                        venture book memoranda (0.6).

03/17/23           NH2                  Drafted a section on the memo                                                     3.40            3,075.30
                                        related to a new legal issue (2.5),
                                        confirmed facts and communication
                                        with A&M (0.9).
       los angeles | new york | san francisco | silicon valley | chicago | dc | london | mannheim | tokyo| hamburg | paris | munich
     sydney | hong kong | houston | brussels | seattle | zurich | shanghai | stuttgart | perth | boston | salt lake city | riyadh | berlin |
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03/17/23           SS6                  Correspond with A. Alden re                                                       2.80            2,759.40
                                        avoidance action memorandum (.1):
                                        revise same (2.3); correspond with A.
                                        Canale, A&M team, QE team re same
                                        (.1); review materials re same (.3).

03/17/23           SS6                  Correspond with N. Huh re                                                         0.30                 295.65
                                        avoidance action memorandum,
                                        research (.3).

03/17/23           APA                  Review and revise memo regarding                                                  1.50            2,160.00
                                        venture investment and emails to and
                                        from S. Seneczko regarding same
                                        (1.3); review documents regarding
                                        venture investment (0.2).

03/20/23           AK2                  Confer with Sullivan and Cromwell                                                 5.40            6,561.00
                                        re: avoidance action analysis and
                                        memorandum re: same for
                                        investment under consideration for
                                        monetization (.1); confer with I.
                                        Nesser re: status of memoranda on
                                        avoidance action analyses, conduct
                                        research re: same, confer with E.
                                        Kapur, E. Sutton, and A. Alden re:
                                        same, and confer with S. Rand and J.
                                        Shaffer re: same (1.4); confer with
                                        Alvarez and Marsal re: analysis of
                                        value of avoidance action target,
                                        determine next steps re: same, and
                                        confer with I. Nesser re: same (.5);
                                        confer with M. Smith and S. Turk re:
                                        research on avoidance action target
                                        and upcoming call re: same (.3);
                                        confer with Alvarez and Marsal re:
                                        upcoming call on analysis of
                                        potential avoidance actions and
                                        attend same (.6); revise draft
                                        memorandum on potential avoidance
                                        action target and determine next
                                        steps re: same (.8); confer with M.
                                        Smith and S. Turk re: status of
                                        avoidance action analysis and next
                                        steps re: same (1.2); analyze status of
                                        monetization efforts and impact on
                                        venture book analysis and confer
                                        with team re: same (.3); confer with
                                        O. Yeffet and S. Hill re: use of Rule
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     sydney | hong kong | houston | brussels | seattle | zurich | shanghai | stuttgart | perth | boston | salt lake city | riyadh | berlin |
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                                        2004 discovery in support of
                                        avoidance actions and other litigation
                                        related to venture book analysis and
                                        determine next steps re: same (.2).

03/20/23           OBY                  Correspondence with E. Kapur on                                                   0.20                 180.90
                                        venture book memo; correspondence
                                        with A&M on same. (.2).

03/20/23           AN4                  Document review for avoidance                                                     7.00            5,229.00
                                        action analysis (7.0).

03/20/23           MS1                  Analyze documents re: Venture Book                                                1.30                 971.10
                                        review (1.3).

03/20/23           MW2                  Draft memo re. Debtor investment in                                               1.50            1,120.50
                                        crypto-related business for purposes
                                        of potential avoidance (1.5).

03/20/23           EK                   Correspond with Alvarez & Marsal                                                  6.60            8,226.90
                                        re: review and analysis of venture
                                        book memoranda (0.2); review and
                                        revise venture book memoranda
                                        (3.6); review and analyze factual
                                        record in connection with venture
                                        book analyses (1.8); correspond with
                                        team re: venture book management
                                        and strategy (0.4); review and
                                        address legal research in connection
                                        with venture book analysis (0.6).

03/20/23           NH2                  Legal research related to a memo on a                                             2.00            1,809.00
                                        target (0.9), addressed A. Alden's
                                        comments throughout and shared for
                                        the team's review (1.1).

03/20/23           SS6                  Correspond with A. Canale re                                                      0.50                 492.75
                                        diligence memorandum comments
                                        (.2); review same (.3).

03/20/23           APA                  Emails to and from A. Kutscher                                                    1.30            1,872.00
                                        regarding venture book memos (0.1);
                                        review and revise memo regarding
                                        token purchase (1.2).

03/20/23           ST4                  Conference call regarding approach                                                0.60                 542.70
                                        to avoidance analysis for transactions
                                        (.6).

03/21/23           AK2                  Confer with I. Nesser and C. Kim re:                                              0.70                 850.50
                                        memoranda on potential avoidance
       los angeles | new york | san francisco | silicon valley | chicago | dc | london | mannheim | tokyo| hamburg | paris | munich
     sydney | hong kong | houston | brussels | seattle | zurich | shanghai | stuttgart | perth | boston | salt lake city | riyadh | berlin |
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                                        actions and determine next steps re:
                                        same (.3); draft memorandum on
                                        potential avoidance action (.4).

03/21/23           OBY                  Revise venture book memo;                                                         0.90                 814.05
                                        correspondence with M. Whittman
                                        and J. Reed on same. (.9).

03/21/23           EK                   Correspond with team re: venture                                                  2.50            3,116.25
                                        book memoranda (0.4); review and
                                        revise venture book memoranda
                                        (1.6); attend to impact of Bahamas
                                        complaint on venture book analyses
                                        (0.3); correspond with Alvarez &
                                        Marsal re: venture book analysis
                                        (0.2).

03/21/23           MW2                  Edit and draft memo based on                                                      2.40            1,792.80
                                        updated information from A&M and
                                        outside adviser re. investment in
                                        crypto venture fund (2.2); correspond
                                        with J. Reed re. investment in crypto
                                        related business (.2).

03/21/23           MS1                  Review in connection with Venture                                                 3.10            2,315.70
                                        Book materials (3.1).

03/21/23           AN4                  Prepare memorandum regarding                                                      5.50            4,108.50
                                        avoidance action analysis (5.5).

03/21/23           MM2                  Preparing memoranda re avoidance                                                  1.30            1,439.10
                                        action venture target (0.9); research
                                        regarding avoidance action claims
                                        against potential target (0.4).

03/21/23           SS6                  Correspond with A. Alden re                                                       1.00                 985.50
                                        avoidance memorandum (.1); revise
                                        same (.8); correspond with J. Shaffer,
                                        QE team re same (.1).

03/21/23           APA                  Review latest PWP presentation on                                                 1.90            2,736.00
                                        venture investments (0.2); review and
                                        revise memo regarding venture
                                        investment (0.6); review and revise
                                        memo regarding venture investment
                                        (1.1).

03/22/23           AK2                  Analyze status of venture book                                                    5.40            6,561.00
                                        investment analysis and potential
                                        avoidance actions on same and confer

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     sydney | hong kong | houston | brussels | seattle | zurich | shanghai | stuttgart | perth | boston | salt lake city | riyadh | berlin |
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                                        with I. Nesser and J. Shaffer re: status
                                        of same (.9); confer with Alvarez and
                                        Marsal re: third party investment in
                                        target of potential avoidance action
                                        (.1); confer with I. Nesser, S.
                                        Seneczko, and J. Shaffer re: revisions
                                        to draft avoidance action analysis
                                        memoranda (.6); confer with I. Nesser
                                        and J. Shaffer re: avoidance action
                                        analysis next steps (.7); revise draft
                                        memoranda on potential avoidance
                                        actions and confer with I. Nesser, O.
                                        Yeffet, J. Reed, S. Seneczko, T.
                                        Sharma, and M. Wittman re: same
                                        (1.5); confer with I. Nesser re:
                                        monetization efforts and impact on
                                        potential suit, and determine next
                                        steps re: same (1.1); attend call with I.
                                        Nesser and Sullivan and Cromwell
                                        re: same (.3); confer with J. Shaffer, A.
                                        Alden, and E. Kapur re: document
                                        provided by Venture book
                                        investments to from Alvarez and
                                        Marsal, Perella, and Sullivan and
                                        Cromwell (.3); confer with C. Kim re:
                                        same (.1); confer with M. Smith and
                                        S. Turk re: document review re:
                                        potential avoidance action, evaluate
                                        status of same, and determine next
                                        steps re: same (.3); review and
                                        analyze monetization prioritization
                                        list, determine impact of same on
                                        avoidance action analyses, and confer
                                        with team re: same (.2).

03/22/23           MM2                  Preparing memoranda re avoidance                                                  3.40            3,763.80
                                        action venture target (3.4).

03/22/23           OBY                  Draft memo and conduct legal                                                      3.40            3,075.30
                                        research on reasonably equivalent
                                        value for purposes of asset recovery.
                                        (3.4).

03/22/23           OBY                  Revise venture book memo;                                                         0.70                 633.15
                                        correspondence with A. Kutscher on
                                        same. (.7).

03/22/23           AN4                  Prepare memorandum re: avoidance                                                  3.00            2,241.00
       los angeles | new york | san francisco | silicon valley | chicago | dc | london | mannheim | tokyo| hamburg | paris | munich
     sydney | hong kong | houston | brussels | seattle | zurich | shanghai | stuttgart | perth | boston | salt lake city | riyadh | berlin |
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                                        action analysis (3.0).

03/22/23           EK                   Conference with I. Nesser re: venture                                             4.80            5,983.20
                                        book analysis (0.4); conference with
                                        M. Wittmann re: venture book
                                        analysis (0.1); conference with J.
                                        Shaffer, A. Kutscher, and A. Alden re:
                                        venture book coordination (0.3);
                                        correspond and conference with BVI
                                        counsel re: venture book analysis
                                        (0.4); legal and factual research in
                                        connection with venture book
                                        analysis (1.3); review and revise
                                        venture book memoranda (1.8);
                                        correspond with Alvarez & Marsal re:
                                        venture book analysis (0.2); attention
                                        to new legal decision regarding
                                        foreign Rule 2004 efforts and impact
                                        on venture analysis (0.3).

03/22/23           MS1                  Review in connection with Venture                                                 5.30            3,959.10
                                        Book Materials (5.3).

03/22/23           MW2                  Review background check                                                           4.40            3,286.80
                                        information provided by outside
                                        adviser (.7); analyze and review
                                        financial analysis provided by A&M
                                        for use in valuation of Debtor
                                        investment (.7); edit and revise memo
                                        based on information from outside
                                        advisers (3).

03/22/23           NH2                  Review of document and confirm                                                    1.20            1,085.40
                                        facts related to a memo on a target
                                        (1.2).

03/22/23           NH2                  Integrated the team's edits and                                                   0.90                 814.05
                                        finalized a memo on a target (0.9).

03/22/23           APA                  Email to N. Huh, S. Seneczko and M.                                               1.30            1,872.00
                                        Meadows regarding venture memos
                                        (0.1); review and revise memo
                                        regarding token purchase and emails
                                        to and from N. Huh regarding same
                                        (1.2).

03/22/23           SS6                  Correspond with I. Nesser re                                                      3.40            3,350.70
                                        avoidance memorandum comments
                                        (.1); revise same (.5); correspond with

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     sydney | hong kong | houston | brussels | seattle | zurich | shanghai | stuttgart | perth | boston | salt lake city | riyadh | berlin |
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                                        QE team re same (.1); correspond
                                        with A. Alden, QE team re avoidance
                                        action diligence items (.2); analyze
                                        same (2.3); correspond with A. Alden
                                        re avoidance jurisdiction research,
                                        issues (.2).

03/23/23           AK2                  Draft memoranda on potential                                                      9.40          11,421.00
                                        avoidance actions and conduct
                                        research re: same (6.8); confer with I.
                                        Nesser re: potential avoidance action
                                        targets and conduct research re: same
                                        (.3); confer with FTI re: venture
                                        analysis and avoidance action
                                        document review (.1); confer with
                                        Alvarez and Marsal re: upcoming call
                                        re: ventures avoidance analysis and
                                        attend same (.4); confer with I. Nesser
                                        and C. Kim re: final memoranda on
                                        avoidance action evaluation and
                                        analysis and review same (.2); review
                                        and analyze Perella presentation on
                                        monetization efforts, assess impact of
                                        same on avoidance action analysis
                                        and prioritization, confer with team
                                        re: same, and confer with I. Nesser re:
                                        next steps re: same (.8); attend call
                                        with Alvarez and Marsal, Perella, and
                                        Sullivan and Cromwell re:
                                        coordination on token investments
                                        and other monetization efforts (.4);
                                        confer with I. Nesser re: status of
                                        draft memoranda on avoidance
                                        actions and next steps re: same (.4).

03/23/23           MM2                  Reviewing and revising memoranda                                                  1.20            1,328.40
                                        re avoidance action venture targets
                                        (1.2).

03/23/23           MW2                  Research case law re. timing of                                                   4.50            3,361.50
                                        transfer for commitments to fund in
                                        the future for purposes of fraudulent
                                        transfers (2); review bankruptcy
                                        opinion re. subpoena of U.S. citizens
                                        living abroad (.5); revise venture
                                        book memo based on research (2).

03/23/23           MS1                  Review in connection with Venture                                                 4.20            3,137.40
       los angeles | new york | san francisco | silicon valley | chicago | dc | london | mannheim | tokyo| hamburg | paris | munich
     sydney | hong kong | houston | brussels | seattle | zurich | shanghai | stuttgart | perth | boston | salt lake city | riyadh | berlin |
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                                        Book materials (4.2).

03/23/23           NH2                  Call with A&M to discuss the facts                                                0.30                 271.35
                                        related to a venture deal (0.3).

03/23/23           NH2                  Legal research and added cites to a                                               0.80                 723.60
                                        memo on a venture deal (0.8).

03/23/23           EK                   Conference with Alvarez & Marsal                                                  1.00            1,246.50
                                        and PwP re: venture book work (0.4);
                                        conference with I. Nesser re: venture
                                        book analysis (0.1); correspondence
                                        with Alvarez & Marsal re: venture
                                        book analyses (0.3); correspondence
                                        with Walkers re: BVI law analysis in
                                        connection with venture book (0.2).

03/23/23           AN4                  Prepare memorandum regarding                                                      6.50            4,855.50
                                        avoidance action analysis (6.5).

03/23/23           APA                  Emails to and from Alvarez and                                                    2.10            3,024.00
                                        Marsal and N. Huh regarding token
                                        purchase (0.1); teleconference with N.
                                        Huh and Alvarez and Marsal
                                        regarding token purchases (0.3);
                                        review and revise memos regarding
                                        token purchases (1.7).

03/24/23           AK2                  Draft memorandum on potential                                                     4.50            5,467.50
                                        avoidance action and confer with I.
                                        Nesser re: same (1.9); confer with A.
                                        Nelson re: revisions to draft
                                        memorandum on potential avoidance
                                        action (.1); confer with Alvarez and
                                        Marsal re: draft memoranda on
                                        avoidance actions (.2); conduct
                                        research and determine next steps re:
                                        draft memoranda on avoidance
                                        action analyses (.7); review and revise
                                        memorandum on potential avoidance
                                        action (.7); confer with I. Nesser re:
                                        monetization efforts and
                                        coordination re: same and conduct
                                        research re: same (.2); confer with
                                        team re: pending avoidance action
                                        memoranda (.2); confer with C. Kim
                                        and I. Nesser re: final memorandum
                                        on avoidance action analysis (.5).


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     sydney | hong kong | houston | brussels | seattle | zurich | shanghai | stuttgart | perth | boston | salt lake city | riyadh | berlin |
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03/24/23           NH2                  Finalized a memo on a venture deal                                                0.50                 452.25
                                        and circulate (0.5).

03/24/23           EK                   Correspondence with team and                                                      0.80                 997.20
                                        Alvarez & Marsal re: venture memo
                                        review (0.4); review and revise
                                        venture book memoranda (0.4).

03/24/23           MS1                  Review in connection with Venture                                                 4.20            3,137.40
                                        Book materials (4.2).

03/24/23           MW2                  Edit venture book memo for                                                        0.20                 149.40
                                        uniformity (.1); review venture book
                                        memo re. investment in crypto bank
                                        (.1).

03/24/23           AN4                  Confer via email with E. Winston and                                              6.50            4,855.50
                                        AS regarding avoidance action
                                        analysis memo revisions (.4);
                                        document review for avoidance
                                        action analysis (6.10).

03/24/23           APA                  Emails to and from A. Kutscher, I.                                                1.40            2,016.00
                                        Nesser and N. Huh regarding memo
                                        regarding token purchase (0.2);
                                        emails to and from Alvarez and
                                        Marsal and K. Lemire regarding call
                                        (0.1); review and revise memo
                                        regarding token exchange (1.1).

03/25/23           MM2                  Reviewing and revising memoranda                                                  0.30                 332.10
                                        re potential avoidance claims (0.3).

03/25/23           EK                   Review and revise venture book                                                    0.90            1,121.85
                                        memorandum (0.7); correspondence
                                        with team re: venture book
                                        memoranda (0.2).

03/26/23           MM2                  Reviewing and revising memoranda                                                  1.80            1,992.60
                                        re potential venture fund avoidance
                                        claims (1.8).

03/26/23           MS1                  Review in connection with Venture                                                 2.80            2,091.60
                                        Book materials (2.8).

03/26/23           OBY                  Revise legal claims analysis for                                                  0.80                 723.60
                                        venture book target. (.8).

03/26/23           APA                  Attention to emails from E. Winston                                               0.50                 720.00
                                        and S. Rand regarding fraudulent
                                        transfer claims (0.2); attention to

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                                        emails from PMP, S&C and I. Nesser
                                        regarding venture review (0.2);
                                        emails to and from M. Meadows
                                        regarding token purchase memo
                                        (0.1).

03/27/23           AK2                  Confer with S. Rand, E. Kapur, A.                                                 4.90            5,953.50
                                        Alden, J. Reed, and N. Huh re:
                                        revisions to draft avoidance action
                                        memoranda (.1); conduct research re:
                                        status of same and confer with M.
                                        Smith and I. Nesser re: same (.9);
                                        conduct research re: potential
                                        avoidance actions (3.2); conduct
                                        research re: monetization efforts and
                                        coordination re: same and confer
                                        with C. Kim, K. Flynn, and I. Nesser
                                        re: same re: same (.6); confer with S.
                                        Hill re: overlap between 2004
                                        discovery requests and potential
                                        avoidance actions (.1).

03/27/23           MM2                  Preparing memo re avoidance action                                                0.20                 221.40
                                        venture target (0.2).

03/27/23           MS1                  Review in connection with Venture                                                 7.30            5,453.10
                                        Book materials (7.3).

03/27/23           EK                   Review and revise venture book                                                    2.40            2,991.60
                                        memorandum, and conduct factual
                                        research in connection with same
                                        (1.4); correspondence with team re:
                                        venture book memoranda revisions
                                        (0.2); correspondence with Alvarez &
                                        Marsal re: marketing of venture book
                                        interests (0.3); review and revise
                                        venture book memoranda and
                                        correspondence with QE team re:
                                        same (0.5).

03/27/23           MW2                  Review documents and memo re.                                                     0.20                 149.40
                                        investment in crypto cold storage
                                        company (.2).

03/27/23           OBY                  Review analysis of jurisdiction issues                                            0.70                 633.15
                                        across 2004 requests. (.7).

03/27/23           OBY                  Analyze documents for venture book                                                0.40                 361.80
                                        target; draft email to J. Reed and M.

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     sydney | hong kong | houston | brussels | seattle | zurich | shanghai | stuttgart | perth | boston | salt lake city | riyadh | berlin |
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                                        Wittmann on same. (.4).

03/27/23           AN4                  Document review for avoidance                                                     8.00            5,976.00
                                        action analysis (8.0).

03/27/23           APA                  Emails to and from A. Kutscher and                                                0.70            1,008.00
                                        N. Huh regarding memo on token
                                        purchase (0.4); attend weekly call
                                        with QE team regarding status and
                                        tasks (0.2); email to J. Shaffer
                                        regarding right to assign (0.1).

03/27/23           ST4                  Review electronic documents related                                               5.20            4,703.40
                                        to venture book transaction for
                                        strategic assessment of claims (3.7);
                                        review and revise chronology of
                                        events related to venture book
                                        transaction and emails to M. Scheck
                                        regarding strategic approach to
                                        chronology (1.5).

03/28/23           AK2                  Conduct research re: monetization                                                 3.00            3,645.00
                                        efforts and coordination re: same and
                                        confer with C. Kim re: same (.4);
                                        confer with Alvarez and Marsal re:
                                        draft memoranda on potential
                                        avoidance actions and potential
                                        revisions to same (.1); conduct
                                        research re: status of memoranda on
                                        potential avoidance actions and
                                        confer with I. Nesser, C. Kim, and A.
                                        Alden re: same (.3); conduct research
                                        re: potential avoidance action (1.8);
                                        confer with M. Smith re: next steps re:
                                        potential avoidance action and
                                        research into same (.1); review
                                        revised draft of memorandum on
                                        potential avoidance action (.3).

03/28/23           MS1                  Review in connection with Venture                                                 6.60            4,930.20
                                        Book materials (6.6).

03/28/23           MW2                  Review documents related to                                                       2.90            2,166.30
                                        investment in cold storage
                                        investment (1.6); revise draft memo
                                        re. debtor investment in crypto
                                        venture fund based on analysis by
                                        A&M (1.3).


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03/28/23           AN4                  Document review for avoidance                                                     2.20            1,643.40
                                        action analysis (2.2).

03/28/23           OBY                  Correspondence with E. Kapur on                                                   0.10                  90.45
                                        venture book target. (.1).

03/28/23           EK                   Correspondence with MW and O.                                                     0.20                 249.30
                                        Yeffet re: venture book analysis (0.2).

03/28/23           APA                  Review and revise memo regarding                                                  0.30                 432.00
                                        token purchase (0.3).

03/28/23           ST4                  Review electronic documents related                                               2.80            2,532.60
                                        to venture book transaction for
                                        strategic assessment of claims (2);
                                        review and revise chronology of
                                        events related to venture book
                                        transaction and emails to M. Scheck
                                        regarding strategic approach to
                                        chronology (.8).

03/29/23           AK2                  Confer with K. Lemire and I. Nesser                                               0.60                 729.00
                                        re: evaluation of potential avoidance
                                        action (.1); review and analyze draft
                                        tear sheets on potential avoidance
                                        actions and confer with I. Nesser and
                                        S. Rand re: same (.3); conduct
                                        research re: status of memoranda on
                                        potential avoidance actions (.1);
                                        confer with M. Smith and S. Turk re:
                                        research into potential avoidance
                                        action and next steps re: same (.1).

03/29/23           MM2                  Reviewing and revising memoranda                                                  2.80            3,099.60
                                        re avoidance action venture target
                                        (2.8).

03/29/23           MS1                  Review in connection with Venture                                                 2.00            1,494.00
                                        Book materials (2).

03/29/23           EK                   Conference with O. Yeffet re: venture                                             0.50                 623.25
                                        book analysis (0.1); review and revise
                                        venture book memoranda (0.4).

03/29/23           OBY                  Analyze documents related to                                                      2.90            2,623.05
                                        venture book target (1.5); revise
                                        venture book memo (1.3); call with E.
                                        Kapur on same (.1). (2.90).

03/29/23           AN4                  Confer with S. Hill and E. Winston                                                4.30            3,212.10
                                        via email regarding avoidance action
       los angeles | new york | san francisco | silicon valley | chicago | dc | london | mannheim | tokyo| hamburg | paris | munich
     sydney | hong kong | houston | brussels | seattle | zurich | shanghai | stuttgart | perth | boston | salt lake city | riyadh | berlin |
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                                        analysis (.8); document review for
                                        avoidance action analysis (3.5).

03/29/23           APA                  Review and revise memo regarding                                                  1.80            2,592.00
                                        token purchase and emails to and
                                        from Alvarez and Marsal regarding
                                        same (1.7); emails to and from M.
                                        Meadows regarding venture book
                                        memo (0.1).

03/30/23           AK2                  Confer with I. Nesser and B. Burck re:                                            2.50            3,037.50
                                        upcoming call on venture book
                                        avoidance action analyses, status of
                                        same, results of same, and next steps
                                        re: same (.2); confer with M. Smith re:
                                        potential avoidance action, status of
                                        research into same, and next steps re:
                                        same (.8); conduct research re:
                                        monetization efforts and
                                        coordination re: same, confer with
                                        Connie Kim re: same, and attend call
                                        with Alvarez and Marsal and Perella
                                        re: same (.4); confer with Ellie Sutton
                                        re: token delivery and status of
                                        avoidance action analysis re: same
                                        (.2); review and analyze draft Alvarez
                                        and Marsal tear sheets on potential
                                        avoidance actions, confer with team
                                        re: same, and confer with Alvarez
                                        and Marsal re: same (.4); conduct
                                        research re: status of avoidance action
                                        analysis (.2); determine next steps re:
                                        venture investments and potential
                                        avoidance actions re: same and confer
                                        with S. Rand, J. Shaffer, and I. Nesser
                                        re: same (.3).

03/30/23           MM2                  Reviewing and revising memoranda                                                  5.10            5,645.70
                                        re avoidance action venture target
                                        (3.3); finalizing memoranda re
                                        avoidance action venture target (1.8).

03/30/23           MM2                  Teleconference with A&M re                                                        0.50                 553.50
                                        potential avoidance action venture
                                        target (0.5).

03/30/23           MW2                  Call with E. Kapur and A&M re.                                                    3.20            2,390.40
                                        evaluating debtor investment in

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                                        venture fund (.8); integrate feedback
                                        from A&M and E. Kapur into memo
                                        re. debtors' investments (2.4).

03/30/23           MS1                  Call to discuss Venture Book review                                               2.90            2,166.30
                                        (.5); review in connection with
                                        Venture Book materials (2.4).

03/30/23           OBY                  Revise venture book memo (.3); call                                               0.80                 723.60
                                        with A&M on venture book target
                                        (.2); conference with E. Kapur on
                                        same (.1); review A&M work product
                                        (.2).

03/30/23           EK                   Conference with Alvarez and Marsal                                                1.70            2,119.05
                                        re: evaluation of venture investment
                                        (0.8); review and revise memoranda
                                        re: venture investments (0.3);
                                        correspondence with M. Wittmann
                                        re: venture book analysis (0.1);
                                        correspondence with A. Kutscher and
                                        I. Nesser re: venture book
                                        memoranda (0.2); correspondence
                                        with Alvarez and Marsal and QE
                                        team re: tear sheet work (0.3).

03/30/23           AN4                  Document review for avoidance                                                     3.20            2,390.40
                                        action analysis (3.2).

03/30/23           APA                  Review and revise team sheets to J.                                               2.70            3,888.00
                                        Ray (1.2); review and revise memo
                                        regarding equity investment (1.5).

03/30/23           SS6                  Correspond with M. Meadows re                                                     0.20                 197.10
                                        venture book review, analysis (.2).

03/31/23           AK2                  Determine next steps re: venture                                                  8.10            9,841.50
                                        investments and potential avoidance
                                        actions re: same, conduct research re:
                                        same, and confer with Alvarez and
                                        Marsal re: same (1.3); conduct
                                        research and confer with I. Nesser, J.
                                        Palmerson, A. Nelson, and A. Sutton
                                        re: status of avoidance action research
                                        and memoranda re: same (1.8); confer
                                        with team re: disclaimer for
                                        avoidance action memoranda (.1);
                                        conduct research on
                                        recommendations for avoidance

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                                        action and related Rule 2004
                                        discovery, confer with I. Nesser, J.
                                        Shaffer, and S. Rand re: same (3.0);
                                        review and revise draft Alvarez and
                                        Marsal tear sheets on potential
                                        avoidance actions and confer with I.
                                        Nesser and Alvarez and Marsal re:
                                        same (.7); conduct research re:
                                        monetization efforts, determine
                                        impact of same on avoidance action
                                        analysis, and confer with team re:
                                        same (.4); host call with B. Burck, S.
                                        Rand, J. Shaffer, K. Lemire, and I.
                                        Nesser re: avoidance action status
                                        and next steps (.7); confer with C.
                                        Kim re: documents for analysis in
                                        evaluating potential avoidance
                                        actions (.1).

03/31/23           MM2                  Teleconference with A&M re                                                        0.20                 221.40
                                        avoidance action venture target (0.2).

03/31/23           MM2                  Reviewing and revising memoranda                                                  2.60            2,878.20
                                        re avoidance action venture target
                                        (2.6).

03/31/23           MW2                  Revise memo on debtors' investment                                                0.30                 224.10
                                        in venture fund based on analysis by
                                        A&M (.3).

03/31/23           EK                   Review and revise venture book                                                    2.50            3,116.25
                                        memoranda “tear sheets” and
                                        correspondence with Alvarez and
                                        Marsal re: same (1.6); review and
                                        revise venture book memoranda and
                                        correspondence with team re: same
                                        (0.9).

03/31/23           APA                  Emails to and from M. Meadows and                                                 0.40                 576.00
                                        Alvarez and Marsal regarding equity
                                        purchase (0.1); teleconference with M.
                                        Meadows and Alvarez and Marsal
                                        regarding same (0.2); attention to
                                        emails from Alvarez and Marsal and
                                        N. Huh regarding token purchase
                                        (0.1).

                                                                         SUBTOTAL                                      621.50          611,513.10

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03 Bankruptcy Litigation


03/01/23           KJS                  Analyze documents re new class                                                    0.40                 766.80
                                        action claims (0.4).

03/01/23           KJS                  Research re Grayscale complaint                                                   0.60            1,150.20
                                        (0.6).

03/01/23           KJS                  Confer with M. Scheck re Grayscale                                                0.40                 766.80
                                        claim issues (0.4).

03/01/23           KJS                  Exchange correspondence with J.                                                   0.20                 383.40
                                        Palmerson re 2004s & meet and
                                        confers (0.2).

03/01/23           KJS                  Attend call with committee re                                                     0.50                 958.50
                                        Grayscale complaint (0.5).

03/01/23           IN                   Confer QE re venture book analysis                                                0.80            1,152.00
                                        (0.5); confer A. Kutscher re same (0.3).

03/01/23           BA1                  Call with J. Pickhardt regarding                                                  4.90            6,107.85
                                        complaint restructure (0.2). Call J.
                                        Pickhardt, E. Kapur, P. Collins, K.
                                        Wolfe and M. Wittmann to discuss
                                        complaint restructure (0.5).
                                        Preparation of GBTC complaint (3.7).
                                        Call with S. Rand, J. Pickhardt, E.
                                        Kapur, and K. Wolfe regarding GBTC
                                        complaint (0.5).

03/01/23           KW                   Market research regarding                                                         2.00            2,430.00
                                        redemption programs (2.0).

03/01/23           KW                   Legal research regarding Regulation                                               2.00            2,430.00
                                        M (2.0).

03/01/23           KW                   Strategy conference with QE team,                                                 1.00            1,215.00
                                        Abrams & Bayliss (1.0).

03/01/23           KW                   Attend team call re complaint                                                     0.50                 607.50
                                        strategy (0.5).

03/01/23           PC2                  Call with E. Kapur re: draft complaint                                          13.30           13,945.05
                                        against Grayscale et al. (0.1); call with
                                        QE team re: revising same (0.5); call
                                        with S. Childs re: fiduciary duty
                                        claim and other issues related to draft
                                        complaint against Grayscale et al.
                                        (0.8); call with B. Adams re: draft
                                        complaint against Grayscale et al.

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                                        (0.1); call with M. Wittman re: same
                                        (0.3); call with J. Arnier re: same (0.1);
                                        call with E. Kapur re: same (0.1);
                                        revise and restructure same,
                                        incorporating comments from QE
                                        team (11.3).

03/01/23           KW                   Revise draft complaint (2.3).                                                     2.30            2,794.50

03/01/23           KW                   Review Grayscale SEC filings (1.5).                                               1.50            1,822.50

03/01/23           JA6                  TC with M. Wittmann, discussion                                                   4.60            3,870.90
                                        and analysis re: background of case
                                        and claims (0.6); TC to discuss B.
                                        Adams proposed edits and
                                        restructuring (0.5); retrieve and
                                        organize relevant data, begin making
                                        demonstratives for Complaint (2.1);
                                        TC with consultants re: research
                                        projects necessary to back up
                                        Complaint (0.6); research and
                                        analysis re: Complaint (0.8).

03/01/23           JEP                  Revise draft complaint (4.2); t/c team                                            4.70            7,487.10
                                        re complaint (.5).

03/01/23           MW2                  Call with J. Arnier re. potential claims                                          9.10            6,797.70
                                        on behalf on debtor (.6); review and
                                        analyze documents relating to
                                        potential claims on behalf of debtor
                                        (4.1); research breach of fiduciary
                                        liability for parent companies and
                                        directors (4); cite check document for
                                        filing (.4).

03/01/23           EK                   Conference with team re: complaint                                                6.10            7,603.65
                                        strategy and analysis (1.6); prepare
                                        and edit draft complaint (1.8);
                                        correspond and conference with
                                        A&M and Alix teams re: complaint
                                        analysis (0.8); correspond and
                                        conference with local counsel re:
                                        complaint (0.3); legal and factual
                                        research in connection with
                                        complaint (1.1); conference with S.
                                        Rand and consultants re: complaint
                                        strategy (0.5).

03/02/23           KJS                  Exchange correspondence with O.                                                   0.10                 191.70

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                                        Yeffet re class action claims (0.1).

03/02/23           KJS                  Revise Grayscale complaint; confer                                                0.90            1,725.30
                                        with M. Scheck and exchange
                                        correspondence re same (0.9).

03/02/23           KJS                  Exchange correspondence with QE                                                   0.30                 575.10
                                        team re 2004 motions and target
                                        negotiations (0.3).

03/02/23           MRS                  Revising Grayscale complaint,                                                     0.90            1,186.65
                                        conferring with J. Shaffer regarding
                                        the same, and internal
                                        correspondence regarding the same
                                        (0.9).

03/02/23           BA1                  Preparation of GBTC complaint (6.6).                                              7.10            8,850.15
                                        Call with S. Rand, J. Pickhardt, E.
                                        Kapur, M. Barlow, and K. Wolfe
                                        regarding GBTC complaint (0.5).

03/02/23           PC2                  Call with S. Childs re: complaint                                               13.40           14,049.90
                                        against Grayscale et al. (0.2); call with
                                        Alix Partners re: same (0.4); call with
                                        M. Wittman re: same (0.1); call with
                                        QE team and local counsel re: same
                                        (1.0); call with A. Sutton re: same
                                        (0.5); call with E. Kapur re: same (0.1);
                                        call with M. Wittmann re: same (0.2);
                                        call with E. Kapur re: same (1.1);
                                        revise same and conduct additional
                                        factual research in connection with
                                        same (9.9).

03/02/23           KW                   Market research regarding                                                         2.00            2,430.00
                                        redemption programs (2.0).

03/02/23           KW                   Attend team call re complaint                                                     1.00            1,215.00
                                        strategy (1.0).

03/02/23           KW                   Strategy conference with QE team,                                                 0.40                 486.00
                                        Alix Partner (0.4).

03/02/23           KW                   Draft claims for declaratory judgment                                             2.50            3,037.50
                                        (2.5).

03/02/23           KW                   Legal research regarding Regulation                                               1.50            1,822.50
                                        M (1.5).

03/02/23           KW                   Revise draft complaint (3.2).                                                     3.20            3,888.00

03/02/23           APA                  Review and revise section of draft                                                1.30            1,872.00
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                                        complaint (1.3).

03/02/23           JA6                  Edit draft Complaint (0.7).                                                       0.70                 589.05

03/02/23           JEP                  Teleconference with UCC re                                                        7.50          11,947.50
                                        complaint (.5); t/c team re complaint
                                        drafting issues (1.3); t/c advisor re
                                        complaint drafting issues (.5); review
                                        and revise draft complaint (5.2).

03/02/23           EK                   Correspond with QE team re:                                                     10.90           13,586.85
                                        complaint strategy (1.3); draft,
                                        review, and revise complaint draft
                                        (6.6); conference with Alix regarding
                                        analysis in connection with complaint
                                        (0.4); conference with QE team
                                        regarding complaint strategy (1.0);
                                        conference with UCC regarding
                                        complaint strategy (0.5); conference
                                        with P. Collins re: complaint
                                        revisions (1.1).

03/02/23           MW2                  Research and analyze data for                                                   12.80             9,561.60
                                        potential claim on behalf of debtor
                                        (5); create charts and demonstratives
                                        for potential claim on behalf of
                                        debtor (5); redraft and edit draft legal
                                        filing (2.8).

03/03/23           KJS                  Exchange correspondence with J.                                                   0.20                 383.40
                                        Palmerson and committee counsel re
                                        2004 requests (0.2).

03/03/23           KJS                  Research re Grayscale complaint;                                                  0.80            1,533.60
                                        revise and exchange correspondence
                                        re same (0.8).

03/03/23           KJS                  Exchange correspondence with E.                                                   0.30                 575.10
                                        Kapur and M. Scheck re Grayscale
                                        issues (0.3).

03/03/23           BA1                  Preparation of draft complaint (1.7).                                             1.70            2,119.05

03/03/23           MRS                  Conferring internally regarding                                                   0.60                 791.10
                                        Grayscale complaint (0.6).

03/03/23           IN                   Prepare venture book analysis,                                                    1.00            1,440.00
                                        including conference A. Kutscher re
                                        same (1.0).

03/03/23           PC2                  Revise complaint against Grayscale et                                           12.20           12,791.70

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                                        al. (1.2); address local counsel
                                        comments re: same (0.5); compile
                                        action item list for QE team re: steps
                                        necessary to finish drafting same
                                        (0.7); call with QE team re: same (0.8);
                                        attention to preparing verification for
                                        same and researching applicable
                                        notarization rules (2.6); call with S.
                                        Childs re: same (0.1); call with QE
                                        Managing Clerk's Office re: same
                                        (0.1); conduct factual research with
                                        view toward revising draft complaint
                                        against Grayscale et al. (2.4); draft
                                        new section of complaint against
                                        Grayscale et al. addressing fiduciary
                                        claims (3.8).

03/03/23           KW                   Attend team call re complaint                                                     0.80                 972.00
                                        strategy (0.8).

03/03/23           KW                   Research, prepare charts for                                                      6.80            8,262.00
                                        complaint and confer with D. Scholz
                                        re same (6.8).

03/03/23           JA6                  Edit draft Complaint (0.8); assess data                                           1.40            1,178.10
                                        underlying demonstratives (0.6).

03/03/23           JEP                  Review further edits to complaint                                                 5.60            8,920.80
                                        (3.8); t/c team re weekend projects
                                        (1.2); review draft press release (.5).

03/03/23           EK                   Attend team calls re: complaint                                                   9.70          12,091.05
                                        strategy (1.0); draft, review, and
                                        revise complaint draft (3.9);
                                        correspond with team and J. Ray re:
                                        complaint (1.2); conference with
                                        debtor consultants re: complaint (1.0);
                                        factual and legal research in
                                        connection with complaint (2.6).

03/03/23           MW2                  Create charts and demonstratives for                                            10.60             7,918.20
                                        complaint on behalf of debtor (5);
                                        redraft and edit draft legal filing (4.8);
                                        attend team call re complaint strategy
                                        (.8).

03/04/23           PC2                  Revise draft complaint against                                                  13.40           14,049.90
                                        Grayscale et al., incorporating
                                        comments from QE team, and

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                                        conduct additional factual and legal
                                        research in connection with same
                                        (13.4).

03/04/23           KW                   Supplemental research regarding                                                   1.00            1,215.00
                                        Regulation M (1.0).

03/04/23           KW                   Revise draft complaint (1.3).                                                     1.30            1,579.50

03/04/23           JA6                  Work on Complaint demonstratives                                                  1.90            1,598.85
                                        and underlying data work (1.9).

03/04/23           JEP                  Revisions to complaint (4.1); t/c E.                                              4.50            7,168.50
                                        Kapur re same (.4).

03/04/23           EK                   Conference with S. Rand and local                                                 6.80            8,476.20
                                        counsel re: complaint filing (0.2);
                                        review and revise draft complaint
                                        (3.1); factual and legal research in
                                        connection with draft complaint (2.5);
                                        correspond with team re: complaint
                                        and press release (0.6); correspond
                                        and conference with J. Pickhardt re:
                                        complaint revisions and strategy
                                        (0.4).

03/04/23           MW2                  Analyze inputs based on most recent                                               3.70            2,763.90
                                        trading day to draft assertions in
                                        complaint (3.7).

03/05/23           KJS                  Revise Grayscale complaint and                                                    0.60            1,150.20
                                        exchange correspondence re same
                                        (0.6).

03/05/23           BA1                  Call with QE team and local counsel                                               3.60            4,487.40
                                        regarding draft complaint (1.7).
                                        Preparation of draft complaint (1.9).

03/05/23           IN                   Prepare venture book claims analysis                                              0.70            1,008.00
                                        memos (0.7).

03/05/23           PC2                  Prepare instructions for use by QE                                              15.90           16,671.15
                                        team in cite checking and finalizing
                                        complaint against Grayscale et al.
                                        (0.8); call with E. Kapur re: same (0.1);
                                        call with E. Kapur re: same (0.1);
                                        revise same, incorporating comments
                                        from co-counsel and QE team (8.4);
                                        call with M. Wittmann re: same (0.2);
                                        call with QE team re: cite-checking
                                        instructions (0.7); attention to cite-
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                                        checking same (3.2); call with QE
                                        team and local counsel re: same (1.7);
                                        call with M. Wittmann re: same (0.2);
                                        call with M. Wittmann re: same (0.1);
                                        call with E. Kapur re: same (0.1); call
                                        with M. Wittmann re: same (0.1); call
                                        with E. Kapur re: same (0.2).

03/05/23           KW                   Cite check complaint (3.4).                                                       3.40            4,131.00

03/05/23           KW                   Call with E. Kapur, M. Wittmann, A.                                               0.70                 850.50
                                        Sutton regarding cite-check (0.7).

03/05/23           KW                   Review formulas, data for complaint                                               0.90            1,093.50
                                        (0.9).

03/05/23           MW2                  Analyze inputs based on most recent                                             12.60             9,412.20
                                        trading day to draft assertions in
                                        complaint (5); cite check and edit
                                        draft complaint (4); call with E.
                                        Kapur and A. Sutton re. cite check
                                        (.7); research SEC disclosures for use
                                        in complaint (2.9).

03/05/23           JEP                  Review edits to complaint (1.7); t/c E.                                           4.10            6,531.30
                                        Kapur re agreement references (.3);
                                        email team re research projects (.7);
                                        t/c team re legal issues related to
                                        complaint (1.7); t/c S. Rand re same
                                        (.4).

03/05/23           EK                   Calls with P. Collins re: complaint                                             12.80           15,955.20
                                        finalization (0.3); call with B. Adams,
                                        J. Pickhardt, S. Rand, P. Collins, and
                                        local counsel re: complaint strategy
                                        (1.7); call with QE team re: complaint
                                        revisions and editing (0.7); draft,
                                        review, and revise complaint and
                                        correspond with QE team re:
                                        revisions to same (8.0); factual and
                                        legal research in connection with
                                        draft complaint (2.1).

03/06/23           KJS                  Analyze notice of US Trustee appeal                                               0.10                 191.70
                                        re examiner (0.1).

03/06/23           KJS                  Exchange correspondence with QE                                                   0.30                 575.10
                                        team re 2004 requests and
                                        negotiations (0.3).

       los angeles | new york | san francisco | silicon valley | chicago | dc | london | mannheim | tokyo| hamburg | paris | munich
     sydney | hong kong | houston | brussels | seattle | zurich | shanghai | stuttgart | perth | boston | salt lake city | riyadh | berlin |
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03/06/23           KJS                  Exchange correspondence re                                                        0.20                 383.40
                                        Grayscale filing (0.2).

03/06/23           BA1                  Preparation of draft complaint (1.8).                                             2.00            2,493.00
                                        Review of Supplemental Information
                                        Sheet, Summons Instruction Letter,
                                        and Statement of Good Cause (0.2).

03/06/23           MRS                  Conferring internally regarding                                                   0.30                 395.55
                                        Grayscale litigation (0.3).

03/06/23           IN                   Confer QE re venture book analysis                                                1.00            1,440.00
                                        memos (0.5); prepare same (0.5).

03/06/23           PC2                  Assist in finalizing complaint against                                            3.10            3,250.35
                                        Grayscale et al. and preparing same
                                        for filing (3.1).

03/06/23           KW                   Revise draft complaint (2.4).                                                     2.40            2,916.00

03/06/23           APA                  Review U.S. Trustee's notice of                                                   1.30            1,872.00
                                        appeal (0.1); review and revise
                                        complaint (1.2).

03/06/23           EK                   Call with P. Collins re: complaint                                                4.70            5,858.55
                                        finalization (0.2); draft, review, and
                                        revise complaint and correspond
                                        with QE team re: revisions to same
                                        (2.8); factual and legal research in
                                        connection with draft complaint (0.6);
                                        correspond and conference with J.
                                        Frank re: Grayscale complaint (0.8);
                                        correspond with local counsel and
                                        QE team re retention (0.3).

03/06/23           MW2                  Call with P. Collins re. cite check (.2);                                         5.10            3,809.70
                                        call with P. Collins re. SharePoint (.1);
                                        call with P. Collins re. revising the
                                        complaint (.1); edit and cite check
                                        final draft of complaint (4.7).

03/06/23           JEP                  Review final complaint edits (1.2);                                               3.00            4,779.00
                                        emails re follow up to complaint
                                        filing (1.8).

03/07/23           KJS                  Review Prager Metis examination                                                   0.30                 575.10
                                        notice and exchange correspondence
                                        with J. Palmerson re same (0.3).

03/07/23           KJS                  Exchange correspondence with J.                                                   0.20                 383.40
                                        Palmerson re 2004 requests and

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     sydney | hong kong | houston | brussels | seattle | zurich | shanghai | stuttgart | perth | boston | salt lake city | riyadh | berlin |
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                                        negotiations re same (0.2).

03/07/23           KJS                  Exchange correspondence re                                                        0.20                 383.40
                                        Grayscale action (0.2).

03/07/23           KJS                  Analyze pleadings re additional class                                             0.40                 766.80
                                        actions (0.4).

03/07/23           BA1                  Call with QE team and local counsel                                               0.90            1,121.85
                                        regarding litigation strategy (.9).

03/07/23           IN                   Prepare venture book analysis                                                     0.60                 864.00
                                        memos (0.6).

03/07/23           PC2                  Call with QE team and local counsel                                               1.10            1,153.35
                                        (0.9); call with A. Sutton re: drafting
                                        initial discovery requests (0.2).

03/07/23           KW                   Review other complaints, media                                                    0.60                 729.00
                                        coverage (0.6).

03/07/23           KW                   Attend team strategy call (0.9).                                                  0.90            1,093.50

03/07/23           EK                   Conference with consultants re:                                                   2.80            3,490.20
                                        media in regards to Grayscale
                                        complaint (0.5); correspond with
                                        consultants re: media in regards to
                                        Grayscale complaint (0.6); case
                                        management and next steps for
                                        Grayscale case (0.4); conference with
                                        QE Grayscale team re: case strategy
                                        (0.9); conference with QE colleagues
                                        re: client and media outreach on
                                        Grayscale complaint (0.4).

03/07/23           MW2                  Team call to discuss next steps                                                   0.90                 672.30
                                        regarding complaint (.9).

03/07/23           JA6                  TC with team re: next steps in                                                    0.90                 757.35
                                        litigation (0.9).

03/07/23           JEP                  Team meeting re follow up steps (.9);                                             2.00            3,186.00
                                        review 210K versus Grayscale
                                        complaint (1.1).

03/08/23           KJS                  Analyze correspondence re protective                                              0.10                 191.70
                                        order (0.1).

03/08/23           KJS                  Exchange correspondence with J.                                                   0.20                 383.40
                                        Palmerson re meet and confer issues
                                        (0.2).


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     sydney | hong kong | houston | brussels | seattle | zurich | shanghai | stuttgart | perth | boston | salt lake city | riyadh | berlin |
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03/08/23           KJS                  Exchange correspondence re 2004                                                   0.20                 383.40
                                        requests/meet and confers (0.2).

03/08/23           IN                   Prepare venture book memo (1.0).                                                  1.00            1,440.00

03/08/23           PC2                  Conduct factual research with view                                                6.60            6,920.10
                                        toward drafting initial discovery
                                        requests (1.8); draft first set of
                                        interrogatories directed to all
                                        defendants (4.8).

03/08/23           KW                   Review filings against Grayscale                                                  0.50                 607.50
                                        (0.5).

03/08/23           MW2                  Review public resources re.                                                       0.60                 448.20
                                        complaint filed by debtor (.6).

03/08/23           EK                   Correspond with QE team re:                                                       2.10            2,617.65
                                        Grayscale strategy and media
                                        coverage (1.6); conference with P.
                                        Collins re: case management (0.2);
                                        prepare interrogatories (0.3).

03/08/23           JEP                  Review Grayscale press statements re                                              0.80            1,274.40
                                        suit (.8).

03/09/23           KJS                  Analyze entered protective order and                                              0.40                 766.80
                                        correspondence re same (0.4).

03/09/23           KJS                  Exchange correspondence re 2004                                                   0.30                 575.10
                                        meet and confers (0.3).

03/09/23           PC2                  Attention to addressing inquiry from                                              4.10            4,298.85
                                        local counsel re: addresses of
                                        defendants (1.2); call with A. Sutton
                                        re: revising draft initial discovery
                                        requests (0.7); revise draft
                                        interrogatories, incorporating A.
                                        Sutton comments (2.2).

03/09/23           APA                  Draft section of complaint (1.4).                                                 1.40            2,016.00

03/09/23           MW2                  Research residential addresses for                                                3.60            2,689.20
                                        defendants for purposes of service of
                                        process (2.5); research applicability of
                                        snap removal diversity jurisdiction
                                        removal (1.1).

03/09/23           EK                   Correspond with QE team re:                                                       0.40                 498.60
                                        litigation strategy (0.4).

03/09/23           JEP                  Teleconference with advisor re                                                    0.50                 796.50
       los angeles | new york | san francisco | silicon valley | chicago | dc | london | mannheim | tokyo| hamburg | paris | munich
     sydney | hong kong | houston | brussels | seattle | zurich | shanghai | stuttgart | perth | boston | salt lake city | riyadh | berlin |
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                                        update (.5).

03/10/23           KJS                  Exchange correspondence re Rule                                                   0.30                 575.10
                                        2004 requests and meet and confers
                                        (0.3).

03/10/23           KJS                  Analyze letter from Bahamas counsel                                               0.60            1,150.20
                                        re potential action in Bahamas and
                                        exchange correspondence re same
                                        (0.6).

03/10/23           KJS                  Analyze correspondence re Silvergate                                              0.10                 191.70
                                        2004 request (0.1).

03/10/23           EK                   Review and revise discovery requests                                              1.10            1,371.15
                                        (0.4); correspond with team re: case
                                        strategy (0.3); conference with S.
                                        Rand and J. Pickhardt re: litigation
                                        strategy (0.4).

03/10/23           IN                   Prepare claim analysis memo re                                                    0.70            1,008.00
                                        venture book target (0.7).

03/10/23           JEP                  Teleconference with E. Kapur and S.                                               0.40                 637.20
                                        Rand re strategy (.4).

03/12/23           EK                   Review and revise draft discovery                                                 1.80            2,243.70
                                        requests and correspond with team
                                        re: same (1.7); correspond with team
                                        re: document analysis (0.1).

03/13/23           EK                   Correspond with local counsel and                                                 1.40            1,745.10
                                        other vendors re: Grayscale (0.5);
                                        conference with S. Rand and J.
                                        Pickhardt re: Grayscale strategy (0.4);
                                        conference with J. Arnier re:
                                        Grayscale documents (0.1);
                                        correspond with J. Arnier re:
                                        document review (0.4).

03/13/23           KJS                  Exchange correspondence re Rule                                                   0.20                 383.40
                                        2004 meet and confers (0.2).

03/13/23           KJS                  Analyze update re class actions (0.1).                                            0.10                 191.70

03/13/23           JA6                  Offensive document review (1.8); TC                                               1.90            1,598.85
                                        with E. Kapur re: litigation strategy
                                        and analysis, discussion of limited
                                        discovery project (0.1).

03/13/23           APA                  Review and revise template                                                        1.90            2,736.00
                                        complaint (1.9).
       los angeles | new york | san francisco | silicon valley | chicago | dc | london | mannheim | tokyo| hamburg | paris | munich
     sydney | hong kong | houston | brussels | seattle | zurich | shanghai | stuttgart | perth | boston | salt lake city | riyadh | berlin |
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03/13/23           JEP                  Teleconference with S. Rand and E.                                                0.40                 637.20
                                        Kapur re counsel outreach (.4).

03/14/23           EK                   Legal research in connection with                                                 1.80            2,243.70
                                        Grayscale action (0.6); conference
                                        with J. Pickhardt re: Grayscale
                                        strategy (0.5); correspond with J.
                                        Arnier re: document review (0.4);
                                        correspond with J. Pickhardt, S.
                                        Rand, and M. Barlow re: litigation
                                        strategy (0.3).

03/14/23           IN                   Prepare venture memos (1.5).                                                      1.50            2,160.00

03/14/23           KJS                  Research re Bahamas-related issues                                                0.70            1,341.90
                                        and exchange correspondence re
                                        same (0.7).

03/14/23           JA6                  Offensive discovery document                                                      1.60            1,346.40
                                        review and related correspondence
                                        (1.6).

03/14/23           JEP                  Teleconference with M. Kapur re                                                   1.10            1,752.30
                                        litigation strategy (.5); t/c client re
                                        litigation strategy (.3); email team re
                                        follow up to calls (.3).

03/15/23           EK                   Conference with S. Rand and J.                                                    1.70            2,119.05
                                        Pickhardt re: litigation strategy (0.5);
                                        correspond with J. Arnier re:
                                        document review (0.2); correspond
                                        with A. Sutton re: discovery (0.2);
                                        legal research in connection with
                                        litigation strategy (0.6); correspond
                                        with local counsel re: litigation
                                        strategy (0.2).

03/15/23           KJS                  Exchange correspondence re 2004                                                   0.20                 383.40
                                        motions (0.2).

03/15/23           KJS                  Exchange correspondence re                                                        0.20                 383.40
                                        common interest agreement (0.2).

03/15/23           KJS                  Revise Rule 2004 pleadings and                                                    0.30                 575.10
                                        exchange correspondence with J.
                                        Palmerson re same (0.3).

03/15/23           KJS                  Analyze Bankman-Fried stay relief                                                 0.30                 575.10
                                        motion (0.3).

03/16/23           EK                   Correspond with QE team and local                                                 3.60            4,487.40

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     sydney | hong kong | houston | brussels | seattle | zurich | shanghai | stuttgart | perth | boston | salt lake city | riyadh | berlin |
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                                        counsel re: OCP application (0.4);
                                        correspond with S. Rand re: parallel
                                        cases and strategic implications (0.3);
                                        correspond with J. Shaffer re: BlockFi
                                        (0.1); review and revise draft
                                        discovery (2.2); correspond with P.
                                        Collins and A. Sutton re: discovery
                                        strategy (0.6).

03/16/23           SNR                  Review materials re: Bahamian JLs                                                 3.60            5,734.80
                                        and various t/c re: same (2.2); review
                                        ad hoc pleadings and customer
                                        property issues and various follow
                                        up re: same (1.4).

03/16/23           PC2                  Revise draft interrogatories directed                                             9.80          10,275.30
                                        to Grayscale, incorporating E. Kapur
                                        comments (3.8); further revise same,
                                        incorporating further E. Kapur
                                        comments (0.4); research statute of
                                        limitations issues in connection with
                                        Grayscale action and discuss same
                                        with J. Arnier and E. Kapur (0.8);
                                        revise interrogatories directed to non-
                                        Grayscale defendants and requests
                                        for production directed to each
                                        defendant, incorporating E. Kapur
                                        comments (4.8).

03/16/23           APA                  Review and revise complaint (1.7).                                                1.70            2,448.00

03/16/23           KW                   Correspond with QE team regarding                                                 0.40                 486.00
                                        status of related litigation (0.4).

03/17/23           KJS                  Analyze correspondence re class                                                   0.20                 383.40
                                        action status (0.2).

03/17/23           KJS                  Revise subpoena and exchange                                                      0.20                 383.40
                                        correspondence re same (0.2).

03/17/23           EK                   Correspond with J. Pickhardt and S.                                               6.40            7,977.60
                                        Rand re: litigation strategy (0.2);
                                        correspond with local counsel and
                                        conference. with M. Scheck re: OCP
                                        application (0.5); correspond with P.
                                        Collins and A. Sutton re: discovery
                                        strategy (0.7); review and revise eight
                                        sets of draft RFPs and interrogatories
                                        (3.1); factual research in connection

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     sydney | hong kong | houston | brussels | seattle | zurich | shanghai | stuttgart | perth | boston | salt lake city | riyadh | berlin |
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                                        with draft discovery (1.6); correspond
                                        with vendor re: litigation strategy
                                        (0.3).

03/17/23           JA6                  Legal research, analysis, and                                                     3.60            3,029.40
                                        discussion pertaining to Grayscale
                                        litigation/Complaint (3.6).

03/17/23           PC2                  Draft email to QE team re: relevant                                               0.70                 733.95
                                        period for discovery requests and
                                        discuss same with E. Kapur (0.7).

03/17/23           APA                  Review and revise complaint (1.9).                                                1.90            2,736.00

03/18/23           PC2                  Revise draft interrogatories,                                                     0.70                 733.95
                                        incorporating comments from E.
                                        Kapur (0.7).

03/19/23           MW2                  Research public statements made by                                                1.40            1,045.80
                                        executive related to investment fees
                                        (1.4).

03/19/23           KJS                  Analyze complaint against Joint                                                   0.70            1,341.90
                                        Liquidators and correspondence re
                                        same (0.7).

03/20/23           EK                   Conference with investigator re:                                                  1.10            1,371.15
                                        litigation support (0.3); correspond
                                        with team re: discovery (0.2); review
                                        and revise discovery requests (0.4);
                                        correspond with investigator re:
                                        litigation support (0.2); review legal
                                        research and correspond with team
                                        re: same (0.3); conference with M.
                                        Barlow re: OCP application (0.1).

03/20/23           PC2                  Review and comment on W.                                                          1.90            1,992.15
                                        Wittmann memorandum re: factual
                                        research re: individual defendants
                                        (0.4); review and comment on J.
                                        Arnier research re: statute of
                                        limitations (0.6); attend meeting with
                                        investigators re: Grayscale case (0.3);
                                        draft email to investigators re: points
                                        to research (0.6).

03/20/23           KJS                  Analyze correspondence re Silicon                                                 0.20                 383.40
                                        Valley Accountants 2004 and
                                        protective order (0.2).

03/20/23           KW                   Review draft interrogatories and                                                  1.50            1,822.50
       los angeles | new york | san francisco | silicon valley | chicago | dc | london | mannheim | tokyo| hamburg | paris | munich
     sydney | hong kong | houston | brussels | seattle | zurich | shanghai | stuttgart | perth | boston | salt lake city | riyadh | berlin |
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                                        requests for production (1.5).

03/20/23           JEP                  Teleconference with investor re                                                   0.50                 796.50
                                        coordination (.5).

03/20/23           APA                  Review adversary complaint against                                                0.80            1,152.00
                                        FTX Dm and JPLs (0.8).

03/21/23           EK                   Correspond with M. Scheck and M.                                                  2.80            3,490.20
                                        Barlow re: OCP application (0.3);
                                        conference with team re: discovery
                                        and Grayscale case strategy (1.4);
                                        conference with A. Sutton re:
                                        discovery (0.3); correspond with team
                                        re: discovery strategy and case
                                        timeline (0.5); review and revise
                                        discovery requests (0.3).

03/21/23           BA1                  Call QE team and local counsel                                                    1.40            1,745.10
                                        regarding interrogatories, requests
                                        for production, and case strategy
                                        (1.4).

03/21/23           PC2                  Call with QE team and local counsel                                               1.40            1,467.90
                                        re: revising draft initial discovery
                                        requests (1.4).

03/21/23           KJS                  Analyze correspondence re 2004s and                                               0.20                 383.40
                                        document productions (0.2).

03/21/23           KJS                  Prepare correspondence to QE team                                                 0.40                 766.80
                                        re litigation with JLs (0.4).

03/21/23           KW                   Research recordkeeping obligations                                                2.20            2,673.00
                                        and FOIA request requirements (2.2).

03/21/23           JEP                  Teleconference with team re                                                       1.40            2,230.20
                                        discovery requests (1.4).

03/21/23           APA                  Prepare draft complaint and revise                                                1.40            2,016.00
                                        same (1.4).

03/22/23           IN                   Prepare memos re multiple venture                                                 5.90            8,496.00
                                        investments (4.0); assess venture
                                        book target recission issues (1.5);
                                        confer S&C re venture book
                                        coordination (0.3); confer A&M re
                                        same (0.1).

03/22/23           EK                   Conference with investigator re:                                                  2.20            2,742.30
                                        litigation strategy (0.5); review and
                                        revise draft discovery (1.1);
       los angeles | new york | san francisco | silicon valley | chicago | dc | london | mannheim | tokyo| hamburg | paris | munich
     sydney | hong kong | houston | brussels | seattle | zurich | shanghai | stuttgart | perth | boston | salt lake city | riyadh | berlin |
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                                        correspond with team re: briefing
                                        and discovery strategy (0.6).

03/22/23           PC2                  Proofread and revise draft discovery                                              2.80            2,935.80
                                        requests (0.8); further revise same,
                                        incorporating comments from J.
                                        Pickhardt and E. Kapur (1.5); attend
                                        meeting with investigators re: their
                                        initial findings (0.5).

03/22/23           KJS                  Exchange correspondence re                                                        0.30                 575.10
                                        Grayscale deadlines and request to
                                        extend same (0.3).

03/22/23           KJS                  Exchange correspondence re                                                        0.20                 383.40
                                        complaint against Bahamas JLs (0.2).

03/22/23           KJS                  Analyze correspondence re 2004s and                                               0.20                 383.40
                                        meet and confers (0.2).

03/22/23           KJS                  Analyze correspondence re SV                                                      0.20                 383.40
                                        Accountants production (0.2).

03/22/23           KJS                  Analyze Three Arrows Rule 2004                                                    0.60            1,150.20
                                        decisions and prepare
                                        correspondence re same (0.6).

03/22/23           APA                  Emails to and from J. Shaffer                                                     1.00            1,440.00
                                        regarding complaint against FTX DM
                                        (0.1); review and revise complaint
                                        (0.9).

03/22/23           JEP                  Review and comment on discovery                                                   1.80            2,867.40
                                        requests (1.4); email team re schedule
                                        (.4).

03/23/23           MRS                  Internal correspondence regarding                                                 0.20                 263.70
                                        Grayscale litigation (0.2).

03/23/23           IN                   Prepare multiple venture book                                                     5.00            7,200.00
                                        memos (5.0).

03/23/23           JA6                  Research and analysis covering                                                    0.90                 757.35
                                        litigation issue (0.4); document
                                        review (0.5).

03/23/23           PC2                  Review and incorporate comments                                                   1.20            1,258.20
                                        from local counsel on initial
                                        discovery requests, while revising
                                        and finalizing same (1.2).

03/23/23           KW                   Correspond with QE team regarding                                                 0.30                 364.50
       los angeles | new york | san francisco | silicon valley | chicago | dc | london | mannheim | tokyo| hamburg | paris | munich
     sydney | hong kong | houston | brussels | seattle | zurich | shanghai | stuttgart | perth | boston | salt lake city | riyadh | berlin |
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                                        draft interrogatories and requests for
                                        production (0.3).

03/23/23           EK                   Review and revise draft discovery                                                 1.50            1,869.75
                                        (0.4); correspond with team and
                                        opposing counsel re: discovery (0.3);
                                        correspond with team re: OCP filing
                                        (0.3); correspond with J. Ray re:
                                        Grayscale litigation (0.2);
                                        correspondence with vendor re:
                                        analysis of litigation facts (0.1);
                                        correspondence with team re:
                                        litigation strategy (0.2).

03/23/23           KJS                  Analyze correspondence re Grayscale                                               0.20                 383.40
                                        litigation (0.2).

03/23/23           APA                  Research regarding latest elements of                                             1.00            1,440.00
                                        claims (1.0).

03/24/23           IN                   Prepare and circulate several venture                                             2.70            3,888.00
                                        book memos, including conferences
                                        Kutscher re same (2.7).

03/24/23           JA6                  Summarize document review                                                         1.00                 841.50
                                        findings (1.0).

03/24/23           EK                   Conference and correspondence with                                                0.80                 997.20
                                        J. Pickhardt re: litigation strategy
                                        (0.2); correspondence with LRC re:
                                        OCP list (0.3); correspondence with
                                        team re: Grayscale discovery and
                                        briefing strategy (0.3).

03/24/23           KJS                  Analyze pleadings re examiner                                                     0.20                 383.40
                                        appeal (0.2).

03/24/23           KJS                  Analyze correspondence re class                                                   0.10                 191.70
                                        actions (0.1).

03/24/23           KJS                  Analyze Ad Hoc Customer                                                           1.20            2,300.40
                                        Committee motion re customer
                                        property; research and exchange
                                        correspondence re same (1.2).

03/24/23           APA                  Emails to and from K. Lemire, B.                                                  0.20                 288.00
                                        Timmons and T. Wit regarding
                                        claims evaluation (0.2).

03/24/23           JEP                  Teleconference with investor                                                      0.20                 318.60
                                        coordination (.2).

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03/25/23           EK                   Correspondence with M. Barlow re:                                                 0.20                 249.30
                                        OCP application (0.2).

03/26/23           EK                   Correspondence with M. Barlow re:                                                 0.40                 498.60
                                        litigation strategy (0.2);
                                        correspondence with LRC re: OCP
                                        application (0.2).

03/27/23           IN                   Prepare memo re venture book target                                               0.60                 864.00
                                        (0.4); confer A. Kutscher re venture
                                        book assessment status (0.2).

03/27/23           EK                   Correspondence with LRC and M.                                                    1.60            1,994.40
                                        Barlow re: OCP application (0.2);
                                        correspondence with J. Pickhardt re:
                                        litigation strategy (0.2); prepare for
                                        and conference with opposing
                                        counsel and M. Barlow re: briefing
                                        and discovery (1.0); summarize M&C
                                        with opposing counsel (0.2).

03/27/23           KJS                  Analyze correspondence re 2004                                                    0.10                 191.70
                                        discovery (0.1).

03/27/23           JEP                  Teleconference with investor re                                                   0.40                 637.20
                                        coordination (.4).

03/28/23           IN                   Finalize and circulate memo re                                                    0.40                 576.00
                                        venture investment (0.4).

03/28/23           JA6                  Review make notes re: research                                                    0.50                 420.75
                                        memorandum re: Grayscale (0.5).

03/28/23           PC2                  Review and analyze initial report                                                 0.80                 838.80
                                        from investigators re: Grayscale
                                        defendants (0.8).

03/28/23           KW                   Review investigator report and                                                    0.90            1,093.50
                                        correspond with E. Kapur regarding
                                        findings in same (0.9).

03/28/23           EK                   Correspondence with team re:                                                      1.40            1,745.10
                                        briefing schedule and discovery (0.2);
                                        review and summarize factual
                                        analysis for Grayscale litigation and
                                        correspondence with team re: same
                                        (1.0); correspondence with team re:
                                        discovery (0.2).

03/28/23           APA                  Review legal research regarding                                                   1.20            1,728.00
                                        potential third party claims (0.8);

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                                        teleconference with Alvarez and
                                        Marsal regarding claims evaluation
                                        (0.4).

03/29/23           JA6                  Legal research and analysis re:                                                   0.40                 336.60
                                        Grayscale litigation (0.4).

03/29/23           EK                   Review legal analysis re: Grayscale                                               3.40            4,238.10
                                        and correspondence with team re:
                                        same (0.8); correspondence with team
                                        and J. Ray re: briefing and discovery
                                        strategy (0.6); conference with J.
                                        Pickhardt and S. Rand re: case
                                        strategy (0.4); conference with J.
                                        Pickhardt and common interest
                                        counsel re: litigation (0.3); review and
                                        revise discovery requests and legal
                                        research in connection with same
                                        (0.8); correspondence with team re:
                                        factual analysis (0.5).

03/29/23           KW                   Correspondence regarding                                                          1.60            1,944.00
                                        investigator report and Reg M
                                        mechanics; analyze GBTC website
                                        and summarize same (1.6).

03/29/23           KJS                  Confer with A. Alden re discovery                                                 0.20                 383.40
                                        (0.2).

03/29/23           KJS                  Analyze correspondence re Rule 2004                                               0.30                 575.10
                                        discovery (0.3).

03/29/23           JEP                  Meeting team re case strategy (.4); t/c                                           0.70            1,115.10
                                        counsel re other action (.3).

03/30/23           IN                   Prepare venture book analysis                                                     0.20                 288.00
                                        memos in consultation w/ Kutscher
                                        (0.2).

03/30/23           KW                   Review SEC FOIA request (0.4).                                                    0.40                 486.00

03/30/23           EK                   Correspondence with S. Seneczko, M.                                               0.50                 623.25
                                        Barlow, and LRC re: OCP filings (0.2);
                                        correspondence with team re:
                                        discovery requests (0.3).

03/31/23           IN                   Confer J. Shaffer, S. Rand, W. Burck,                                             1.20            1,728.00
                                        A. Kutscher, K. Lemire re venture
                                        book status (0.7); prepare venture
                                        book analysis memos (0.5).

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03/31/23           KJS                  Analyze correspondence re Rule 2004                                               0.20                 383.40
                                        requests (0.2).

03/31/23           JA6                  Research and analysis re: Grayscale                                               0.70                 589.05
                                        (0.7).

03/31/23           EK                   Correspondence with team re:                                                      0.20                 249.30
                                        litigation strategy (0.2).

03/31/23           APA                  Review legal research regarding                                                   0.90            1,296.00
                                        potential claims (0.9).

                                                                         SUBTOTAL                                      442.80          526,082.85

04 Board/Corporate Governance


03/06/23           KJS                  Analyze correspondence from                                                       0.40                 766.80
                                        Hudson Trent re board call agenda
                                        and materials (0.4).

03/07/23           KJS                  FTX board/advisor call (0.5).                                                     0.50                 958.50

03/07/23           SNR                  Attend steering committee call (0.7);                                             1.20            1,911.60
                                        attend board call (0.5).

03/07/23           IN                   Attend BoD call (0.5).                                                            0.50                 720.00

03/14/23           SNR                  Attend steering committee call and                                                0.90            1,433.70
                                        follow up (0.4); attend board meeting
                                        and follow up re: same (0.5).

03/14/23           KJS                  Attend board meeting (0.7).                                                       0.70            1,341.90

03/19/23           APA                  Review draft search of interim report                                             1.20            1,728.00
                                        (1.2).

03/20/23           KJS                  Analyze correspondence from                                                       0.10                 191.70
                                        Hudson Trent re board meeting (0.1).

03/20/23           APA                  Attention to emails from K. Lemire                                                0.10                 144.00
                                        and S. Rand regarding interim report
                                        (0.1).

03/21/23           SNR                  Attend steering committee call and                                                0.90            1,433.70
                                        follow up (0.4); attend board meeting
                                        and follow up re: same (0.5).

03/21/23           KJS                  Attend board call (0.5).                                                          0.50                 958.50

03/27/23           KJS                  Analyze board meeting materials and                                               0.30                 575.10
                                        exchange correspondence re same
                                        (0.3).

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                                                                         SUBTOTAL                                         7.30          12,163.50

05 Case Administration


03/01/23           KJS                  Analyze chapter 11 pleading &                                                     0.30                 575.10
                                        docket updates (0.3).

03/02/23           AK2                  Confer with E. Kapur re: staffing (.1).                                           0.10                 121.50

03/02/23           DS4                  Create graphs per instructions from                                               1.80                 777.60
                                        M. Wittmann (1.8).

03/03/23           DS4                  Create graphs per instructions from                                               3.30            1,425.60
                                        M. Wittmann and E. Kapur (3.3).

03/06/23           ZM                   Review draft report on control                                                    2.50            2,261.25
                                        failures (.4); review venture book
                                        memo comments from A&M (.3);
                                        emails re: first-level review progress
                                        (.2); team standing call (.4); review
                                        documents for venture book analysis
                                        (1.2).

03/06/23           IN                   Conference QE re status and strategy                                              0.40                 576.00
                                        (0.4).

03/06/23           SS6                  Correspond with S. Rand re filed                                                  0.30                 295.65
                                        pleadings (.1); correspond with S.
                                        Rand re team update (.1); correspond
                                        with QE team re same (.1).

03/07/23           KJS                  Analyze hearing agenda (0.1).                                                     0.10                 191.70

03/07/23           IN                   Confer Paul Hastings re venture book                                              0.50                 720.00
                                        analysis (0.5).

03/07/23           SS6                  Review pleadings, hearing agenda re                                               0.60                 591.30
                                        docket (.3); correspond with S. Rand,
                                        J. Shaffer re same (.2); correspond
                                        with M. Pierce (LRC) re same (.1).

03/08/23           SS6                  Analyze docket, hearing materials,                                                0.40                 394.20
                                        omnibus hearing schedule (.2);
                                        correspond with M. Pierce (LRC) re
                                        same (.1); correspond with S. Rand, J.
                                        Shaffer re same (.1).

03/10/23           MW2                  Assist J. Arnier get access to                                                    0.20                 149.40
                                        Relativity database for document
                                        review (.2).

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03/13/23           IN                   Conference QE re status (0.6); confer                                             1.30            1,872.00
                                        A. Kutscher re venture book status
                                        (0.3); prepare venture book memos
                                        (0.4).

03/13/23           KJS                  Exchange correspondence re                                                        0.20                 383.40
                                        preparation of interim fee application
                                        (0.2).

03/13/23           KJS                  Analyze chapter 11 pleading/docket                                                0.30                 575.10
                                        updates (0.3).

03/13/23           SS6                  Correspond with S. Rand re docket                                                 0.40                 394.20
                                        materials, complaint (.1); review
                                        same (.3).

03/14/23           AK2                  Confer with S. Rand, J. Shaffer, and J.                                           0.20                 243.00
                                        Bandes re: staffing (.2).

03/16/23           KJS                  Call with K. Pasquale and S. Rand re                                              0.50                 958.50
                                        case developments and strategy (0.5).

03/16/23           SS6                  Correspond with S. Rand re notice,                                                0.20                 197.10
                                        pleadings (.2).

03/17/23           KJS                  Analyze documents re bankruptcy                                                   0.40                 766.80
                                        schedules (0.4).

03/17/23           SS6                  Correspond with S. Rand re                                                        0.30                 295.65
                                        pleadings, docket update (.1); review
                                        same (.2).

03/19/23           APA                  Update current tasks (0.1).                                                       0.10                 144.00

03/20/23           JL9                  Prepare production to transfer to                                                 0.70                 110.25
                                        hosting vendor per request from J.
                                        Palmerson (0.7).

03/20/23           IN                   Confer QE re status and strategy                                                  0.90            1,296.00
                                        (0.4); prepare venture book memos
                                        (0.5).

03/20/23           SS6                  Correspond with J. Palmerson re                                                   0.30                 295.65
                                        debtor entities, case information (.3).

03/23/23           IN                   Confer Pasquale, S. Rand, and Shaffer                                             0.70            1,008.00
                                        re venture book analyses (0.3); confer
                                        QE, S&C, A&M, PWP re venture
                                        book coordination (0.4).

03/27/23           IN                   Confer QE re status and strategy                                                  0.20                 288.00
                                        (0.2).

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03/28/23           JL9                  Confer with J. Palmerson and O.                                                   0.30                  47.25
                                        Yeffet discussing options on getting
                                        hard copy documents for review
                                        (0.3).

03/28/23           KJS                  Analyze correspondence and                                                        0.30                 575.10
                                        documents re new SBF indictment
                                        (0.3).

03/30/23           JL9                  Coordinate document scanning                                                      0.60                  94.50
                                        specifications with vendor per
                                        request from O. Yeffet (0.6).

                                                                         SUBTOTAL                                       18.40           17,623.80

06 Employment and Fee Applications


03/03/23           KJS                  Exchange correspondence with S.                                                   0.10                 191.70
                                        Rand and M. Scheck re monthly fee
                                        statements & fee estimates (0.1).

03/03/23           MRS                  Revising January 2023 monthly fee                                                 1.10            1,450.35
                                        statement and conferring internally
                                        regarding the same (1.1).

03/03/23           SS6                  Correspond with M. Scheck, J.                                                     0.10                  98.55
                                        Palmerson re monthly fee statement
                                        (.1).

03/04/23           KJS                  Exchange correspondence re A&B                                                    0.20                 383.40
                                        engagement agreement (0.2).

03/05/23           KJS                  Exchange correspondence re Abrams                                                 0.10                 191.70
                                        & Bayliess retention (0.1).

03/05/23           SS6                  Correspond with M. Scheck, J.                                                     2.80            2,759.40
                                        Palmerson re January invoice (.1);
                                        correspond with QE team re same
                                        (.2); analyze invoice, expenses re fee
                                        statement (.5); draft monthly fee
                                        statement (1.9); correspdond with M.
                                        Scheck, J. Palmerson re same (.1).

03/06/23           KJS                  Exchange correspondence with Matt                                                 0.20                 383.40
                                        Scheck and Sam Seneczko re monthly
                                        fee statement (0.2).

03/06/23           MRS                  Reviewing and revising monthly fee                                                3.50            4,614.75
                                        statement for January 2023 and
                                        conferring internally regarding the
       los angeles | new york | san francisco | silicon valley | chicago | dc | london | mannheim | tokyo| hamburg | paris | munich
     sydney | hong kong | houston | brussels | seattle | zurich | shanghai | stuttgart | perth | boston | salt lake city | riyadh | berlin |
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                                        same (3.5).

03/06/23           SS6                  Review, revise monthly fee statement                                              4.40            4,336.20
                                        exhibits (.3); correspond with M.
                                        Scheck, QE billing team re same (.2);
                                        revise monthly statement (1.9);
                                        conference with M. Scheck re same
                                        (.3); correspond with M. Scheck, J.
                                        Palmerson re same (.4); correspond
                                        with S. Rand, J. Shaffer re same (.1);
                                        prepare, finalize monthly fee
                                        statement filing version (.5);
                                        correspond with M. Pierce, LRC
                                        team, QE team, S&C team re same
                                        (.2); review filed version (.4);
                                        correspond with M. Scheck re same
                                        (.1).

03/06/23           JP                   Review and revise fee statement and                                               0.70                 800.10
                                        internal correspondence regarding
                                        same (0.7).

03/07/23           SS6                  Draft interim fee application (1.9);                                              3.70            3,646.35
                                        draft exhibits re same (1.8).

03/08/23           SS6                  Correspond with M. Scheck, J.                                                     3.70            3,646.35
                                        Palmerson re interim fee application
                                        (.1); draft fee interim application,
                                        exhibits (3.6).

03/09/23           KJS                  Analyze documents and exchange                                                    0.30                 575.10
                                        correspondence re preparation of
                                        interim fee application (0.3).

03/09/23           KJS                  Confer with M. Scheck and S.                                                      0.50                 958.50
                                        Seneczko re preparation of interim
                                        fee application (0.5).

03/09/23           MRS                  Conferring internally regarding                                                   0.80            1,054.80
                                        interim fee application and analyzing
                                        documents related to same (0.8).

03/09/23           SS6                  Correspond with M. Scheck, QE                                                     1.10            1,084.05
                                        billing team re invoices, LEDES
                                        report (.2); review same (.1);
                                        correspond with M. Scheck, J. Shaffer
                                        re interim fee app, exhibits (.3);
                                        conference with M. Scheck, J. Shaffer
                                        re fee statement (.5).

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03/13/23           SS6                  Correspond with M. Scheck, J. Shaffer                                             0.10                  98.55
                                        re interim fee app (.1).

03/14/23           KJS                  Analyze documents and exchange                                                    0.50                 958.50
                                        correspondence re preparation of
                                        interim fee application (0.5).

03/14/23           MRS                  Conferring internally regarding                                                   0.60                 791.10
                                        interim fee application and analyzing
                                        documents related to same (0.6).

03/14/23           SS6                  Correspond with M. Scheck, J. Shaffer                                             0.30                 295.65
                                        re fee app rates (.2); review materials
                                        re same (.1).

03/15/23           MRS                  Revising interim fee application and                                              0.80            1,054.80
                                        attend internal call regarding the
                                        same (0.8).

03/15/23           KJS                  Revise interim fee application and                                                0.80            1,533.60
                                        attend internal call re same (0.8).

03/15/23           KJS                  Revise interim fee application (0.3).                                             0.30                 575.10

03/15/23           SS6                  Correspond with M. Scheck, J. Shaffer                                             2.90            2,857.95
                                        re interim fee application (.2); revise
                                        fee app re same (.5); analyze diligence
                                        re same (.3); conference with M.
                                        Scheck, J. Shaffer re same (1.8);
                                        correspond with S. Rand re same (.1).

03/16/23           JP                   Review and revise February 2023 bill                                              0.80                 914.40
                                        (0.8).

03/16/23           KJS                  Revise interim fee application and                                                0.40                 766.80
                                        exchange correspondence re same
                                        (0.4).

03/17/23           KJS                  Revise interim fee application and                                                0.30                 575.10
                                        exchange correspondence re same
                                        (0.3).

03/17/23           JP                   Review and revise interim fee                                                     0.60                 685.80
                                        application (0.6).

03/17/23           SS6                  Correspond with M. Scheck re                                                      3.80            3,744.90
                                        interim fee app (.2); correspond with
                                        M. Pierce, LRC team, S&C team re
                                        same (.3); revise, review interim fee
                                        application re filing (3.1); correspond
                                        with J. Shaffer, QE team re same (.2).

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03/21/23           JP                   Review and revise February 2023 bill                                              3.40            3,886.20
                                        (3.4).

03/21/23           KJS                  Exchange correspondence and confer                                                0.40                 766.80
                                        with Matt Scheck re retention of
                                        Abrams Bayliss (0.4).

03/21/23           SS6                  Correspond with H. Robertson                                                      0.50                 492.75
                                        (LRC), LRC team, QE team re LEDES
                                        file (.2); correspond with QE billing
                                        team re same (.1); review same (.2).

03/23/23           KJS                  Exchange correspondence re meeting                                                0.10                 191.70
                                        with fee examiner (0.1).

03/23/23           SS6                  Correspond with E. Kapur, M. Scheck                                               0.90                 886.95
                                        re OCP engagement (.3); review OCP
                                        order, procedures re same (.3);
                                        correspond with M. Pierce, LRC
                                        team, E. Kapur re same (.1); review
                                        OCP declaration (.2).

03/24/23           KJS                  Exchange correspondence re fee                                                    0.20                 383.40
                                        estimate (0.2).

03/24/23           SS6                  Correspond with M. Pierce (LRC), E.                                               0.20                 197.10
                                        Kapur, LRC team re OCP declaration
                                        (.2).

03/28/23           SS6                  Correspond with M. Scheck re                                                      0.60                 591.30
                                        conflicts report (.1); correspond with
                                        J. Petiford, S&C team, LRC team re
                                        fee CNO (.2); review CNO re filing
                                        (.2); correspond with S. Rand, J.
                                        Shaffer re same (.1).

03/30/23           SS6                  Correspond with E. Kapur re OCP                                                   0.10                  98.55
                                        declaration, CNO (.1).

                                                                         SUBTOTAL                                       41.90           48,521.70

08 Investigation


03/01/23           KJS                  Exchange correspondence re                                                        0.20                 383.40
                                        professional investigations (0.2).

03/01/23           SGW                  Email correspondence with QE team                                                 4.20            8,051.40
                                        (.5); email correspondence with S&C
                                        team (.5); attention to 2004 requests to
                                        law firms (.8); review correspondence
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                                        from law firms/ attention to
                                        production issues/ plan (.8); review
                                        media coverage (.5); review case
                                        documents (.5); participate in weekly
                                        investigations team telephone
                                        conference (.6).

03/01/23           JY1                  Conference regarding report on                                                    4.60            5,444.10
                                        political and charitable contributions
                                        (.3); conference with S. Hill regarding
                                        staffing (.2); weekly investigations
                                        team meeting (.6); correspondence
                                        and review materials regarding
                                        ongoing review projects (3.5).

03/01/23           JR9                  Review and revise memo on                                                         0.70                 355.95
                                        investigations target (.6), reviewed
                                        documents for new investigations
                                        target (.1).

03/01/23           SNR                  Review investigation materials and                                                0.60                 955.80
                                        address strategy re: same (0.6).

03/01/23           KS7                  Analyze documents and                                                             1.60            1,447.20
                                        communications to evaluate in-house
                                        counsel targets (summarize same)
                                        (1.3); review family contribution
                                        documents and respond to D.
                                        Murphy re: same (.3).

03/01/23           SR3                  Reviewed documents for family                                                     6.40            4,780.80
                                        investigation targets (6.1);
                                        participated in call regarding Family
                                        Investigations (.3).

03/01/23           RP                   Review documents for counsel                                                      2.70            2,442.15
                                        investigations targets (2.5).

03/01/23           JA4                  Conference regarding report on                                                    0.50                 254.25
                                        political and charitable contributions
                                        (.3); review of documents related to
                                        family investigation targets (.2).

03/01/23           SH6                  Weekly investigations team                                                        8.30            6,984.45
                                        leadership meeting (0.6); conference
                                        with T. Murray regarding updates on
                                        2004 requests to outside counsel (0.5);
                                        conference with J. Young re:
                                        investigations staffing (0.2);
                                        conference with T. Murray regarding
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     sydney | hong kong | houston | brussels | seattle | zurich | shanghai | stuttgart | perth | boston | salt lake city | riyadh | berlin |
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                                        2004 requests to outside counsel (0.2);
                                        review invoices, general ledgers, and
                                        engagement letters for fees and
                                        services for 2004 targets (4.2); draft
                                        and prepare law firm and consultant
                                        fees chart for 2004 targets (1.4);
                                        review and analyze C. Mund findings
                                        re: whistle blowers and outside firm
                                        investigations (0.9).

03/01/23           MT9                  Review and analyze documents                                                      6.70            3,406.95
                                        related to in house counsel potential
                                        targets and create outline of
                                        information (6.7).

03/01/23           TCM                  Weekly investigations team meeting                                                1.30            1,579.50
                                        (.6); calls w/ S. Hill re. 2004s to
                                        outside counsel (.7).

03/01/23           OBY                  Analyze and summarize recent class                                                0.50                 452.25
                                        action complaint filings. (.5).

03/01/23           DRM                  Review of documents for family                                                    4.00            2,988.00
                                        investigation targets (1.2); conference
                                        re: report on political and charitable
                                        contributions (0.3); analyzing
                                        superseding indictment for its
                                        relation to political and charitable
                                        contribution report (0.6); preparing
                                        outline of political and charitable
                                        contributions report (0.9); conference
                                        with E. Turner and C. Mund re:
                                        family investigation targets
                                        document review protocol (0.4);
                                        aligning full team on strategy for
                                        ongoing doc review (0.6).

03/01/23           CM                   Conference with E. Turner and D.R.                                                8.30            4,220.55
                                        Murphy re: family investigation
                                        targets document review protocol
                                        (0.4); Research regarding law firm
                                        review (6.3); Research regarding
                                        claims against potential targets (1.6).

03/01/23           KL                   Calls and emails re staffing (.9); calls                                          2.20            3,504.60
                                        re draft interim report (.4); weekly
                                        investigations team meeting (.6);
                                        review media reports (.3).


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03/01/23           ET3                  Conference with E. Turner, C. Mund,                                               0.40                 203.40
                                        and D.R. Murphy re: family
                                        investigation targets document
                                        review protocol (0.4).

03/02/23           JR9                  Review and revise legal research                                                  6.70            3,406.95
                                        memo on investigations target
                                        targeted search requests (3.5),
                                        Conference regarding D. Friedberg
                                        review (.5), meeting with R. Pelley,
                                        regarding review of documents
                                        related to investigation targets (.5),
                                        reviewed complaints and other
                                        public information on investigation
                                        target (2.2).

03/02/23           ET3                  Reviewing and flagging documents                                                  3.00            1,525.50
                                        responsive to family investigation (3).

03/02/23           SGW                  Email correspondence with QE team                                                 3.10            5,942.70
                                        (.5); review media coverage (.8);
                                        review draft debtors report (.5);
                                        review case documents from review
                                        process (.8); attention to 2004 requests
                                        to law firms (.5).

03/02/23           JY1                  Conference regarding in house                                                     7.70            9,112.95
                                        counsel review (.5); review and revise
                                        memo regarding Bahamas real estate
                                        (1.5); correspondence and review
                                        materials regarding ongoing small
                                        firm review projects (2.8); review
                                        background check materials related
                                        to insiders (1.7); review outline of
                                        proposed report on charitable
                                        contributions (1.2).

03/02/23           SR3                  Reviewed documents for family                                                     7.20            5,378.40
                                        investigation targets (7.2).

03/02/23           JA4                  Review of documents for family                                                    2.40            1,220.40
                                        investigations targets (2.4).

03/02/23           RP                   Review documents related to                                                       5.80            5,246.10
                                        investigations target (3.5); conference
                                        regarding in-house counsel review
                                        (.5); draft email summarizing
                                        documents identified during search
                                        related to investigation targets (1.0);

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                                        conference regarding counsel
                                        conflicts review (.3); meeting with J.
                                        Robbins regarding review of
                                        documents related to investigation
                                        targets (.5).

03/02/23           SH6                  Conference with J. Young, R. Pelley,                                              8.60            7,236.90
                                        and J. Robbins re: in-house counsel
                                        investigation review (0.5); conference
                                        with T. Murray re: 2004 requests to
                                        outside counsel (0.4); conference with
                                        K. Lemire and T. Murray re: law firm
                                        2004 requests (0.6); review invoices,
                                        engagement letters, and
                                        correspondence for law firm and
                                        consultant 2004 requests and update
                                        chart regarding fees re: same (4.7);
                                        review and analyze A&M report on
                                        priority law firm transactions (0.6);
                                        review and analyze R. Pelley findings
                                        re: outside law firm target and money
                                        transmitter license revocation and
                                        correspondence with investigations
                                        leadership team: same (1.8).

03/02/23           MT9                  Review and analyze documents                                                      5.60            2,847.60
                                        related to in house counsel potential
                                        targets and interviewees and create
                                        outline of information (5.6).

03/02/23           CM                   Conference regarding counsel                                                      8.60            4,373.10
                                        conflicts review (.3); research
                                        regarding law firm review (3.1);
                                        research regarding claims against
                                        potential targets (5.2).

03/02/23           TCM                  Review of investigations team                                                     1.70            2,065.50
                                        revised list of 2004s to outside
                                        counsel (.3); call w/ S. Hill re. same
                                        (.4); investigations team call re. same
                                        (.6); emails w/ investigations team re.
                                        2004 addressees (.1); review of A&M
                                        law firm transaction spreadsheets
                                        (.3).

03/02/23           KL                   Emails re interim report (.1); review                                             2.80            4,460.40
                                        and distribute relevant media
                                        coverage (.3); calls re documents of

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                                        interest and 2004 requests (1.2);
                                        review documents of interest (.6); tc
                                        T. Murray, S. Hill (.6).

03/02/23           OBY                  Analyze class action proceedings                                                  1.30            1,175.85
                                        arising across country. (1.3).

03/02/23           OBY                  Correspondence with S. Williamson                                                 0.10                  90.45
                                        and counsel on 2004 request. (.1).

03/03/23           JR9                  Reviewed complaints and other                                                     5.40            2,745.90
                                        public information on investigation
                                        target (5.4).

03/03/23           ET3                  Reviewing and flagging documents                                                  3.30            1,678.05
                                        responsive to family investigation (3).

03/03/23           KS7                  Analyze documents and                                                             1.00                 904.50
                                        communications to evaluate in-house
                                        counsel targets (summarize same) (1).

03/03/23           SGW                  Email correspondence with QE team                                                 2.30            4,409.10
                                        (.5); review media coverage (.5);
                                        attention to 2004 requests for law
                                        firms (.5); attention to drafting
                                        interim report/ review outline for
                                        report (.8).

03/03/23           JY1                  Conference with A&M regarding                                                     1.40            1,656.90
                                        bank accounts (.4); conference
                                        regarding law firm 2004 requests (.3);
                                        review materials related to small firm
                                        investigations and correspondence
                                        regarding small firm review (.7).

03/03/23           SR3                  Reviewed documents for family                                                     7.30            5,453.10
                                        investigation targets (7.3).

03/03/23           RP                   Review documents related to                                                       1.30            1,175.85
                                        investigation targets (.5); draft email
                                        summarizing certain findings related
                                        to investigations target (.6); draft
                                        email regarding document search
                                        results related to investigations
                                        targets (.2).

03/03/23           SH6                  Conference with QE and A&M teams                                                  7.90            6,647.85
                                        re: bank accounts and reports (0.4);
                                        conference with QE leadership
                                        investigations team re: law firm 2004
                                        requests (0.3); review and revise the
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     sydney | hong kong | houston | brussels | seattle | zurich | shanghai | stuttgart | perth | boston | salt lake city | riyadh | berlin |
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                                        list of law firms and consultants for
                                        2004 requests (1.1); draft meet and
                                        confer letters re: 2004 requests to 23
                                        law firms, prepare redlines and
                                        correspond with investigations
                                        leadership team re: same (6.1).

03/03/23           MT9                  Review and analyze documents                                                      5.80            2,949.30
                                        related to in house counsel potential
                                        targets and interviewees and create
                                        outline of information (5.8).

03/03/23           CM                   Research regarding claims against                                                 6.80            3,457.80
                                        potential targets (6.8).

03/03/23           TCM                  Call w/ A&M re. bank prioritization                                               0.90            1,093.50
                                        (.4); investigations team call re. 2004s
                                        for outside counsel (.3); review of
                                        outline for JJR report on control
                                        failures (.2).

03/03/23           DRM                  Reviewing and revising political and                                              2.60            1,942.20
                                        charitable contributions report (2.3);
                                        analyzing legal research memo re:
                                        investigatory target properties (0.3).

03/03/23           KL                   Review law firm and bank 2004                                                     5.30            8,442.90
                                        requests, and underlying
                                        documentation (2.4); review
                                        documents of interest (1.4); calls with
                                        A&M and internal re prioritizing
                                        bank and law firm 2004 requests (1.1);
                                        emails re interim report (.4).

03/03/23           OBY                  Analysis of class action claims in                                                1.00                 904.50
                                        recently filed cases. (1.0).

03/04/23           SGW                  Prepare for and participate in                                                    1.60            3,067.20
                                        telephone conference with QE and
                                        S&C investigations teams (.5);
                                        attention to drafting interim report
                                        (.5); review media coverage (.3);
                                        email correspondence with QE team
                                        (.3).

03/04/23           SR3                  Reviewed documents for family                                                     2.10            1,568.70
                                        investigation targets (2.1).

03/04/23           SH6                  Conference with C. Mund re: outside                                               0.50                 420.75
                                        law firm findings (0.5).

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03/04/23           WAB                  Review draft complaint against                                                    2.00            3,834.00
                                        Grayscale (2.0).

03/04/23           CM                   Research regarding claims against                                                 4.10            2,084.85
                                        potential targets (1.3); Conference
                                        with S. Hill regarding counsel
                                        conflicts review (.5); Revise research
                                        regarding law firm review (2.3).

03/04/23           KL                   Review interim report outline,                                                    1.30            2,070.90
                                        discuss with S&C, edit outline, and
                                        email re same to investigations team
                                        supervisors (1.3).

03/05/23           CM                   Revise research regarding law firm                                                2.80            1,423.80
                                        review (2.8).

03/05/23           SGW                  Email correspondence with QE team                                                 0.90            1,725.30
                                        (.3); attention to drafting interim
                                        report (.3); telephone conference with
                                        QE investigations team (.3).

03/05/23           JY1                  Conference regarding interim report                                               1.60            1,893.60
                                        on institutional controls (.7);
                                        conference with D. Murphy
                                        regarding interim report drafting (.1);
                                        correspondence and review materials
                                        regarding interim report drafting (.8).

03/05/23           KS7                  Analyze documents and                                                             3.60            3,256.20
                                        communications to evaluate in-house
                                        counsel targets (summarize same)
                                        (3.6).

03/05/23           JR9                  Reviewed memorandum on                                                            0.20                 101.70
                                        investigation target (.1),
                                        correspondence re: new
                                        investigations target (.1).

03/05/23           RP                   Review documents related to                                                       0.60                 542.70
                                        investigation targets (.6).

03/05/23           SH6                  Conference with K. Lemire, T.                                                     0.70                 589.05
                                        Murray and J. Young re: interim
                                        report on institutional controls (0.7).

03/05/23           MT9                  Review and analyze documents for in                                               4.50            2,288.25
                                        house counsel potential targets and
                                        interviewees and create outline of
                                        information (4.5).

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03/05/23           JA4                  Review of documents related to                                                    3.10            1,576.35
                                        family investigation targets (3.1).

03/05/23           WAB                  Review/revise press release for                                                   0.60            1,150.20
                                        Grayscale lawsuit (0.2); call with J.
                                        Ray re 2004 litigation strategy (0.4).

03/05/23           TCM                  Investigations team call re. interim                                              0.70                 850.50
                                        report on internal controls (.7).

03/05/23           DRM                  Conference with J. Young regarding                                                0.10                  74.70
                                        interim report drafting (.1).

03/05/23           KL                   Review media stories (.7); outline                                                2.50            3,982.50
                                        draft interim report sections and
                                        review underlying documents (1.1);
                                        conference regarding interim report
                                        on institutional controls (.7).

03/06/23           CM                   Research regarding claims against                                                 5.10            2,593.35
                                        potential targets (2.8); Revise research
                                        regarding law firm review (2.3).

03/06/23           ET3                  Conference with J. Young regarding                                                3.80            1,932.30
                                        drafting of interim report (.2);
                                        reviewing interviews with key people
                                        for quotations relevant to drafting of
                                        interim report (3.6).

03/06/23           KJS                  Exchange correspondence re                                                        0.20                 383.40
                                        professionals investigation (0.2).

03/06/23           SGW                  Email correspondence with QE team                                                 3.20            6,134.40
                                        (.5); review media coverage (.3);
                                        attention to drafting interim report
                                        (.6); attention to 2004 requests (.7);
                                        review court filings re examiner
                                        appeal (.3); review case documents
                                        (.5); review documents from S&C (.3).

03/06/23           JY1                  Conference with K. Sullivan and M.                                                4.90            5,799.15
                                        Trainor regarding interim report
                                        drafting (.1); Conference with R.
                                        Pelley and J. Robbins regarding
                                        interim report on control failures (.4);
                                        conference with E. Turner regarding
                                        drafting of interim report (.2);
                                        conference regarding interim report
                                        drafting and potential witness
                                        interviews (.4); correspondence and

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                                        review materials related to proposed
                                        interim report (3.8).

03/06/23           KS7                  Conference with J. Young and M.                                                   3.40            3,075.30
                                        Trainor regarding interim report
                                        drafting (.1); conference with K.
                                        Sullivan and M. Trainor regarding
                                        interim report drafting assignments
                                        (.1); analyze documents and
                                        communications to evaluate in-house
                                        counsel targets (summarize same)
                                        (2.2); prepare background section of
                                        the interim draft report (1).

03/06/23           WAB                  Weekly investigations coordinating                                                1.90            3,642.30
                                        call (0.5); review and comment on
                                        Zhang letter from Dec 2021 and
                                        follow-up by in house
                                        lawyers/employees (0.8); Grayscale
                                        lawsuit press release and filing (0.6).

03/06/23           SNR                  Various t/c w/ investigation team and                                             0.80            1,274.40
                                        K. Lemire re: investigation plan and
                                        findings (0.8).

03/06/23           RP                   Conference regarding interim report                                               4.70            4,251.15
                                        on control failures (.4); follow up
                                        conference regarding same (.1);
                                        conference regarding investigation
                                        target (.1); draft memo summarizing
                                        investigation finding (1.9); conference
                                        regarding interim report on control
                                        failures (.2); draft legal and
                                        regulatory section to interim report
                                        on control failures (2.0).

03/06/23           SR3                  Reviewed documents for counsel                                                    4.50            3,361.50
                                        conflicts and family targets
                                        investigation (4.5).

03/06/23           MT9                  Conference with J. Young and K.                                                   2.50            1,271.25
                                        Sullivan regarding interim report
                                        drafting (.1); conference with K.
                                        Sullivan and M. Trainor re interim
                                        report drafting assignments (.1);
                                        prepare background section of
                                        interim report (2.3).

03/06/23           DRM                  Preparing D. Friedberg portion of                                                 3.00            2,241.00

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                                        interim report (1.9); reviewing and
                                        revising D. Friedberg portion of
                                        interim report (0.3); identifying
                                        documents related to D. Friedberg
                                        misconduct (0.8).

03/06/23           TCM                  Investigations team call re. interim                                              0.20                 243.00
                                        report drafting and potential witness
                                        interviews (.2) (late arrival).

03/06/23           KL                   Emails and calls re interim report                                                5.30            8,442.90
                                        (1.3); review documents of interest
                                        (2.1); weekly investigations call with
                                        J. Ray and S&C (.5); emails and calls
                                        re 2004 requests (.3); calls and emails
                                        re staffing (.7); conference regarding
                                        interim report drafting and potential
                                        witness interviews (.4).

03/07/23           JR9                  Prepared legal and regulatory section                                             6.00            3,051.00
                                        for interim report (6).

03/07/23           CM                   Revise research regarding law firm                                                8.00            4,068.00
                                        review (2.8); Research regarding
                                        claims against potential targets (5.2).

03/07/23           ET3                  Reviewing interviews with key                                                     5.90            3,000.15
                                        people for quotations relevant to
                                        drafting of interim report (5.9).

03/07/23           JY1                  Correspondence and review and                                                     4.30            5,089.05
                                        revise materials related to interim
                                        report (4.3).

03/07/23           SGW                  Email correspondence with QE team                                                 2.30            4,409.10
                                        (.3); email correspondence with S&C
                                        team (.3); attention to drafting interim
                                        report (.5); review case documents
                                        (.5); review media coverage (.3);
                                        attention to current/former employee
                                        interviews (.3); telephone conference
                                        with S. Rand (.2).

03/07/23           KS7                  Prepare and revise background                                                     1.20            1,085.40
                                        section of interim report (1.2).

03/07/23           WAB                  Weekly steering committee call (0.7);                                             2.20            4,217.40
                                        weekly board call (0.5); investigation
                                        of in house attorneys (1.0).

03/07/23           SNR                  Address investigation strategic issues                                            0.50                 796.50
       los angeles | new york | san francisco | silicon valley | chicago | dc | london | mannheim | tokyo| hamburg | paris | munich
     sydney | hong kong | houston | brussels | seattle | zurich | shanghai | stuttgart | perth | boston | salt lake city | riyadh | berlin |
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                                        w/ K. Lemire and others.(0.5).

03/07/23           RP                   Draft legal and regulatory section to                                             7.10            6,421.95
                                        interim report on control failures
                                        (7.1).

03/07/23           SR3                  Reviewed documents for counsel                                                    7.20            5,378.40
                                        conflicts and family targets
                                        investigation (7.2).

03/07/23           MT9                  Prepare background section of                                                     5.20            2,644.20
                                        interim report, including section on
                                        prior crypto bankruptcies, the FTX
                                        entities, and the products and
                                        services offered (5.2).

03/07/23           APA                  Prepare for meet and confer with                                                  1.00            1,440.00
                                        subject of discovery request (0.7);
                                        attend meet and confer with
                                        discovery target (0.3).

03/07/23           JA4                  Review of docs related to family                                                  0.50                 254.25
                                        investigations targets (.5).

03/07/23           KL                   Emails and calls re 2004 letters (.3);                                            5.00            7,965.00
                                        calls and emails re interim report
                                        (1.3); calls and emails re internal
                                        staffing issues (1.3); review
                                        documents of interest (1.4); review
                                        interim report draft (.7).

03/07/23           DRM                  Identifying documents to support                                                  0.60                 448.20
                                        interim report (0.4); reviewing and
                                        revising interim report to include
                                        newly identified documents (0.2).

03/08/23           JR9                  Review and revise legal and                                                       6.80            3,457.80
                                        regulatory section for interim report
                                        (6.8).

03/08/23           OBY                  Legal research on class actions and                                               1.20            1,085.40
                                        effect of class actions on bankruptcy.
                                        (1.2).

03/08/23           CM                   Revise research regarding law firm                                                8.50            4,322.25
                                        review (1.2); prepare response
                                        regarding law firm review (1.8);
                                        research regarding claims against
                                        potential targets (5.5).

03/08/23           ET3                  Reviewing interviews with key                                                     8.00            4,068.00

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     sydney | hong kong | houston | brussels | seattle | zurich | shanghai | stuttgart | perth | boston | salt lake city | riyadh | berlin |
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                                        people for quotations relevant to
                                        drafting of interim report (8).

03/08/23           JY1                  Conference with A&M, K. Lemire,                                                   4.20            4,970.70
                                        and T. Murray regarding interim
                                        report drafting (.4); review and revise
                                        materials related to interim report
                                        (3.8).

03/08/23           SGW                  Email correspondence with QE team                                                 2.90            5,559.30
                                        (.5); review media coverage (.3);
                                        attention to current/ former employee
                                        interviews and scheduling (.3);
                                        review/ edit draft interim report (.8);
                                        review case documents (.5); review
                                        S&C interview memos (.5).

03/08/23           WAB                  Review hot docs on in house                                                       0.90            1,725.30
                                        personnel (.9).

03/08/23           KS7                  Review documents and revise                                                       0.80                 723.60
                                        November timeline re: same (.8).

03/08/23           RP                   Review documents related to                                                     10.70             9,678.15
                                        investigations targets and draft
                                        interim report on control failures
                                        (4.0); draft interim report on control
                                        failures (6.5); conference on legal and
                                        regulatory section to interim report
                                        (.2).

03/08/23           SR3                  Participated in call related to family                                            5.70            4,257.90
                                        investigations (.7); reviewed
                                        documents for counsel
                                        conflicts/family investigation targets
                                        (5).

03/08/23           SH6                  Prepare conflict check for law firm                                             11.10             9,340.65
                                        2004 targets (0.5); review and revise
                                        meet and confer letters re: 2004
                                        requests to 23 law firms, search
                                        database for additional engagement
                                        letters and correspondence with
                                        support staff re: preparing the same
                                        (3.9); review sent 2004 requests for 2
                                        banks and draft additional 2004
                                        requests for 6 banks (1.8); conference
                                        with QE and A&M teams re: follow
                                        up on banking prioritization (0.5);

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     sydney | hong kong | houston | brussels | seattle | zurich | shanghai | stuttgart | perth | boston | salt lake city | riyadh | berlin |
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                                        review and analyze documents of
                                        interest from S&C team and pull
                                        follow up documentation (2.1); pull
                                        bank records from S&C and A&M for
                                        review (0.8); review and analyze
                                        flagged documents re: family issues
                                        and political contributions (1.5).

03/08/23           MT9                  Conduct research re FTX                                                           2.50            1,271.25
                                        representations to the public for
                                        interim report (2.5).

03/08/23           APA                  Emails to and from J. Palmerson and                                               0.80            1,152.00
                                        S. Rand regarding discovery (0.2);
                                        review documents regarding
                                        investigation (0.4); emails to and from
                                        O. Yeffet regarding document
                                        production (0.2).

03/08/23           DRM                  Conferring with R. Pelley re: new                                                 3.30            2,465.10
                                        document search in D. Friedberg
                                        portion of interim memo (0.2);
                                        reviewing documents to seek specific
                                        support for D. Friedberg portion of
                                        interim memo (2.6); analyzing C. Sun
                                        interview memo (0.5).

03/08/23           KL                   Review interview memos and other                                                  4.60            7,327.80
                                        documents of interest (1.7); review
                                        media stories (.7); review and
                                        forward documents of interest to
                                        investigations team members (1.1);
                                        calls and email re interim report (.5);
                                        call with A&M re bank data (.3); call
                                        with investigations team re interim
                                        report and in-house counsel
                                        interviews (.3).

03/08/23           TCM                  Call w/ A&M and investigations team                                               0.90            1,093.50
                                        re. interim report drafting (.4); review
                                        of in-house counsel materials (.3);
                                        review of A&M spreadsheet re. bank
                                        activity (.2).

03/08/23           AB9                  Review C. Sun interview and FTX                                                   1.20                 610.20
                                        organizational chart (1.2).

03/09/23           JR9                  Prepared legal and regulatory section                                             8.40            4,271.40
                                        for interim report (8.4).

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03/09/23           OBY                  Call with S. Hill on 2004 requests (.4).                                          0.40                 361.80

03/09/23           OBY                  Meet and confer with K. Lemire and                                                0.30                 271.35
                                        target on 2004 request. (.3).

03/09/23           OBY                  Meeting with Investigations Team                                                  0.70                 633.15
                                        related to Interim Report. (.7).

03/09/23           OBY                  Correspondence with K. Lemire, S.                                                 0.50                 452.25
                                        Williamson, S. Hill on 2004 requests
                                        and action items from meet and
                                        confer. (.5).

03/09/23           DRM                  Investigations full team meeting re:                                              0.70                 522.90
                                        interim report (0.7).

03/09/23           CM                   Conference regarding interim report                                               6.80            3,457.80
                                        update (.7); prepare response
                                        regarding law firm review (2.8);
                                        research regarding claims against
                                        potential targets (3.3).

03/09/23           ET3                  Drafting and editing interim report                                               5.80            2,949.30
                                        section on management and
                                        governance (5.1); Investigations team
                                        conference led by K. Lemire and J.
                                        Young (0.7).

03/09/23           JY1                  Team meeting regarding interim                                                    4.50            5,325.75
                                        report (.7); review and revise
                                        materials related to interim report
                                        (2.3); correspondence regarding in-
                                        house counsel review projects (1.5).

03/09/23           KS7                  Confer with investigations team re:                                               0.70                 633.15
                                        interim report update (.7).

03/09/23           SNR                  Address investigation plan w/ K.                                                  0.50                 796.50
                                        Lemire (0.5).

03/09/23           RP                   Review documents related to draft                                                 9.10            8,230.95
                                        interim report on control failures
                                        (4.0); draft legal and regulatory
                                        section to interim report on control
                                        failures (4.4); conference on interim
                                        report on control failures (.7).

03/09/23           SR3                  Reviewed documents for counsel                                                    5.00            3,735.00
                                        conflicts/family investigation targets
                                        (5).

03/09/23           SH6                  Conference with QE leadership team                                                9.40            7,910.10
       los angeles | new york | san francisco | silicon valley | chicago | dc | london | mannheim | tokyo| hamburg | paris | munich
     sydney | hong kong | houston | brussels | seattle | zurich | shanghai | stuttgart | perth | boston | salt lake city | riyadh | berlin |
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                                        re: Interim report update (0.7);
                                        conference with O. Yeffet re: 2004
                                        requests to law firms and banks (0.4);
                                        review and analyze interim report
                                        outline (0.4); review and analyze in-
                                        house counsel targets interview list,
                                        timeline, and QE reviewers findings,
                                        pull target contact information and
                                        correspond with investigations team
                                        leadership re: same (4.1);
                                        correspondence with QE team re:
                                        media updates and staffing for same
                                        (0.5); review and analyze call notes
                                        with Fenwick re: document requests,
                                        pull response to Fenwick request for
                                        domain names, and emails with J.
                                        Young and O. Yeffet re: same (0.9);
                                        review of documents, draft findings
                                        on venture book target and
                                        correspondence with QE venture
                                        book team re: same (1.1); prepare
                                        2004 letter work flow and
                                        correspondence with O. Yeffet re:
                                        same (1.3).

03/09/23           MT9                  Conference with investigations team                                               4.30            2,186.55
                                        re status of interim report and
                                        updates (0.7); review and analyze
                                        documents re in house counsel
                                        potential targets and interviewees
                                        and outline findings (3.6).

03/09/23           APA                  Emails to and from O. Yeffet                                                      0.50                 720.00
                                        regarding meet and confer (0.2);
                                        emails to and from S. Rand and A.
                                        Kutscher regarding documents (0.1);
                                        attention to emails from service
                                        provider and Sullivan counsel (1.4).

03/09/23           JA4                  Participated in meeting re first                                                  4.30            2,186.55
                                        interim report (.7); review of
                                        documents related to family
                                        investigation targets (3.6).

03/09/23           KL                   Review media coverage (.6); review                                                6.60          10,513.80
                                        documents of interest (2.4); calls and
                                        meetings re interim report (1.7);
                                        emails re in-house counsel
       los angeles | new york | san francisco | silicon valley | chicago | dc | london | mannheim | tokyo| hamburg | paris | munich
     sydney | hong kong | houston | brussels | seattle | zurich | shanghai | stuttgart | perth | boston | salt lake city | riyadh | berlin |
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                                        investigation (.3); edit and send
                                        emails re interim report (.6); emails
                                        and calls re 2004 requests (1.0).

03/10/23           KJS                  Exchange correspondence re                                                        0.20                 383.40
                                        professionals’ investigations (0.2).

03/10/23           KJS                  Attend QE team call re 2004 requests                                              1.00            1,917.00
                                        to support investigations (1.0).

03/10/23           JR9                  Prepared legal and regulatory section                                             3.20            1,627.20
                                        for interim report (3.2).

03/10/23           SNR                  Address insider investigation                                                     1.20            1,911.60
                                        strategy and review memos re: same.
                                        (1.2).

03/10/23           OBY                  Strategy call with team discussing                                                1.00                 904.50
                                        2004 requests. (1.0).

03/10/23           OBY                  Call with K. Lemire, S. Hill, and J.                                              0.50                 452.25
                                        Young to discuss 2004 requests. (.5).

03/10/23           OBY                  Revise 2004 meet and confer requests                                              2.40            2,170.80
                                        to 12 potential targets; prepare
                                        spreadsheet with all 2004 requests
                                        and related information. (2.4).

03/10/23           DRM                  Reviewing and revising charitable                                                 2.30            1,718.10
                                        and political giving issues memo
                                        (2.3).

03/10/23           CM                   Prepare response regarding law firm                                               8.20            4,169.70
                                        review (5.5); research regarding
                                        claims against potential targets (2.7).

03/10/23           KL                   Calls and emails re staffing and                                                  4.60            7,327.80
                                        document reviews (.3); review media
                                        coverage (.6); review updates re in-
                                        house counsel investigation (.2); call
                                        with investigation team re 2004
                                        requests (.5); calls and emails re in-
                                        house counsel interviews (.3);
                                        internal QE team call re 2004 requests
                                        (1.0); review 2004 requests (.2);
                                        review and edit drafts of interim
                                        report (1.5).

03/10/23           JP                   Conference call with team regarding                                               1.00            1,143.00
                                        status of Rule 2004 negotiations and
                                        productions and outgoing Rule 2004

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                                        requests (1.0).

03/10/23           AK2                  Attend meeting re: Rule 2004                                                      1.20            1,458.00
                                        discovery requests (1.0); confer with
                                        S. Hill re: Rule 2004 discovery targets
                                        (.1); confer with O. Yeffet re: same
                                        (.1).

03/10/23           ET3                  Drafting and editing interim report                                               8.60            4,373.10
                                        section on management and
                                        governance (8.6).

03/10/23           JY1                  Conference regarding 2004 requests                                                5.80            6,864.30
                                        (.5); conference with S. Rand et al
                                        regarding 2004 requests (1);
                                        correspondence regarding 2004
                                        request issues (1.2); review and revise
                                        materials related to interim report
                                        (2.3); correspondence regarding
                                        review projects (.8).

03/10/23           RP                   Review documents related to legal                                                 7.00            6,331.50
                                        and regulatory section of interim
                                        report on control failures (1.5); draft
                                        legal and regulatory section of
                                        interim report on control failures
                                        (5.5).

03/10/23           SR3                  Reviewed documents for counsel                                                    4.20            3,137.40
                                        conflicts/family investigation targets
                                        (4.2).

03/10/23           SH6                  Conference with K. Lemire, J. Young,                                              6.80            5,722.20
                                        and O. Yeffet re: 2004 requests to law
                                        firms and banks status (0.5);
                                        correspondence with K. Lemire and
                                        M. Scheck re: 2004 conflict checks
                                        (0.4); review target chart in
                                        preparation for QE team call re: 2004
                                        requests (0.2); conference with QE
                                        investigations leadership team re:
                                        2004 requests to law firms and banks
                                        (1.0); review and revise outside target
                                        memo and emails with E. Turner re:
                                        same (1.6); review and analyze S&C
                                        interview memorandums and
                                        documents of interest (2.2);
                                        correspondence with A&M re: bank
                                        contacts and review and revise bank
       los angeles | new york | san francisco | silicon valley | chicago | dc | london | mannheim | tokyo| hamburg | paris | munich
     sydney | hong kong | houston | brussels | seattle | zurich | shanghai | stuttgart | perth | boston | salt lake city | riyadh | berlin |
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                                        2004s re same (0.9).

03/10/23           MT9                  Review and revise background                                                      0.20                 101.70
                                        section of interim report (0.2).

03/10/23           APA                  Review and revise emails to                                                       1.20            1,728.00
                                        discovery targets regarding
                                        document production (0.2);
                                        teleconference with QE investigations
                                        team regarding status and tasks (1.0).

03/10/23           SGW                  Email correspondence with QE team                                                 2.10            4,025.70
                                        (.5); email correspondence with law
                                        firms re 2004 requests (.3); attention
                                        to drafting interim report (.8); review
                                        media coverage (.5).

03/11/23           JP                   Review and revise tracker of Rule                                                 0.20                 228.60
                                        2004 negotiations and productions
                                        and outgoing Rule 2004 requests
                                        (0.2).

03/11/23           KL                   Review interview memos (.5).                                                      0.50                 796.50

03/11/23           CM                   Prepare response regarding claims                                                 0.30                 152.55
                                        against potential targets (.3).

03/11/23           SGW                  Email correspondence with QE team                                                 3.30            6,326.10
                                        (.5); review/ edit draft interim report
                                        sections (2.8).

03/11/23           TCM                  Review and edit management and                                                    2.90            3,523.50
                                        governance section of interim report
                                        (2.9).

03/12/23           OBY                  Analyze news coverage related to                                                  0.50                 452.25
                                        class action lawsuits. (.5).

03/12/23           KL                   Edit draft interim report (1.5).                                                  1.50            2,389.50

03/12/23           OBY                  Revise 2004 meet and confer letters to                                            1.50            1,356.75
                                        potential target; update tracker re:
                                        same. (1.5).

03/12/23           JY1                  Review and revise draft interim                                                   2.50            2,958.75
                                        report (2.5).

03/12/23           JR9                  Review and revise legal and                                                       1.10                 559.35
                                        regulatory section of the interim
                                        report (1.1).

03/12/23           RP                   Identifying documents in response to                                              0.20                 180.90

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                                        edits to legal and regulatory section
                                        to interim report on control failures
                                        (.2).

03/12/23           APA                  Emails to and from J. Palmerson                                                   0.10                 144.00
                                        regarding discovery (0.1).

03/12/23           TCM                  Review and edit legal and regulatory                                              2.60            3,159.00
                                        section of interim report (2.6).

03/12/23           JA4                  Review of documents related to                                                    1.00                 508.50
                                        family investigation targets (1.0).

03/12/23           SGW                  Email correspondence with QE team                                                 3.10            5,942.70
                                        (.5); review/ edit draft interim report
                                        sections (1.8); attention to current/
                                        former employee interview plans (.3);
                                        email correspondence with S&C (.2);
                                        email correspondence with law firms
                                        re 2004 requests (.3).

03/13/23           OBY                  Correspondence with K. Lemire and                                                 2.00            1,809.00
                                        S. Williamson regarding 2004 request
                                        (.2); revise tracker on all outstanding
                                        2004 requests (1.7); correspondence
                                        with 2004 team re: tracker (.1).

03/13/23           OBY                  Review of dockets and update tracker                                              0.80                 723.60
                                        on relevant class action suits. (.8).

03/13/23           OBY                  Correspondence with A. Alden                                                      0.20                 180.90
                                        related to 2004 meet and confer. (.2).

03/13/23           JR9                  Review and revise interim report                                                  4.80            2,440.80
                                        (4.8).

03/13/23           ET3                  Editing interim report draft section                                              2.70            1,372.95
                                        on management and governance (.3);
                                        reviewing documents and drafting
                                        report on law firm investigation (2.4).

03/13/23           CM                   Research regarding claims against                                                 6.40            3,254.40
                                        potential targets (5.2); Prepare
                                        additional documentation regarding
                                        law firm review (1.2).

03/13/23           KL                   Review media stories (.2); call with                                              1.80            2,867.40
                                        S&C re interim report (.3); review
                                        materials for and edit interim report
                                        (.8); prepare summary of
                                        investigations work for internal QE

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                                        meeting (.3); review documents of
                                        interest (.2).

03/13/23           JY1                  Review and revise materials related                                               4.10            4,852.35
                                        to interim report (2.5);
                                        correspondence regarding 2004
                                        request issues (1.2); correspondence
                                        regarding memo on key inside
                                        counsel (.4).

03/13/23           WAB                  Call with J. Ray re litigation strategy                                           0.60            1,150.20
                                        (.6).

03/13/23           KJS                  Exchange correspondence re                                                        0.30                 575.10
                                        professionals’ investigation (0.3).

03/13/23           RP                   Revise memo on investigation target                                               1.70            1,537.65
                                        (1.7).

03/13/23           SR3                  Reviewed documents for counsel                                                    6.50            4,855.50
                                        conflicts/family investigation targets
                                        (6.5).

03/13/23           SH6                  Prepare outside counsel modules and                                               8.30            6,984.45
                                        correspondence with C. Mund, M.
                                        Mandell, and FTI consultants re:
                                        same (2.1); correspondence with QE
                                        team re: conflict checks for 2004
                                        requests (0.2); review documents re:
                                        gift to family and correspondence
                                        with QE team re: same (1.9);
                                        correspondence with QE team re:
                                        media updates and distribute articles
                                        of interest (1); review and analyze
                                        S&C employee interview
                                        memorandums and notes (3.1);
                                        collect digest of documents of interest
                                        and interview memos and notes for
                                        QE leadership (0.5).

03/13/23           TCM                  Review and edit background section                                                2.30            2,794.50
                                        of interim report (2.3).

03/13/23           SGW                  Email correspondence with QE team                                                 2.90            5,559.30
                                        (.3); prepare for and participate in
                                        telephone conference with S&C re
                                        report drafting (.3); attention to
                                        correspondence with law firms re
                                        2004 requests (.5); attention to
                                        drafting interim report sections (1.2);
       los angeles | new york | san francisco | silicon valley | chicago | dc | london | mannheim | tokyo| hamburg | paris | munich
     sydney | hong kong | houston | brussels | seattle | zurich | shanghai | stuttgart | perth | boston | salt lake city | riyadh | berlin |
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                                        review materials from S&C (.3);
                                        review media coverage (.3).

03/14/23           KL                   Calls and emails re interim report                                                6.00            9,558.00
                                        (.6); review media stories (.5); edit
                                        interim report (4.9).

03/14/23           OBY                  Meeting with J. Palmerson, J. Young,                                              0.40                 361.80
                                        S. Hill related to upcoming 2004
                                        requests. (.4).

03/14/23           OBY                  Meet and confer with A. Alden and                                                 0.40                 361.80
                                        2004 target (.2); follow up
                                        correspondence on meet confer (.2).

03/14/23           OBY                  Correspondence on 2004 requests                                                   0.30                 271.35
                                        with A. Alden, J. Palmerson, J.
                                        Young, and S. Hill; update 2004
                                        tracker with pertinent information.
                                        (.3).

03/14/23           ET3                  Conference with S. Hill on analysis                                               5.90            3,000.15
                                        and revisions of outside counsel
                                        target module (0.4); drafting outside
                                        counsel target module (5.5).

03/14/23           CM                   Research regarding claims against                                                 6.90            3,508.65
                                        potential targets (6.2); analyze court
                                        filings and other documents related
                                        to potential claims (.7).

03/14/23           AK2                  Confer with J. Palmerson re:                                                      0.20                 243.00
                                        document productions from Rule
                                        2004 subpoenas and next steps re:
                                        same, confer with S. Rand and J.
                                        Shaffer re: same (.2).

03/14/23           MT9                  Review and analyze documents re                                                   7.30            3,712.05
                                        representations to investors (3.2);
                                        prepare interim report section on
                                        same (4.1).

03/14/23           JY1                  Correspondence and conferences                                                    8.60          10,178.10
                                        regarding 2004 requests (2.3); review
                                        and revise memo on key inside
                                        counsel (1.2); correspondence
                                        regarding drafting of interim report
                                        and review and revise interim report
                                        (4.2); review and revise materials
                                        related to potential interviews (.9).

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03/14/23           JR9                  Review and revise legal and                                                       9.40            4,779.90
                                        regulatory section of the interim
                                        report (1.1), prepared new section of
                                        interim report (8.3).

03/14/23           KJS                  Analyze documents re investigation                                                0.80            1,533.60
                                        and preparation of interim report
                                        (0.8).

03/14/23           SH6                  Conference with QE investigations                                                 7.20            6,058.80
                                        leadership team re: 2004 requests to
                                        law firms and banks (0.4); review and
                                        revise outside counsel target
                                        memorandum (0.5); conference with
                                        E. Turner re: same (0.4); review
                                        support payment backup and report
                                        from A&M re: counsel fees and
                                        family disbursements (0.5);
                                        correspondence with QE team re:
                                        draft 2004s and staffing (0.9); review
                                        documents for the interim report and
                                        emails with K. Lemire and S. Rand re:
                                        same (2.1); review and revise draft
                                        bank 2004s and correspondence with
                                        QE team re: same (0.9); review and
                                        analyze in-house counsel signal
                                        messages and follow up investigation
                                        into referenced documents (1.5).

03/14/23           JA4                  Review of documents related to                                                    1.10                 559.35
                                        family investigation targets (1.1).

03/14/23           SGW                  Email correspondence with FPL and                                                 1.90            3,642.30
                                        QE teams (.5); attention to MTD/
                                        removal papers and related research
                                        (.7); attention to matter workplan (.3);
                                        attention to case filings/ motion for
                                        extension (.4).

03/14/23           WAB                  Weekly steering committee call (0.5);                                             1.50            2,875.50
                                        prepare for and attend weekly board
                                        call (1.0).

03/15/23           DRM                  Aligning for a charitable and political                                           0.90                 672.30
                                        donations full team meeting (0.1);
                                        reviewing and revising political and
                                        charitable donations documents
                                        memo (0.8).


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03/15/23           KL                   Emails re 2004 requests (.3); edit draft                                          6.20            9,876.60
                                        report (5.9).

03/15/23           ET3                  Cite checking draft interim report                                                5.80            2,949.30
                                        section on management and
                                        governance (2.7); drafting module on
                                        law firm investigation target (3.1).

03/15/23           JR9                  Review and revise new section of                                                  2.50            1,271.25
                                        interim report (2.5).

03/15/23           SNR                  Review materials re: investigation                                                2.20            3,504.60
                                        interviews (1.8); consider strategy re:
                                        same (0.4).

03/15/23           CM                   Research regarding claims against                                                 5.80            2,949.30
                                        potential targets (.2); research
                                        regarding law firm review (5.6).

03/15/23           KS7                  Revise background section of interim                                              0.30                 271.35
                                        report (.3).

03/15/23           MT9                  Prepare sections of the interim report                                            1.90                 966.15
                                        (1.2); review and analyze cited
                                        materials in interim report (.7).

03/15/23           JY1                  Correspondence regarding family                                                   7.30            8,639.55
                                        review project (.8); review and revise
                                        interim report materials and related
                                        correspondence (6.5).

03/15/23           KJS                  Analyze draft interim report and                                                  0.60            1,150.20
                                        review documents re same (0.6).

03/15/23           SR3                  Participated in call related to family                                            3.50            2,614.50
                                        investigations (.8); reviewed
                                        documents for counsel
                                        conflicts/family investigation targets
                                        (2); performed research for outline of
                                        Family Investigations memo (.7).

03/15/23           SH6                  Correspondence with QE team re:                                                   8.40            7,068.60
                                        2004 conflict checks, staffing, and
                                        outstanding needs (1.2); review and
                                        revise draft interim report
                                        background section, check citations
                                        to same and correspondence with K.
                                        Lemire re: same (4.9); draft outside
                                        counsel module template and
                                        correspondence with QE re same
                                        (1.1); review and revise outside
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                                        counsel target memorandum and
                                        flagged documents and
                                        correspondence with M. Mandell re:
                                        same (1.2).

03/15/23           MM6                  Review documents and begin                                                        7.20            8,229.60
                                        drafting memo related to counsel
                                        conflicts questions (7.20).

03/15/23           SGW                  Email correspondence with QE team                                                 1.70            3,258.90
                                        (.3); attention to drafting interim
                                        report sections (.8); review media
                                        coverage (.3); attention to
                                        correspondence with law firms re
                                        2004 requests (.3).

03/16/23           DRM                  Phone conference with M. Mandell                                                  0.70                 522.90
                                        re: Foundation documents (0.3);
                                        conferring re: post-document review
                                        family investigations work product
                                        (0.4).

03/16/23           KL                   Edit draft report (5.7); calls re interim                                         6.30          10,035.90
                                        report (.6).

03/16/23           CM                   Research regarding law firm review                                                6.20            3,152.70
                                        (6.2).

03/16/23           ET3                  Drafting outside counsel law firm                                                 6.70            3,406.95
                                        investigation module (6.7).

03/16/23           JR9                  Review and revise new section of                                                  0.70                 355.95
                                        interim report (.7).

03/16/23           SGW                  Email correspondence with QE team                                                 2.30            4,409.10
                                        (.5); review media coverage (.3);
                                        attention to employee interview
                                        planning and related document
                                        review (.5); attention to 2004 requests
                                        to law firms and related
                                        correspondence (.5); attention to
                                        drafting interim report sections (.5).

03/16/23           JY1                  Conference regarding interim report                                               3.30            3,905.55
                                        drafting (.3); review interview
                                        materials from Sullivan & Cromwell
                                        (3).

03/16/23           KJS                  Revise investigation interim report;                                              1.40            2,683.80
                                        research and exchange
                                        correspondence re same (1.4).
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     sydney | hong kong | houston | brussels | seattle | zurich | shanghai | stuttgart | perth | boston | salt lake city | riyadh | berlin |
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03/16/23           OBY                  Correspondence on 2004 requests.                                                  0.20                 180.90
                                        (.2).

03/16/23           RP                   Draft email summarizing research                                                  0.60                 542.70
                                        related to investigation target (.6).

03/16/23           SR3                  Reviewed documents for counsel                                                    6.20            4,631.40
                                        conflicts/family investigation targets
                                        (6.2).

03/16/23           SH6                  Conference with K. Lemire and J.                                                  8.90            7,489.35
                                        Young re: drafting interim report
                                        (0.3); review and revise draft interim
                                        report legal and regulatory section,
                                        cite check, investigation into
                                        supporting documents, and
                                        correspondence with K. Lemire re:
                                        same (6.1); review documents re:
                                        political targets and correspondence
                                        with K. Lemire re: same (1.2);
                                        investigation and module
                                        groundwork re: in-house counsel and
                                        employee whistle blower complaints
                                        (1.3).

03/16/23           MM6                  Doc review on in-house counsel and                                                6.30            7,200.90
                                        write summary emails to team about
                                        hot docs (6.30).

03/17/23           DRM                  Conference with J. Young, S. Hill, J.                                             0.90                 672.30
                                        Abrams, S. Rosenberg re: family
                                        investigation factual memo (0.8);
                                        identifying Friedberg documents for
                                        S. Hill (0.1).

03/17/23           SNR                  Review materials re: investigation                                                0.80            1,274.40
                                        interviews (0.8).

03/17/23           ET3                  Drafting outside counsel law firm                                                 6.10            3,101.85
                                        investigation module (6.1).

03/17/23           KL                   Edit draft report (5.2); emails and                                               6.10            9,717.30
                                        calls re interim report (.9).

03/17/23           CM                   Research regarding law firm review                                                7.10            3,610.35
                                        (7.1).

03/17/23           KJS                  Revise interim investigation report                                               0.90            1,725.30
                                        and exchange correspondence re
                                        same (0.9).

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03/17/23           SGW                  Email correspondence with QE                                                      1.90            3,642.30
                                        team(.5); draft/ edit sections of
                                        interim report (.8); review media
                                        coverage (.3); attention to
                                        correspondence with law firms re
                                        2004 requests (.3).

03/17/23           JY1                  Conferences and correspondence                                                    3.10            3,668.85
                                        regarding staffing (.6); review
                                        interview materials from Sullivan &
                                        Cromwell (2.5).

03/17/23           JA4                  Team meeting re family                                                            0.80                 406.80
                                        investigations preliminary work
                                        product (.8).

03/17/23           OBY                  Research and circulate updates                                                    0.90                 814.05
                                        related to pending class actions. (.9).

03/17/23           SH6                  Conference with J. Young and R.                                                   8.60            7,236.90
                                        Pelley re: transition and in-house
                                        counsel investigation status (0.4);
                                        review and revise outside counsel
                                        module and correspondence with E.
                                        Turner re same (1.8); weekly
                                        investigations team leadership
                                        meeting (0.1); conference with J.
                                        Young and QE reviewers re: family
                                        issues work flow and updates (0.5);
                                        review and revise draft interim report
                                        legal and regulatory and
                                        management and government
                                        sections and correspondence with K.
                                        Lemire re: same (4.3); review and
                                        revise draft memorandum on outside
                                        counsel and correspondence with M.
                                        Mandell re: same (0.7); review and
                                        revise in-house counsel targets
                                        interview list and correspondence
                                        with investigations team leadership
                                        re: same (0.8).

03/17/23           MM6                  Investigation into various BVI and                                                2.00            2,286.00
                                        Panama entities (2.0).

03/18/23           ET3                  Drafting paragraphs summarizing                                                   1.00                 508.50
                                        module on outside counsel law firm
                                        investigation (1).


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03/18/23           KL                   Calls re interim report (.9).                                                     0.90            1,433.70

03/18/23           CM                   Research regarding law firm review                                                5.20            2,644.20
                                        (5.2).

03/19/23           SGW                  Email correspondence with QE team                                                 0.60            1,150.20
                                        (.3); review media coverage (.3).

03/19/23           OBY                  Correspondence with J. Palmerson                                                  0.10                  90.45
                                        and A. Alden related to 2004
                                        productions. (.1).

03/19/23           KJS                  Exchange correspondence re                                                        0.20                 383.40
                                        investigation of potential claims (0.2).

03/20/23           AK2                  Confer with J. Palmerson re:                                                      0.10                 121.50
                                        document productions in response to
                                        Rule 2004 discovery requests (.1).

03/20/23           SNR                  Team meeting and follow up (0.7).                                                 0.70            1,115.10

03/20/23           JR9                  Reviewed documents on                                                             1.20                 610.20
                                        investigations target (.6), reviewed
                                        documents in preparation for new
                                        investigations target (.6).

03/20/23           RI                   Conference with A. Alden and J.                                                   7.40            8,757.90
                                        Palmerson regarding potential claims
                                        (0.2); legal research regarding
                                        potential claims against professional
                                        services firms (7.2).

03/20/23           SH6                  Conference with J. Young and O.                                                   8.80            7,405.20
                                        Yeffet re: 2004 requests (0.5);
                                        correspondence with investigations
                                        team re: same (1.1) review of in-house
                                        counsel targets documents for
                                        interview list and correspondence
                                        with investigations team leadership
                                        re: same (1.9); conference with O.
                                        Yeffet re: work flow of 2004 review
                                        protocol (0.3); conference with A.
                                        Alden, K. Lemire, J. Young, O. Yeffet,
                                        and J. Palmerson regarding 2004
                                        requests (0.5); conference with K.
                                        Lemire and J. Young re same (0.2);
                                        review and revise draft
                                        memorandum on outside counsel
                                        and correspondence with E. Turner
                                        re: same (1.5); review and analyze

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                                        A&M report re: distributions to
                                        individuals and supporting
                                        documents and correspondence with
                                        A&M re: same (0.5); review and
                                        analyze QE venture book team
                                        memorandum for investigation
                                        subjects (0.4); review and revise in-
                                        house counsel targets interview list
                                        and correspondence with
                                        investigations team leadership re:
                                        same (0.8); review and analyze
                                        documents of interest re: Salameda
                                        and Cottonwood and outside counsel
                                        issues (1.1).

03/20/23           OBY                  Revise 2004 tracker (.6);                                                         0.90                 814.05
                                        correspondence with S. Williamson
                                        on 2004 meet and confer (.2);
                                        correspondence with S. Hill, J.
                                        Palmerson, and J. Young re 2004
                                        requests (.1).

03/20/23           OBY                  Meeting with S. Hill to discuss                                                   0.60                 542.70
                                        document review for 2004 requests
                                        (.3); meeting with S. Hill and J. Young
                                        to discuss same (.2); correspondence
                                        with A. Kutscher on 2004 requests
                                        and venture book crossover. (.1).

03/20/23           SGW                  Prepare for and participate in                                                    3.60            6,901.20
                                        telephone conference with J. Ray and
                                        QE/S&C teams (.5); telephone
                                        conference with K. Lemire (.3);
                                        attention to drafting interim report
                                        (.5); review media coverage (.3);
                                        prepare for and participate in KWM
                                        meet and confer re 2004 requests (.5);
                                        attention to employee interview
                                        planning and related document
                                        review (.3); email correspondence
                                        with S&C team and review
                                        documents from S&C (.5); email
                                        correspondence with QE team (.7).

03/20/23           WAB                  Weekly investigations coordination                                                0.50                 958.50
                                        call (.5).

03/20/23           JY1                  Conference regarding 2004 requests                                                2.70            3,195.45

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                                        (.5); conference with S. Hill and K.
                                        Lemire regarding 2004 requests (.2);
                                        correspondence regarding review
                                        projects and staffing (.8);
                                        correspondence regarding review
                                        protocol for 2004 request documents
                                        (1.2).

03/20/23           JP                   Conference call with R. Izakelian and                                             0.70                 800.10
                                        A. Alden to discuss document review
                                        protocol for Rule 2004 productions
                                        (0.2); conference call with Rule 2004
                                        team to discuss work flow for
                                        reviewing document productions
                                        (0.5).

03/20/23           OBY                  Conference call regarding 2004                                                    0.50                 452.25
                                        requests (.5).

03/20/23           OBY                  Prepare for 2004 meet and confer (.1);                                            1.00                 904.50
                                        meet and confer with S. Williamson
                                        and target (.3); follow up with S.
                                        Williamson (.1); circulate summary of
                                        call and revise notes on same (.2);
                                        correspondence with S. Williamson
                                        and K. Lemire on outstanding 2004
                                        requests (.1); draft email to 2004
                                        target (.2).

03/20/23           KL                   TCs QE team re review of 2004                                                     2.70            4,301.10
                                        documents produced (.7); review
                                        email re 2004 requests (.2).

03/20/23           DRM                  Preparing outline of family                                                       0.70                 522.90
                                        investigations factual memo (0.5);
                                        conferring with J. Abrams and S.
                                        Rosenberg re: assignment of portions
                                        of family investigations factual memo
                                        outline (0.2).

03/20/23           ET3                  Drafting investigation module for                                                 3.10            1,576.35
                                        outside counsel law firm first target
                                        (3.1).

03/20/23           KJS                  Analyze correspondence re King &                                                  0.20                 383.40
                                        Wood documents (0.2).

03/20/23           SS6                  Correspond with A. Alden re 2004                                                  0.10                  98.55
                                        review (.1).

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03/20/23           CM                   Research regarding law firm review                                                2.10            1,067.85
                                        (2.1).

03/20/23           APA                  Emails to and from J. Palmerson and                                               1.40            2,016.00
                                        S. Rand regarding discovery target
                                        (0.1); attention to email from
                                        discovery target and emails
                                        regarding same (0.2); teleconference
                                        with K. Lemire, J. Palmerson, J.
                                        Young, S. Hill and O. Yeffet
                                        regarding 2004 requests (0.5); emails
                                        to and from R. Henderson regarding
                                        document review memo (0.1); emails
                                        to and from S. Seneczko and N. Huh
                                        regarding document review (0.1);
                                        teleconference with R. Izakelian and
                                        J. Palmerson regarding document
                                        review memo (0.2); teleconference
                                        with S. Rand and K. Lemire
                                        regarding 2004 discovery (0.2).

03/21/23           AK2                  Confer with O. Yeffet re: Rule 2004                                               0.10                 121.50
                                        production from Deloitte and confer
                                        with S. Rand re: same (.1).

03/21/23           SH6                  Internal correspondence regarding                                                 9.00            7,573.50
                                        2004 bank requests, review of
                                        productions staffing and
                                        correspondence with S&C and A&M
                                        regarding bank records and related to
                                        the same (1.6); fact research regarding
                                        potential outside counsel target and
                                        employee terminations, draft
                                        investigations protocol and
                                        correspondence with M. Mandell
                                        regarding same (2.9); analyze
                                        employee interview notes and related
                                        documents of interest (2.3); fact
                                        research and internal correspondence
                                        regarding Salameda, Cottonwood
                                        and outside counsel issues (.7); fact
                                        research regarding potential outside
                                        counsel target and venture
                                        investments, draft investigations
                                        protocol and correspondence with E.
                                        Turner regarding same (1.7).

03/21/23           OBY                  Coordinate discovery production                                                   1.60            1,447.20
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                                        with 2004 target; preliminary review
                                        of produced documents;
                                        correspondence with A. Alden and
                                        target on production. (1.4).

03/21/23           KL                   Edit interim report (1.0); read media                                             1.30            2,070.90
                                        stories (.3).

03/21/23           WAB                  Weekly steering comm call (0.4);                                                  1.90            3,642.30
                                        prepare for and attend weekly board
                                        call (1.0); call with J. Ray re insider
                                        actions (0.5).

03/21/23           JY1                  Conferences and correspondence                                                    3.30            3,905.55
                                        regarding 2004 requests (.6); review
                                        material related to 2004 requests (1.2);
                                        review key documents (1.5).

03/21/23           JR9                  Reviewed documents in preparation                                                 0.80                 406.80
                                        for new investigations target (.8).

03/21/23           SR3                  Reviewed documents received from                                                  2.80            2,091.60
                                        Rivers and Moorehead as well as
                                        counsel conflicts and family targets
                                        investigation (2.8).

03/21/23           ET3                  Completing first draft of the outside                                             6.70            3,406.95
                                        counsel law firm investigation first
                                        target (6.5); reviewing module outline
                                        for outside counsel law firm
                                        investigation second target (0.2).

03/21/23           JA4                  Met re bank request document                                                      0.30                 152.55
                                        review (.3).

03/21/23           CM                   Research regarding law firm review                                                3.40            1,728.90
                                        (3.4).

03/21/23           APA                  Emails to and from S. Hill regarding                                              0.80            1,152.00
                                        Rule 2004 discovery (0.1);
                                        teleconference with Alvarez and
                                        Marsal regarding 2004 requests (0.5);
                                        emails to and from discovery targets
                                        and UCC (0.2).

03/22/23           AK2                  Confer with O. Yeffet re: Rule 2004                                               0.10                 121.50
                                        production from Deloitte (.1).

03/22/23           SH6                  Weekly investigations team                                                        7.80            6,563.70
                                        leadership meeting (0.5); analyze
                                        employee interview memorandums

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                                        and related documents of interest
                                        (1.1); fact research regarding in-house
                                        counsel in preparation of interviews
                                        and internal correspondence
                                        regarding same (1.5); fact research
                                        regarding outside counsel targets and
                                        prepare investigations protocol
                                        regarding the same (1.7); analyze
                                        engagement letters, settlement
                                        agreements and documents of
                                        interest, and internal correspondence
                                        with E. Turner regarding the same
                                        (2.2); analyze documents of interest
                                        regarding outside counsel
                                        engagement and employee
                                        settlements and correspondence with
                                        C. Mund regarding the same (0.8).

03/22/23           RI                   Prepare memo regarding documents                                                  6.20            7,337.70
                                        relevant to potential claims against
                                        professional services firms, legal
                                        research regarding same (6.2).

03/22/23           OBY                  Correspondence with 2004 target on                                                0.20                 180.90
                                        production. (.2).

03/22/23           KL                   Review emails re 2004 requests (.9);                                              2.20            3,504.60
                                        review media coverage (.3); emails re
                                        final report (.2); prepare for and
                                        participate in weekly investigations
                                        call (.6); edit final report (.2).

03/22/23           SGW                  Email correspondence with QE team                                                 2.60            4,984.20
                                        (.3); participate in QE investigations
                                        team telephone conference (.5);
                                        attention to document productions
                                        for law firm 2004 requests (.5);
                                        attention to employee interviews and
                                        related document review (.3); review
                                        media coverage (.3); review
                                        documents from A&M (.5); email
                                        correspondence with S&C (.2).

03/22/23           JY1                  Weekly team investigations call (.5);                                             1.80            2,130.30
                                        correspondence regarding review
                                        projects (1.3).

03/22/23           SR3                  Reviewed documents received from                                                  7.30            5,453.10
                                        Rivers and Moorehead (7.3).
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     sydney | hong kong | houston | brussels | seattle | zurich | shanghai | stuttgart | perth | boston | salt lake city | riyadh | berlin |
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03/22/23           CM                   Research regarding law firm review                                                5.30            2,695.05
                                        (5.3).

03/22/23           APA                  Attention to emails from discovery                                                1.40            2,016.00
                                        target (0.1); prepare for meet and
                                        confer with discovery target (0.6);
                                        emails to and from E. Kapur and I.
                                        Nesser regarding PWP outreach (0.3);
                                        emails to and from I. Izakelian
                                        regarding claims memo (0.1); email to
                                        discovery target regarding status
                                        (0.1); attend meet and confer with
                                        discovery target (0.2).

03/22/23           AB9                  Review background information re:                                                 6.00            3,051.00
                                        Rule 2004 production (1.7); review
                                        documents from Armanino Rule 2004
                                        production (4.3).

03/23/23           JR9                  Review and revise research memo on                                                1.40                 711.90
                                        investigations target (.5); review and
                                        revise 2004 bankruptcy memo in light
                                        of recent case law (.9).

03/23/23           RI                   Legal research regarding claims                                                   3.60            4,260.60
                                        against law firms (3.6).

03/23/23           SH6                  Internal correspondence regarding                                                 6.10            5,133.15
                                        bank, law firm and consultant 2004
                                        requests (0.6); fact research regarding
                                        two outside counsel targets, prepare
                                        investigations protocol and
                                        correspondence with N. Huh and S.
                                        Seneczko re: same (2.1); conference
                                        with J. Young, N. Huh, and S.
                                        Seneczko regarding on boarding and
                                        counsel investigation work stream
                                        (0.4); analyze documents of interest
                                        regarding family issues, fact research
                                        and internal discussion regarding the
                                        same (1.1); fact research regarding in-
                                        house counsel in preparation of
                                        interviews and internal
                                        correspondence regarding same (1.9);
                                        analyze legal research regarding
                                        international subpoena and internal
                                        correspondence regarding the same
                                        (0.6).

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     sydney | hong kong | houston | brussels | seattle | zurich | shanghai | stuttgart | perth | boston | salt lake city | riyadh | berlin |
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03/23/23           SGW                  Email correspondence with QE team                                                 1.50            2,875.50
                                        (.3); review draft report from S&C
                                        (.8); review media coverage (.2);
                                        email correspondence with S&C (.2).

03/23/23           JY1                  Conferences regarding review of 2004                                              4.00            4,734.00
                                        materials (.3); conference regarding
                                        review of small law firms (.4);
                                        correspondence regarding small firm
                                        and 2004 request review projects
                                        (2.5); correspondence and review
                                        materials from family review (.8).

03/23/23           KL                   Read draft report (1.2); review 2004                                              1.90            3,026.70
                                        requests (.3); review media stories
                                        (.2); emails re contacts for law firms
                                        (.2).

03/23/23           SR3                  Reviewed documents received from                                                  7.30            5,453.10
                                        Rivers and Moorehead (7.3).

03/23/23           NH2                  Call with J. Young and S. Hill related                                            0.40                 361.80
                                        to investigation targets (0.4).

03/23/23           RP                   Prepare summary of documents                                                      3.50            3,165.75
                                        related to investigation targets (3.5).

03/23/23           ET3                  Reviewing database search results for                                             0.50                 254.25
                                        responsiveness to query for outside
                                        counsel law firm second target (0.5).

03/23/23           CM                   Research regarding law firm review                                                4.80            2,440.80
                                        (4.8).

03/23/23           APA                  Emails to and from J. Palmerson                                                   0.90            1,296.00
                                        regarding 2004 discovery (0.3);
                                        review draft memo regarding
                                        document review (0.2); emails to and
                                        from S. Hill and K. Lemire regarding
                                        2004 requests (0.1); email to S. Rand,
                                        J. Shaffer and K. Lemire regarding
                                        investigations (0.3).

03/23/23           SS6                  Correspond with J. Young, S. Hill, N.                                             1.60            1,576.80
                                        Huh re investigation diligence review
                                        (.1); conference with J. Young, S. Hill,
                                        N. Huh re same (.4); review
                                        materials, guidelines re investigation
                                        procedures (.8); correspond with S.
                                        Hill, FTI team re same (.1); review

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     sydney | hong kong | houston | brussels | seattle | zurich | shanghai | stuttgart | perth | boston | salt lake city | riyadh | berlin |
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                                        search materials re same (.2).

03/23/23           AB9                  Review documents from Armanino                                                    4.50            2,288.25
                                        Rule 2004 production (4.5).

03/24/23           SH6                  Telephone conference with K. Lemire                                               7.60            6,395.40
                                        re: staffing and investigative subjects
                                        (0.2); internal correspondence
                                        regarding 2004 requests and work
                                        streams regarding the same (0.8);
                                        analyze in-house counsel un-redacted
                                        signal messages (0.6); analyze draft
                                        interim report on internal controls
                                        and fact research regarding
                                        investigation issues (1.1); internal
                                        correspondence regarding 2004 bank
                                        request and coordination with S&C
                                        (0.7); correspondence with E. Turner
                                        regarding documents of interest
                                        related to outside counsel target (.5);
                                        correspondence with J. Young and R.
                                        Pelley regarding memorandum on in-
                                        house counsel investigation findings
                                        (0.4); fact research regarding in-house
                                        counsel targets, separation
                                        agreements and whistle blower issues
                                        and correspondence with M. Mandell
                                        regarding the same (2.8);
                                        correspondence with FTI regarding
                                        search terms for outside counsel
                                        investigation targets (.5).

03/24/23           RI                   Conference with A. Alden and J.                                                   4.20            4,970.70
                                        Palmerson regarding document
                                        review memo (0.3); review and
                                        analyze complaints, review and
                                        revise document review memo (3.9).

03/24/23           SGW                  Email correspondence with QE team                                                 2.80            5,367.60
                                        (.5); review documents from S&C (.3);
                                        review media coverage (.3); review
                                        documents from law firm 2004
                                        requests (.7); email correspondence
                                        with Covington team re employee
                                        interviews (.3); review case
                                        documents (.7).

03/24/23           JY1                  Review new material from Sullivan &                                               4.90            5,799.15

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                                        Cromwell (2.3); correspondence
                                        regarding review projects (.8); review
                                        interim report draft (1.8).

03/24/23           KL                   Review draft interim report (.7);                                                 2.00            3,186.00
                                        review documents of interest (.3);
                                        review media stories (.2); tc S. Hill re
                                        staffing and subjects (.2); review
                                        documents of interest (.6).

03/24/23           KS7                  Conference regarding coordination of                                              0.40                 361.80
                                        in-house counsel investigation (.4).

03/24/23           JR9                  Conference regarding coordination of                                              3.10            1,576.35
                                        in-house counsel investigation (.4),
                                        review and revise memo on
                                        investigation target (2.7).

03/24/23           SR3                  Reviewed documents received from                                                  6.50            4,855.50
                                        Rivers and Moorehead (6.5).

03/24/23           NH2                  Analyzed documents on Relativity                                                  4.10            3,708.45
                                        for investigation on a target law firm
                                        and took notes for a memo on the
                                        target(4.1).

03/24/23           RP                   Revise summary of documents                                                       2.90            2,623.05
                                        related to investigation targets (.6);
                                        conference regarding coordination of
                                        in-house counsel investigation (.4);
                                        review documents related to
                                        investigation target (1.9).

03/24/23           ET3                  Reviewing emails and documents                                                    3.40            1,728.90
                                        responsive to outside counsel law
                                        firm investigation second target (3.3);
                                        correspondence with J. Young and S.
                                        Hill regarding same (0.1).

03/24/23           MT9                  Conference regarding coordination of                                              1.50                 762.75
                                        in-house counsel investigation (.4);
                                        review and analyze Signal messages
                                        and update November 2022 timeline
                                        (1.1).

03/24/23           OBY                  Legal research on class action                                                    1.00                 904.50
                                        allegations; update tracker on same;
                                        analyze newly filed cases. (1.0).

03/24/23           OBY                  Analyze documents from 2004 target                                                0.50                 452.25
                                        for potential claims. (.5).
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     sydney | hong kong | houston | brussels | seattle | zurich | shanghai | stuttgart | perth | boston | salt lake city | riyadh | berlin |
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03/24/23           OBY                  Correspondence with S. Williamson                                                 0.20                 180.90
                                        and 2004 target on document
                                        production. (.2).

03/24/23           DRM                  Preparing family investigations                                                   4.20            3,137.40
                                        documents binder (4.2).

03/24/23           CM                   Research regarding law firm review                                                5.40            2,745.90
                                        (4.2); research regarding claims
                                        against potential targets (1.2).

03/24/23           JP                   Conference call with R. Izakelian and                                             0.40                 457.20
                                        A. Alden to discuss document review
                                        protocol for Rule 2004 productions
                                        (0.3); review draft document review
                                        protocol for Rule 2004 productions
                                        (0.1).

03/24/23           KJS                  Analyze correspondence re                                                         0.20                 383.40
                                        investigations (0.2).

03/24/23           APA                  Attention to emails from S&C, S. Hill                                             1.20            1,728.00
                                        and J. Palmerson regarding Rule 2004
                                        requests (0.2); teleconference with S.
                                        Rand regarding claims evaluation
                                        (0.2); teleconference with J.
                                        Palmerson and R. Izakelian regarding
                                        document review memo (0.3); emails
                                        to and from Alvarez and Marsal
                                        regarding claims evaluation (0.2);
                                        attention to email from discovery
                                        target (0.1); revise emails to discovery
                                        targets (0.2).

03/24/23           MM6                  Analyzing documents and draft                                                     6.20            7,086.60
                                        investigation memo on potential
                                        conflicts with counsel (5.0) review of
                                        additional docs related to
                                        whistleblower complaint (1.2).

03/24/23           SS6                  Correspond with S. Hill re                                                        1.30            1,281.15
                                        investigation materials, diligence (.2);
                                        review materials re same (1.1).

03/24/23           AB9                  Review documents from Armanino                                                    4.90            2,491.65
                                        Rule 2004 production (4.9).

03/25/23           SGW                  Email correspondence with S&C                                                     1.60            3,067.20
                                        team (.2); review S&C draft report
                                        (.8); email correspondence with QE

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                                        and Covington teams (.3); review
                                        media coverage (.3).

03/25/23           DRM                  Reviewing and revising important                                                  0.90                 672.30
                                        family investigations targets
                                        documents binder (0.8); conferring
                                        with C. Mund re: identification and
                                        organization of family investigation
                                        targets documents (0.1).

03/25/23           KL                   Review revised interim report draft                                               1.10            1,752.30
                                        (1.1).

03/25/23           CM                   Research regarding law firm review                                                4.20            2,135.70
                                        (1.8); research regarding claims
                                        against potential targets (2.4).

03/26/23           CM                   Research regarding law firm review                                                4.20            2,135.70
                                        (4.2).

03/26/23           SGW                  Email correspondence with S&C and                                                 1.00            1,917.00
                                        QE teams (.3); review S&C draft
                                        reports (.7).

03/26/23           OBY                  Analyze documents from 2004 target                                                0.70                 633.15
                                        for possible legal claims. (.7).

03/26/23           KL                   Review revised interim report (.4);                                               1.50            2,389.50
                                        email re in-house counsel interviews
                                        (.1); review documents of interest
                                        (1.0).

03/26/23           APA                  Emails to and from J. Palmerson                                                   0.90            1,296.00
                                        regarding Rule 2004 discovery (0.2);
                                        attention to email from J. Shaffer
                                        regarding Rule 2004 discovery (0.1);
                                        review subpoena to discovery target
                                        and memo regarding search
                                        parameters (0.3); review legal
                                        research memo regarding taking Rule
                                        2004 discovery abroad (0.3).

03/27/23           SH6                  Internal correspondence regarding                                                 6.50            5,469.75
                                        law firm 2004 targets (0.2); review
                                        and revise draft memorandum on in-
                                        house counsel target, fact research,
                                        and internal correspondence with K.
                                        Lemire regarding the same (3.7);
                                        analyze draft interim report on
                                        internal controls and fact research

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     sydney | hong kong | houston | brussels | seattle | zurich | shanghai | stuttgart | perth | boston | salt lake city | riyadh | berlin |
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                                        regarding insider trading controls
                                        related to the same (2.4).

03/27/23           CM                   Research regarding law firm review                                                4.80            2,440.80
                                        (4.8).

03/27/23           NH2                  Review documents related to a target                                              4.10            3,708.45
                                        law firm (4.1).

03/27/23           WAB                  Weekly investigations coordinating                                                2.20            4,217.40
                                        call (0.4); review draft investigation
                                        reports (1.8).

03/27/23           SGW                  Email correspondence with QE team                                                 3.00            5,751.00
                                        (.5); prepare for and attend case
                                        status discussion with J. Ray, S&C
                                        and QE teams (.5); review media
                                        coverage (.3); attend QE team
                                        cadence call (.4); telephone
                                        conference with K. Lemire (.2);
                                        review documents re insiders (.6);
                                        email correspondence with current
                                        and former employees and pool
                                        counsel re possible interviews (.5).

03/27/23           MM6                  Examination of severance agreements                                               6.70            7,658.10
                                        of more than a dozen former
                                        employees and create accompanying
                                        spreadsheet summarizing findings
                                        (6.7).

03/27/23           JY1                  Review materials related to family                                                3.50            4,142.25
                                        issues and potential claims and
                                        related correspondence (2.5); review
                                        materials related to small firm review
                                        projects (1).

03/27/23           JR9                  Review and revise existing memo on                                                1.80                 915.30
                                        investigations target (1.8).

03/27/23           KS7                  Review and analyze documents                                                      2.30            2,080.35
                                        related to November events (2.3).

03/27/23           SR3                  Reviewed documents received from                                                  7.30            5,453.10
                                        Rivers and Moorehead (7.3).

03/27/23           RP                   Revise summary of documents                                                       2.10            1,899.45
                                        related to investigations target (1.2);
                                        draft memo on documents related to
                                        investigation target (.9).

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     sydney | hong kong | houston | brussels | seattle | zurich | shanghai | stuttgart | perth | boston | salt lake city | riyadh | berlin |
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03/27/23           KL                   Review documents of interest (.7));                                               3.90            6,212.70
                                        weekly investigations call with S&C
                                        (.3); tc S. Williamson re next steps in
                                        investigations (.5); tc O. Yeffet re 2004
                                        requests (.2); emails re 2004 requests
                                        (.5); review media stories (.2); review
                                        memo on person of interest (.8);
                                        review documents of interest (.7).

03/27/23           MT9                  Review and analyze background                                                     5.30            2,695.05
                                        documents for Counsel investigation
                                        (3.1); review and analyze document
                                        with Signal messages and update
                                        November 2022 timeline (2.2).

03/27/23           OBY                  Conference with K. Lemire on 2004                                                 0.40                 361.80
                                        request (.2); follow up
                                        correspondence to K. Lemire on same
                                        (.2).

03/27/23           APA                  Emails to and from K. Lemire and J.                                               3.00            4,320.00
                                        Palmerson regarding Rule 2004
                                        discovery (0.2); teleconference with B.
                                        Timmons, T. Wit and K. Lemire
                                        regarding claims evaluation (1.0);
                                        teleconference with K. Lemire
                                        regarding claim evaluation (0.2);
                                        review draft interim report on control
                                        failures (1.5); email to discovery
                                        target (0.1).

03/27/23           SS6                  Analyze diligence, 2004 records re                                                6.80            6,701.40
                                        investigation (4.8); draft
                                        memorandum outline re same (2.0).

03/27/23           AB9                  Review documents from Armanino                                                    4.40            2,237.40
                                        Rule 2004 production (4.4).

03/28/23           RI                   Legal research regarding claims                                                   1.80            2,130.30
                                        against banks, review and revise
                                        document review memo (1.8).

03/28/23           CM                   Research regarding law firm review                                                4.90            2,491.65
                                        (4.7); Correspondence to S. Hill
                                        regarding law firm review (.2).

03/28/23           WAB                  Weekly steering comm call (0.5);                                                  1.50            2,875.50
                                        weekly board call (1.0).

03/28/23           SGW                  Email correspondence with QE team                                                 2.20            4,217.40

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                                        (.6); email correspondence with
                                        current and former employees and
                                        pool counsel re potential interviews
                                        (.5); review media coverage (.3);
                                        review court filings (.5); telephone
                                        conference with QE investigations
                                        team re employee interviews (.3).

03/28/23           SH6                  Conference with K. Lemire, J. Young,                                              9.00            7,573.50
                                        S. Hill and J. Robbins regarding
                                        international government bribe
                                        matters, fact research re: same and
                                        follow up correspondence with J.
                                        Robbins re: same (3.3); review of
                                        A&M report regarding bank targets
                                        and conference with QE and A&M
                                        teams regarding the same (0.9);
                                        review and revise 2004 staffing and
                                        work flow and internal
                                        correspondence re: same (0.9); weekly
                                        investigations team leadership
                                        meeting (0.5); analyze superseding
                                        indictment and internal
                                        correspondence re: same (0.4); review
                                        and revise draft memorandum on in-
                                        house counsel target, fact research
                                        and internal correspondence with K.
                                        Lemire regarding the same (2.5);
                                        correspondence with S&C and QE
                                        regarding venture book asset target
                                        (0.5).

03/28/23           JY1                  Conference with K. Lemire, S. Hill                                                6.40            7,574.40
                                        and J. Robbins re: Bahamas issues
                                        (0.3); conferences and
                                        correspondence regarding 2004
                                        request issues (1.8); conference with
                                        employees’ counsel regarding
                                        potential in house counsel interviews
                                        and follow ups from conference (.8);
                                        review materials and correspondence
                                        regarding in-house counsel
                                        interviews (1); conferences and
                                        correspondence regarding review
                                        project for key in house counsel and
                                        review related materials (2.5).

03/28/23           JR9                  Review and revise investigations                                                  4.30            2,186.55
       los angeles | new york | san francisco | silicon valley | chicago | dc | london | mannheim | tokyo| hamburg | paris | munich
     sydney | hong kong | houston | brussels | seattle | zurich | shanghai | stuttgart | perth | boston | salt lake city | riyadh | berlin |
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                                        target memo (1.4), Conference with
                                        K. Lemire, J. Young, and S. Hill re:
                                        new investigations target (0.3),
                                        reviewed documents for new
                                        investigation target (2.6).

03/28/23           SR3                  Reviewed documents received from                                                  8.10            6,050.70
                                        Rivers and Moorehead (8.1).

03/28/23           ET3                  Reviewing documents responsive to                                                 3.30            1,678.05
                                        outside counsel law firm
                                        investigation second target and
                                        drafting module detailing findings
                                        (3.3).

03/28/23           KL                   Review media coverage (.1); review                                                1.30            2,070.90
                                        court documents .4); review
                                        investigations team reports (.4); meet
                                        with investigations teams re
                                        additional research (.3); tc counsel for
                                        witnesses to be interviewed (.1).

03/28/23           MT9                  Review and analyze hot documents                                                  5.30            2,695.05
                                        and timelines (1.2); review and gather
                                        documents for outline for counsel
                                        interview (4.1).

03/28/23           JA4                  Review of Prime Trust production                                                  2.40            1,220.40
                                        (2.4).

03/28/23           OBY                  Review of 2004 production (1.5);                                                  2.40            2,170.80
                                        correspondence with S. William on
                                        same (.3); legal research on Hong
                                        Kong Data Privacy (.6). ordinances.
                                        (2.4).

03/28/23           OBY                  Conference with A&M and 2004 team                                                 1.40            1,266.30
                                        on discovery requests (.5); conference
                                        with 2004 team on status of
                                        outstanding requests (.5); follow up
                                        correspondence to 2004 on meetings
                                        (.4).

03/28/23           OBY                  Correspondence to K. Lemire re: 2004                                              1.20            1,085.40
                                        production (.1); preliminary review
                                        of 2004 target production (.7); update
                                        2004 tracker (.4).

03/28/23           KJS                  Exchange correspondence re draft                                                  0.20                 383.40
                                        investigative report (0.2).

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     sydney | hong kong | houston | brussels | seattle | zurich | shanghai | stuttgart | perth | boston | salt lake city | riyadh | berlin |
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03/28/23           APA                  Emails to and from Rule 2004                                                      1.40            2,016.00
                                        discovery team regarding status (0.1);
                                        emails regarding SBF FCA
                                        indictment (0.1); emails to and from J.
                                        Palmerson regarding Rule 2004
                                        discovery (0.1); emails to and from K.
                                        Lemire regarding call with Alvarez
                                        and Marsal (0.1); teleconference with
                                        S&C regarding Rule 2004 discovery
                                        (0.3); teleconference with Rule 2004
                                        discovery team regarding status and
                                        tasks (0.5); emails to and from R.
                                        Izakelian regarding document review
                                        memo (0.2).

03/28/23           SS6                  Analyze diligence, 2004 records re                                                5.40            5,321.70
                                        investigation (3.6); draft investigation
                                        outline re same (1.8).

03/28/23           AB9                  Review documents from Armanino                                                    4.50            2,288.25
                                        Rule 2004 production (5.1).

03/29/23           RI                   Legal research regarding claims                                                   4.40            5,207.40
                                        against banks and law firms, review
                                        and revise document review memo
                                        (4.4).

03/29/23           CM                   Research regarding law firm review                                                4.20            2,135.70
                                        (3.8); conference with S. Hill
                                        regarding law firm review (.4).

03/29/23           SGW                  Email correspondence with QE team                                                 2.60            4,984.20
                                        (.5); review media coverage (.3);
                                        telephone conference with QE
                                        investigations team (.4); email
                                        correspondence with current/ former
                                        employees and pool counsel (.6);
                                        review documents re former
                                        employees (.5); attention to
                                        correspondence with law firms re
                                        2004 requests (.3).

03/29/23           SH6                  Internal correspondence re:                                                       4.50            3,786.75
                                        investigation issues and staffing
                                        needs (0.4); conference with C. Mund
                                        regarding outside counsel target
                                        investigation (0.4); conference with J.
                                        Young, J. Palmerson and O. Yeffet
                                        regarding 2004 requests (0.2); internal
       los angeles | new york | san francisco | silicon valley | chicago | dc | london | mannheim | tokyo| hamburg | paris | munich
     sydney | hong kong | houston | brussels | seattle | zurich | shanghai | stuttgart | perth | boston | salt lake city | riyadh | berlin |
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                                        correspondence re: same (0.6); review
                                        and revise draft memorandum on in-
                                        house counsel target, fact research
                                        and internal correspondence with K.
                                        Lemire regarding the same (2.4);
                                        internal correspondence re: in house
                                        counsel interview work flow (0.5).

03/29/23           JY1                  Conference regarding 2004 requests                                                7.10            8,402.85
                                        (.2); weekly team meeting and follow
                                        ups from conference (.4);
                                        correspondence regarding
                                        preparation for in-house interviews
                                        and review related materials (3);
                                        review materials related to family
                                        review and related correspondence
                                        (3.5).

03/29/23           DRM                  Conferring with J. Young and S. Hill                                              0.70                 522.90
                                        re: gifts to family investigations
                                        targets (0.2); conferring with J.
                                        Young, S. Hill, K. Lemire, and T.
                                        Murray re: insight into family
                                        investigations target important
                                        documents and investigations factual
                                        memo (0.5).

03/29/23           SR3                  Continued writing and refining                                                    7.50            5,602.50
                                        already written portions for family
                                        investigation targets memo (7.5).

03/29/23           RP                   Review documents related to                                                       7.40            6,693.30
                                        investigation target (2.4); draft memo
                                        regarding same (5.0).

03/29/23           MT9                  Review and analyze documents and                                                  6.20            3,152.70
                                        create interview outline for N. Ziourti
                                        (6.2).

03/29/23           ET3                  Reviewing documents responsive to                                                 7.40            3,762.90
                                        outside counsel law firm
                                        investigation second target and
                                        drafting module detailing findings
                                        (7.4).

03/29/23           KL                   Review email re updates (.9); calls re                                            5.20            8,283.60
                                        investigations updates (.3); review
                                        documents for law firm engaged by
                                        FTX (.7) review memo on person of

       los angeles | new york | san francisco | silicon valley | chicago | dc | london | mannheim | tokyo| hamburg | paris | munich
     sydney | hong kong | houston | brussels | seattle | zurich | shanghai | stuttgart | perth | boston | salt lake city | riyadh | berlin |
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                                        interest (1.9); read media coverage
                                        (.3); review documents of interest (.7);
                                        internal investigations call (.4).

03/29/23           OBY                  Correspondence on 2004 target                                                     1.20            1,085.40
                                        production (.5); review of 2004
                                        production (.5); meeting with J.
                                        Palmerson, J. Young and S. Hill on
                                        2004 targets (.2).

03/29/23           APA                  Emails to and from J. Palmerson and                                               0.60                 864.00
                                        K. Lemire regarding Rule 2004
                                        discovery (0.2); emails to and from R.
                                        Izakelian regarding document review
                                        memo (0.1); teleconference with S.
                                        Rand and J. Shaffer regarding Rule
                                        2004 discovery (0.2); attention to
                                        email from O. Yeffet regarding
                                        document production (0.1).

03/29/23           TCM                  Investigations team weekly call (.4);                                             0.90            1,093.50
                                        review of family hot docs binder (.5).

03/29/23           AB9                  Review documents received from                                                    4.50            2,288.25
                                        Armanino (4.5).

03/30/23           CM                   Research regarding law firm review                                                5.20            2,644.20
                                        (1.7); Prepare memorandum
                                        regarding law firm review (3.5).

03/30/23           SH6                  Conference with K. Lemire and J.                                                  8.50            7,152.75
                                        Young re: 2004 review auditor
                                        protocol (0.4); review and revise 2004
                                        auditor response protocol and
                                        internal correspondence regarding
                                        the same (1.6); fact research regarding
                                        counsel targets, employee
                                        terminations and whistleblower
                                        complaints, prepare investigations
                                        protocol and correspondence with M.
                                        Mandell re: same (3.7); fact research
                                        regarding family gift issues, analyze
                                        flagged documents of interest and
                                        internal correspondence regarding
                                        the same (1.7); internal
                                        correspondence re: outside counsel
                                        investigations, review of 2004 bank
                                        records and 2004 requests to law
                                        firms (1.1).
       los angeles | new york | san francisco | silicon valley | chicago | dc | london | mannheim | tokyo| hamburg | paris | munich
     sydney | hong kong | houston | brussels | seattle | zurich | shanghai | stuttgart | perth | boston | salt lake city | riyadh | berlin |
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03/30/23           SGW                  Email correspondence with QE team                                                 2.30            4,409.10
                                        (.3); prepare for and conduct
                                        discussion with former employee (.5);
                                        review media coverage (.3); email
                                        correspondence with law firms re
                                        2004 requests (.5); review documents
                                        re insider transfers (.5); email with
                                        S&C re Salameda documents (.2).

03/30/23           JY1                  Conference with former employee                                                   6.20            7,337.70
                                        regarding potential interview and
                                        follow ups from conference (.8);
                                        conference and correspondence
                                        regarding 2004 request issues (1.2);
                                        review and revise protocol for 2004
                                        request review (2.7); correspondence
                                        and review materials related to
                                        family review project (1.5).

03/30/23           JR9                  Reviewed documents for new                                                        8.00            4,068.00
                                        investigations target and prepared
                                        memorandum summarizing said
                                        documents (8).

03/30/23           KJS                  Analyze documents and exchange                                                    0.70            1,341.90
                                        correspondence re investigation
                                        workstreams (0.7).

03/30/23           OBY                  Draft correspondence to A. Alden re:                                              1.90            1,718.55
                                        2004 (.2); conference with K. Lemire
                                        on 2004 target (.1); draft
                                        correspondence to S. Williamson
                                        related to 2004 (.2); review
                                        correspondence from 2004 target (.5);
                                        draft letter to 2004 target (.9).

03/30/23           SR3                  Continued writing and refining                                                    5.00            3,735.00
                                        already written portions for family
                                        investigation targets memo;
                                        performed searches within Relativity
                                        pursuant to a particular monetary
                                        gift/transfer (a multimillion dollar
                                        "gift") (5.0).

03/30/23           RP                   Draft memo on documents related to                                                4.00            3,618.00
                                        investigation target (4.0).

03/30/23           KL                   Read and send emails re documents                                                 3.10            4,938.30
                                        of interest (1.1); review documents of

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                                        interest (.9); call with in-house
                                        attorney (.3); calls re in-house counsel
                                        interviews (.8).

03/30/23           MT9                  Review and analyze documents and                                                  2.60            1,322.10
                                        create interview outline for N. Ziourti
                                        (2.6).

03/30/23           ET3                  Reviewing documents responsive to                                                 4.90            2,491.65
                                        outside counsel law firm
                                        investigation second target and
                                        drafting module detailing findings
                                        (4.9).

03/30/23           JA4                  Review of Prime Trust document                                                    4.30            2,186.55
                                        production (4.3).

03/30/23           APA                  Prepare for and attend meet and                                                   1.00            1,440.00
                                        confer with discovery target and J.
                                        Palmerson (0.5); teleconference with
                                        S. Rand, K. Lemire and J. Shaffer
                                        regarding Rule 2004 discovery (0.5).

03/30/23           SS6                  Correspond with S. Hill, J. Young re                                              5.10            5,026.05
                                        diligence, investigation review (.3);
                                        research, review diligence materials
                                        re same (4.7); correspond with J.
                                        Robbins re same (.1).

03/30/23           AB9                  Review documents from Armanino                                                    4.90            2,491.65
                                        Rule 2004 production (4.9).

03/31/23           AK2                  Confer with K. Lemire, A. Alden, J.                                               0.10                 121.50
                                        Shaffer, and S. Rand re: potential
                                        investigation into insider severance
                                        packages (.1).

03/31/23           RI                   Conference with J. Palmerson, K.                                                  5.70            6,745.95
                                        Lemire, and J. Young regarding
                                        document review memo (0.2); legal
                                        research regarding fiduciary duties
                                        owned by professional advisors (5.5).

03/31/23           CM                   Research regarding law firm review                                                5.20            2,644.20
                                        (1.4); prepare memorandum
                                        regarding law firm review (3.8).

03/31/23           SGW                  Email conference with QE team (.3);                                               1.80            3,450.60
                                        prepare for and conduct telephone
                                        conference with former employee
                                        (.5); review media coverage (.3);
       los angeles | new york | san francisco | silicon valley | chicago | dc | london | mannheim | tokyo| hamburg | paris | munich
     sydney | hong kong | houston | brussels | seattle | zurich | shanghai | stuttgart | perth | boston | salt lake city | riyadh | berlin |
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                                        telephone conference with QE
                                        investigations team (.2); attention to
                                        potential claims with insiders (.5).

03/31/23           JY1                  Conference with former employee                                                   7.10            8,402.85
                                        regarding potential interview and
                                        follow ups from conference (.5);
                                        conference and correspondence
                                        regarding A&M presentation and
                                        review and revise presentation (1.6);
                                        conference and correspondence
                                        regarding review protocol for 2004
                                        request documents and review and
                                        revise review protocol (1.7); draft
                                        complaint related to family issues
                                        (2.8); finalize and send 2004 requests
                                        (.7).

03/31/23           WAB                  Review ventures memos (1.8); call                                                 2.50            4,792.50
                                        with team re ventures book (0.7).

03/31/23           JR9                  Reviewed documents for new                                                        5.70            2,898.45
                                        investigations target and prepared
                                        memorandum summarizing said
                                        documents (5.7).

03/31/23           OBY                  Correspondence with A. Alden to                                                   0.10                  90.45
                                        2004 target. (.1).

03/31/23           KL                   Calls re in-house interviews (.7); calls                                          2.90            4,619.70
                                        re materials for presentation and
                                        review drafts for same (1.8); review
                                        media stories (.4).

03/31/23           SR3                  Continued writing and refining                                                    7.30            5,453.10
                                        already written portions for family
                                        investigation targets memo (7.3).

03/31/23           RP                   Revise memo regarding                                                             1.20            1,085.40
                                        investigations target (1.0); draft email
                                        regarding the same (.2).

03/31/23           MT9                  Review superseding indictment (0.8);                                              1.20                 610.20
                                        review updates to November
                                        timeline (0.4).

03/31/23           SH6                  Conference with K. Lemire and J.                                                  7.00            5,890.50
                                        Young re: A&M tear sheets (0.2);
                                        telephone conference with M.
                                        Mandell re: counsel targets and

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     sydney | hong kong | houston | brussels | seattle | zurich | shanghai | stuttgart | perth | boston | salt lake city | riyadh | berlin |
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                                        whistleblowers (0.3); finalize and
                                        send 2004 requests to law firms,
                                        correspond with QE team re: same,
                                        and update work flow tracking re:
                                        same (2.4); emails with QE team re:
                                        outside counsel memo updates and
                                        follow up (0.6); draft proposed
                                        workflow for meet and confer
                                        scheduling with law firms and
                                        consultant 2004 targets (0.5); review
                                        and revise A&M tear sheets (0.7);
                                        review and revise draft bank 2004s
                                        and correspondence with J.
                                        Palmerson re: same (0.9); review and
                                        analyze A&M draft memo and
                                        related documents re: family gift
                                        (0.8); emails with QE team re: Signet
                                        and Signature bank issues (0.6).

03/31/23           ET3                  Reviewing documents responsive to                                                 3.50            1,779.75
                                        outside counsel law firm
                                        investigation second target and
                                        drafting module detailing findings
                                        (3.5).

03/31/23           APA                  Emails to and from O Yeffett                                                      0.80            1,152.00
                                        regarding Rule 2004 discovery (0.1);
                                        emails to and from K. Lemire
                                        regarding document review (0.1);
                                        review document review memo and
                                        email to K. Lemire regarding same
                                        (0.6).

03/31/23           MM6                  Discussion of conflicts counsel and                                               8.30            9,486.90
                                        whistleblowers doc review with S.
                                        Hill (.3.); analyzing whistleblower
                                        docs (8.0).

03/31/23           SS6                  Analyze diligence materials re same                                               5.90            5,814.45
                                        (1.1); draft memorandum re diligence
                                        review (4.8).

03/31/23           AB9                  Review documents produced by                                                      5.20            2,644.20
                                        Armanino (5.2).

                                                                         SUBTOTAL                                    1,362.90        1,243,812.60



                                                               Fee Summary
       los angeles | new york | san francisco | silicon valley | chicago | dc | london | mannheim | tokyo| hamburg | paris | munich
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Attorneys                             Init.         Title                                    Hours                  Rate                 Amount
K. John Shaffer                       KJS           Partner                                   69.40             1,917.00               133,039.80
William A. Burck                      WAB           Partner                                   18.30             1,917.00                35,081.10
Sam Williamson                        SGW           Partner                                   65.30             1,917.00               125,180.10
Sascha Rand                           SNR           Partner                                   85.80             1,593.00               136,679.40
Jonathan Pickhardt                    JEP           Partner                                   39.60             1,593.00                63,082.80
Katherine Lemire                      KL            Partner                                  108.20             1,593.00               172,362.60
Anthony Alden                         APA           Partner                                   85.30             1,440.00               122,832.00
Isaac Nesser                          IN            Partner                                   27.80             1,440.00                40,032.00
Eric D. Winston                       EDW           Partner                                    9.00             1,440.00                12,960.00
Matthew R. Scheck                     MRS           Partner                                    8.80             1,318.50                11,602.80
Elinor C. Sutton                      ECS           Partner                                   31.80             1,318.50                41,928.30
Emily Kapur                           EK            Partner                                  134.20             1,246.50               167,280.30
Blair Adams                           BA1           Partner                                   21.60             1,246.50                26,924.40
Andrew Kutscher                       AK2           Counsel                                  106.80             1,215.00               129,762.00
Kurt Wolfe                            KW            Counsel                                   46.50             1,215.00                56,497.50
Tyler Murray                          TCM           Counsel                                   15.40             1,215.00                18,711.00
Razmig Izakelian                      RI            Associate                                 33.30             1,183.50                39,410.55
Justine Young                         JY1           Associate                                116.50             1,183.50               137,877.75
Meredith Mandell                      MM6           Associate                                 45.80             1,143.00                52,349.40
Ari Roytenberg                        AR0           Associate                                 27.30             1,143.00                31,203.90
Jaclyn Palmerson                      JP            Associate                                111.80             1,143.00               127,787.40
Andrew Sutton                         AS2           Associate                                109.20             1,143.00               124,815.60
Max Meadows                           MM2           Associate                                 53.70             1,107.00                59,445.90
Joseph Reed                           JR8           Associate                                 31.90             1,048.50                33,447.15
Peter Collins                         PC2           Associate                                102.40             1,048.50               107,366.40
Samuel Seneczko                       SS6           Associate                                121.90               985.50               120,132.45
Olivia Yeffet                         OBY           Associate                                 74.10               904.50                67,023.45
Kelsey Sullivan                       KS7           Associate                                 15.30               904.50                13,838.85
Natalie Huh                           NH2           Associate                                 60.30               904.50                54,541.35
Zane Muller                           ZM            Associate                                 52.60               904.50                47,576.70
Reece Pelley                          RP            Associate                                 72.60               904.50                65,666.70
Sara Turk                             ST4           Associate*                                13.60               904.50                12,301.20
Tanmayi Sharma                        TS4           Associate                                 55.10               841.50                46,366.65
Sophie Hill                           SH6           Associate                                170.30               841.50               143,307.45
Jeffery Arnier                        JA6           Associate                                 20.10               841.50                16,914.15
Destiny Rose Murphy                   DRM           Associate                                 25.60               747.00                19,123.20
Michael Wittmann                      MW2           Associate                                106.70               747.00                79,704.90
Angela Nelson                         AN4           Associate                                 99.10               747.00                74,027.70
Marissa Smith                         MS1           Associate                                 78.60               747.00                58,714.20
Seth Rosenberg                        SR3           Associate                                124.90               747.00                93,300.30
Gavin Coyle                           GC2           Law Clerk                                  3.60               508.50                 1,830.60
Cara Mund                             CM            Law Clerk                                158.80               508.50                80,749.80
Jack Robbins                          JR9           Law Clerk                                 82.20               508.50                41,798.70
Elijah Turner                         ET3           Law Clerk                                 99.80               508.50                50,748.30
Mary Trainor                          MT9           Law Clerk                                 68.60               508.50                34,883.10
       los angeles | new york | san francisco | silicon valley | chicago | dc | london | mannheim | tokyo| hamburg | paris | munich
     sydney | hong kong | houston | brussels | seattle | zurich | shanghai | stuttgart | perth | boston | salt lake city | riyadh | berlin |
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Jonathan Abrams                       JA4           Law Clerk                                   20.70                508.50                  10,525.95
Alec Bahramipour                      AB9           Law Clerk                                   58.70                508.50                  29,848.95
Marika Szczech                        MS8           Attorney                                     8.80                445.50                   3,920.40
Alanna D. Martin                      AM6           Attorney                                    34.40                445.50                  15,325.20

Case Assistants                       Init.         Title                                      Hours                   Rate                   Amount
Connie Kim                            CK            Paralegal                                   1.00                 432.00                     432.00
Dave Scholz                           DS4           Graphics                                    5.10                 432.00                   2,203.20
                                                    Coordinator

Litigation
Support/Document
Management Services                   Init.         Title                                      Hours                   Rate                   Amount
Joe Liao                              JL9           Litigation Support                          1.60                 157.50                    252.00
                                                        * Admitted to practice by at least one state bar; not admitted to practice in state where officed.



                                                            Expense Summary

Description                                                                                                                                   Amount

Lexis Courtlink - Off Contract                                                                                                                    11.72

Express mail                                                                                                                                        2.29

Online Research                                                                                                                                  184.00

Document Reproduction                                        0.10                                                                                276.50

Travel                                                                                                                                           855.00

Color Document Reproduction                                  0.40                                                                                257.60

Word processing                                                                                                                                     0.00

Velobind                                                                                                                                            4.00

Document Services                                                                                                                             1,440.08

                                                                    Total Expenses                                                           $3,031.19




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     sydney | hong kong | houston | brussels | seattle | zurich | shanghai | stuttgart | perth | boston | salt lake city | riyadh | berlin |
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                                                                      LOS ANGELES | NEW YORK | SAN FRANCISCO | SILICON VALLEY |
                                                                      CHICAGO | DC | LONDON | MANNHEIM | TOKYO| HAMBURG |
quinn emanuel urquhart & sullivan, llp                                PARIS | MUNICH | SYDNEY | HONG KONG | HOUSTON | BOSTON |
                                                                      BRUSSELS | SEATTLE | ZURICH | SHANGHAI | STUTTGART | PERTH
                                                                      | SALT LAKE CITY | RIYADH | BERLIN




                                                  Current Invoice Summary

Matter Name : FTX Trading



Matter #: 11807-00001                                            Total Fees...................................................$3,192,717.60
Bill Date: April 30, 2023                                         Expenses..........................................................$3,031.19
Invoice Number: 101-                                 Total Due this Invoice...................................................$3,195,748.79
0000151264                                               Payment Due By June 02, 2023

                                                         Account Summary

                              Balance Due from Previous Statement(s)...................................................$3,379,121.62
                                                  Total Balance Due...................................................$6,574,870.41

                                                 Current Account Summary

Date            Invoice No.       Month of Service              Amount Billed Payments Applied                       Outstanding Amount
12/20/22        101-              November 2022                   $710,222.84      $568,828.61                                $141,394.23
                0000145138
02/05/23        101-              January 2023                       $830,394.38                 $664,529.78                       $165,864.60
                0000146920
02/13/23        101-              January 2023                    $1,442,335.43                $1,154,252.45                       $288,082.98
                0000148189
04/05/23        101-              March 2023                      $2,783,779.81                           $0.00                  $2,783,779.81
                0000149656
04/30/23        101-              March 2023                      $3,195,748.79                           $0.00                  $3,195,748.79
                0000151264




Please reference invoice number and send check to:

Quinn Emanuel Urquhart & Sullivan, LLP
865 S. Figueroa St., 10th Floor
Los Angeles, CA 90017

Or Wire funds                                      City National Bank
to:                                                555 South Flower St., 12th Floor
                                                   Los Angeles, CA 90071
Account Info:                                      Quinn Emanuel Urquhart & Sullivan, LLP
Bank Account:                                      Deposit Account #210032347
Bank ABA No.:                                      122016066
Swift Code:                                        CINAUS6L
References:                                        Invoice number and client name / matter number please
  los angeles | new york | san francisco | silicon valley | chicago | dc | london | mannheim | tokyo| hamburg | paris | munich
sydney | hong kong | houston | brussels | seattle | zurich | shanghai | stuttgart | perth | boston | salt lake city | riyadh | berlin |
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